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 7

 8                                 UNITED STATES BANKRUPTCY COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA
10                              NORTHERN DIVISION
11   In re:                           Case No. 9:17-bk-12045-DS
     BIKRAM’S YOGA COLLEGE OF INDIA,  Chapter 7
12
     LP,                              Jointly Administered with:
13              Debtor.
                                      9:17-bk-12046-DS
     In re:                           9:17-bk-12047-DS
14                                    9:17-bk-12048-DS
     BIKRAM CHOUDHURY YOGA, INC.,     9:17-bk-12049-DS
15
                Debtor.
                                      TRUSTEE’S MOTION FOR AN ORDER: (I)
16   In re:                           APPROVING THE SALE OF CERTAIN
     BIKRAM, INC.,                    ASSETS OUTSIDE THE ORDINARY COURSE
17                                    OF BUSINESS FREE AND CLEAR OF ALL
                Debtor.               LIENS, CLAIMS, INTERESTS AND
18
     In re:                           ENCUMBRANCES; (II) DETERMINING
                                      THAT THE BUYER IS A GOOD FAITH
19   YUZ, INC.,                       PURCHASER UNDER 11 U.S.C. § 363(m); AND
                Debtor.               (III) GRANTING RELATED RELIEF;
20                                    MEMORANDUM OF POINTS AND
     In re:                           AUTHORITIES; DECLARATIONS OF
21
     INTERNATIONAL TRADING            ROBBIN L. ITKIN, RICHELLE KALNIT AND
     REPRESENTATIVE, LLC,             DR. KALI P. CHAUDHURI
22
                         Debtor.                     [11 U.S.C. §§ 105(a), 363; Bankruptcy Rules 2002,
23                                                   6004 and 9014; LBRs 6004-1 and 9013-1]
24 ☒ Affects Bikram’s Yoga College of India, LP      _
                                                     Date:    February 23, 2022
   ☒ Affects Bikram Choudhury Yoga, Inc.             Time:    11:30 a.m.
25 ☒ Affects Bikram, Inc.
                                                     Place: Courtroom 201
                                                              1415 State Street
26   □Affects Yuz, Inc.                                       Santa Barbara, CA 93101
     ☒ Affects Int’l Trading Representative, LLC              (via Zoom for Government)
27

28



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 1            Robbin L. Itkin, the duly-appointed Chapter 7 Trustee (“Trustee” or “Seller”) for the bankruptcy

 2 estates (collectively, “Estates”) of the above-captioned debtors (“Debtors”), respectfully moves this Court

 3 (“Motion”) for entry of an order, substantially in the form attached hereto as Exhibit A (the “Sale Order”):

 4            (i)        authorizing Trustee to enter into, and approving the terms of, the Asset Purchase Agreement

 5                       (“APA”),1 a copy of which is attached hereto as Exhibit B, with Dr. Kali P. Chaudhuri

 6                       (“Buyer”), who bid the highest or otherwise best offer for the Assets generated through the

 7                       marketing and sales process previously approved by order of the Court (the “Bid Procedures

 8                       Order, Dkt. No. 570), at the aggregate Purchase Price of $700,000.00;

 9            (ii)       approving the sale (“Sale”) of Trustee’s and any applicable Selling Debtors’ respective

10                       right, title and interest in and to the Assets,2 as identified and defined in the APA, which
11                       include, without limitation, Selling Debtors’ intellectual properties (as identified and
12                       defined in the APA, the “IP”) and specific estate claims (as identified and defined in the
13                       APA, the “Adversary Actions”), together with books and records related thereto held in
14                       storage (as identified and defined in the APA, the “Documents”), to Buyer free and clear of
15                       liens, claims, encumbrances and all other interests (collectively, “Interests”) pursuant to 11
16                       U.S.C. § 363(f), provided that the net proceeds of any IP Assets owned by BYCOI that Petra
17                       Starke (“Starke”) purports to assert an Interest in will not be disbursed to either Starke or
18                       Minakshi Jaffa-Bodden (“Bodden”) until such time as the validity and priority of Starke’s
19                       Interest is determined based on the complaints filed against her on February 7, 2022 seeking
20                       to disallow her alleged secured claims;3
21            (iii)      authorizing Trustee to pay from the Sale proceeds at Closing or as soon as practicable
22                       thereafter: (i) the payments owing to American Express National Bank (“AmEx”) and
23

24   1
       Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to such terms
     in the APA.
25
     2
     The Selling Debtors include Bikram Choudhury Yoga, Inc. (“BCYI”), International Trading
26 Representative, LLC (“ITR”), Bikram, Inc. (“BI”) and Bikram’s Yoga College of India, LP (“BYCOI”),
   but do not include Debtor Yuz, Inc.
27 3
     As discussed in greater detail below, Trustee disputes that Starke has a valid lien on any of the Assets.
28



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 1                       Bodden (together, the “Settlement Payments”) pursuant to the prior Court-approved

 2                       settlement and distribution agreements between Trustee and AmEx (Dkt. No. 566) (the

 3                       “AmEx Settlement”) and Trustee and Bodden (Dkt. No. 560) (the “Bodden Distribution

 4                       Agreement”); and (ii) the other costs and expenses incurred in connection with the Sale (the

 5                       “Sale Costs,” as further itemized on Exhibit D attached hereto), which Settlement Payments

 6                       and Sale Costs are discussed in greater detail in the attached Memorandum of Points and

 7                       Authorities;4

 8            (iv)       authorizing the Trustee to take any and all steps reasonably necessary to effectuate the Sale

 9                       and related transactions;

10            (v)        finding that Buyer is a good faith purchaser under 11 U.S.C. § 363(m);

11            (vi)       approving a waiver of the stay provision under Rule 6004(h) of the Federal Rules of

12                       Bankruptcy Procedure (“Bankruptcy Rules”); and

13            (vii)      granting such related relief as the Court deems appropriate.
14            Trustee believes that only two creditors – AmEx and Bodden -- are entitled to any distribution from
15 the Sale proceeds on account of their Interests in the Assets sold, which estimated distributions are as

16 follows:

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26   4
    The proposed payments set forth in Exhibit D are only estimates, and may change slightly based on the
27 actual Sale Costs incurred, most notably, the final invoice for the court reporter and zoom auction
   coordinator, which invoice was only an estimate at the time that this Motion was filed.
28



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 1       Creditor        Valued Asset             Selling       Buyer’s          Estimated Allowed Payment to
         Name/Claim                               Debtor        Allocated        Creditor from Sale Proceeds
 2       Amount                                                 Purchase Price   (Net of Exhibit D Sale Costs)
                         Trademarks Identified    BCYI          $100,000         $26,346.15
 3                       in APA
                         Trademarks, Copyrights   ITR           $100,000         $25,124.55
 4                       and Domain Name
                         Identified in APA
 5
                         Domain Name:             BI            $100,000         $26,346.15
          Bodden5
                         bikraminc.com
 6       $6,689,951.00
                         Copyright: Bikram        BYCOI         $50,000          $43,376.03 Reserved Pending
 7                       Yoga dialogue6                                          Resolution of Disputed Priorities
                                                                                 of Bodden/Starke
 8                       Adversary Actions        BYCOI         $300,000         $27,797.84
                         Identified in the APA
 9
         AmEx7           Domain Name:             BYCOI         $50,000          AmEx Payment: $21,688.02
10       $635,158.88     purebikramyoga.net
                                                                                 Junior Interests of Bodden/Starke:
11                                                                               $21,688.02 Reserved Pending
                                                                                 Resolution of Disputed Priorities
12

13   5
     Bodden is entitled to receive, after deducting all applicable Sale Costs and subject to any senior lien: (i)
   30% of the net proceeds from the Sale of IP owned by the applicable Selling Debtors; and (ii) 10% of the
14
   net proceeds from the sale of the Adversary Actions. Although Bodden’s allowed claim of
15 $6,689,951.00   has already been reduced by prior Court approved payments to her made from the
   proceeds of other sales of Estates’ assets throughout the bankruptcy cases, her remaining allowed claim
16 substantially still exceeds the aggregate amount of payments she will receive for the Sale of Assets
   approved by this Motion.
17 6
     Starke asserts a secured claim against the Estates of BYCOI, BCYI and BI in the amount of
18 $5,174,557.30. On February 7, 2022, BYCOI, BCYI and BI each filed a complaint against Starke
   seeking disallowance of her asserted secured claim and declaratory relief that Starke’s proofs of claim are
19 prima facie invalid because she failed to demonstrate a properly perfected and enforceable lien against
   any asset of the three Estates. Even if Starke had a valid lien on any BCYI or BI Assets being sold
20
   (which she does not), such lien is behind Bodden’s lien, and thus she is not entitled to receive any
21 distributions on account of those liens. With respect to the copyright Asset of BYCOI, because Starke’s
   purported lien could be senior to Bodden’s lien, until Starke’s purported security interest in this IP Asset
22 is resolved, Trustee will reserve on behalf of the BYCOI Estate the remaining Sale proceeds owing to the
   BYCOI Estate for this IP Asset in the amount of $43,376.03.
23 7
     AmEx is entitled to receive 50% of the net proceeds from the sale of this Asset after the payment of all
24 Sale Costs allocated to this Asset in full and final satisfaction of its allowed senior secured claim, with
   any deficiency being treated as an allowed unsecured claim against the BYCOI Estate. Bodden then is
25 entitled to receive 30% of the remaining net proceeds on account of her junior interest after all other
   senior secured liens are paid in full. Because Starke’s purported lien, if valid (which Trustee disputes), in
26
   this domain name may be senior to Bodden’s lien, until Starke’s purported security interest in this IP
27 Asset of BCYOI is resolved, Trustee will reserve on behalf of the BYCOI Estate the remaining Sale
   proceeds owing to the BYCOI Estate for this IP Asset in the amount of $21,688.02.
28



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 1            In accordance with the AmEx Settlement and the Bodden Distribution Agreement, Trustee seeks to

 2 allocate the price paid for each of the Assets (based on the allocation provided by Buyer) and pay Amex

 3 and Bodden the Settlement Payments in the estimated amounts identified above from the Sale proceeds at

 4 Closing or as soon as practicable thereafter.

 5            Based on the above estimated Settlement Payments (see infra, p. 13) and the estimated Sale Costs

 6 set forth on Exhibit D, and as further set forth in the charts below, Trustee believes that the Estates will

 7 receive the following distributions of net proceeds after payment of all Settlement Payments and Sale Costs,

 8 and that such net proceeds will be allocated among the Estates of the Selling Debtor as follows:

 9                  SUMMARY OF NET PROCEEDS FROM SALE
10                  Total Gross Sale Proceeds for Estates’ Assets8                $700,000.00
11                  Minus Aggregate Estimated Sale Costs                          ($75,880.00)
                    Minus Aggregate Payments to Bodden                           ($105,614.69)9
12                  Minus Payment to AmEx                                         ($21,688.02)
                    Total Net Proceeds to Estates at Closing                      $496,817.29
13
                    BYCOI Reserve for Disputed Interests                          ($65,064.05)
14                  Total Available Net Proceeds to Estates at Closing            $431,753.25
15

16                  ALLOCATION OF NET PROCEEDS TO ESTATES
                     Estate        Net Proceeds   Held in Reserve                         Total
17                  BYCOI           $250,180.60     $65,064.05                         $315,244.64
                    BCYI            $61,474.35                                          $61,474.35
18
                    ITR              $58,623.95                                         $58,623.95
19                  BI              $61,474.35                                          $61,474.35
                    TOTAL           $431,753.25     $65,064.05                         $496,817.29
20

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23   8
    As set forth in Exhibit 2.2 to the APA, Buyer has allocated $400,000 of the Purchase Price to the IP
   Assets and $300,000 of the Purchase Price to the Adversary Action Assets. The Purchase Price for the IP
24
   Assets was allocated by Buyer equally among the four Selling Debtors ($100,000 to each such Selling
25 Debtor). Itkin Decl., ¶ 5. With respect to the purchase of the IP Assets of BYCOI, Buyer allocated 50%
   of the $100,000 allocated Purchase Price to each of the two IP Assets (i.e., $50,000 to the domain name
26 being sold and $50,000 to the copyright being sold). Id.
     9
27     If Starke’s lien is disallowed, Bodden will receive an additional $19,519.22 payable from the BYCOI
     reserve account, and the remaining $45,544.83 in reserve will go to the BYCOI Estate.
28



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 1            The bases for the relief requested herein are §§ 105(a) and 363 of the United States Bankruptcy

 2 Code, 11 U.S.C. §§ 101-1532 (“Bankruptcy Code”), Bankruptcy Rules 2002, 6004 and 9014, and Rules

 3 6004-1 and 9013-1 of the Local Bankruptcy Rules of the United States Bankruptcy Court for the Central

 4 District of California (“LBR”).

 5            A hearing on this Motion (the “Sale Hearing”) shall be held by video conference before the

 6 United States Bankruptcy Court for the Central District of California, Northern Division, located in

 7 Courtroom 201 at 1415 State Street, Santa Barbara, CA 93101, on February 23, 2022 at 11:30 a.m.

 8 (PST). Video and audio connection information for the Sale Hearing will be provided on Judge

 9 Saltzman's publicly posted hearing calendar, which may be viewed online at: http://ecf-

10 ciao.cacb.uscourts.gov/CiaoPosted/?jid=DS.

11            Your rights may be affected by this Motion. Any response or objection to this Motion must be
12 made in writing, in the form required by LBR 9013-1(f), be filed with the Clerk of the United States

13 Bankruptcy Court and be served, by email transmission, by no later than February 18, 2022 (the “Sale

14 Objection Deadline”), on the following: (i) Office of the United States Trustee, Attn: Brian Fittipaldi,

15 Email: brian.fittipaldi@usdoj.gov; (ii) Trustee, Attn: Robbin L. Itkin; Email: ritkin@sklarkirsh.com; (iii)

16 Sklar Kirsh LLP, Attn: Lovee D. Sarenas; Email: lsarenas@sklarkirsh.com.

17            ANY PARTY WHO FAILS TO MAKE A TIMELY OBJECTION TO THE SALE ON OR
18 BEFORE THE SALE OBJECTION DEADLINE MAY BE FOREVER BARRED FROM

19 ASSERTING ANY OBJECTION TO THE SALE, INCLUDING WITH RESPECT TO THE

20 TRANSFER              OF   THE   ASSETS      FREE     AND     CLEAR      OF    ALL    LIENS,     CLAIMS,
21 ENCUMBRANCES AND OTHER INTERESTS.

22            Replies to objections, if any, must be filed with the Clerk of the United States Bankruptcy Court
23 and be served by no later than 12:00 p.m. on February 22, 2022.

24            The Motion is supported by the accompanying Memorandum of Points and Authorities, the
25 Declarations of Robbin L. Itkin (“Itkin Decl.”), Richelle Kalnit (the “Kalnit Decl.”) and Dr. Kali P.

26 Chaudhuri (the “Chaudhuri Decl.”) filed concurrently herewith, the exhibits attached hereto, all the

27

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 1 pleadings filed and the record in these cases, all matters of which this Court may take judicial notice and

 2 such other evidence and argument as may be presented at the Sale Hearing.

 3

 4 DATED: February 14, 2022                      SKLAR KIRSH, LLP

 5

 6
                                                 By:          /s/ Lovee D. Sarenas
 7                                                     Lovee Devela Sarenas
                                                       Attorneys for Chapter 7 Trustee Robbin L. Itkin
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 1                           MEMORANDUM OF POINTS AND AUTHORITIES

 2 I.         INTRODUCTION

 3            After a robust marketing process, a successful auction was conducted on February 10, 2022 where

 4 ten (10) qualified bidders participated, resulting in a high bid of $700,000 by Buyer. Trustee has expended

 5 significant efforts in these cases to recover properties of the Estates, resolve claims and reach settlements

 6 with creditors that have asserted Interests in the Assets. With these compromises, Trustee is able to move

 7 forward with consummation of the Sale of the remaining Assets of the Estates to Buyer and address any

 8 other issues that may arise. The Assets, comprised primarily of the Selling Debtors’ IP rights, the pending

 9 Adversary Actions filed in these cases, and related Documents, are the Estate’s remaining assets that have

10 value and can be monetized for the benefit of creditors. Trustee, with the assistance of her advisors, has

11 undergone an extensive marketing and sales process, and believes that the Sale to Buyer at the Purchase

12 Price reached at Auction represents the highest and best price that could be obtained for the Assets. Not

13 only will the Sale bring in much-needed funds to pay claims, but it will foster the conclusion of the

14 administration of these cases. Accordingly, Trustee seeks approval of the Sale to Buyer on the terms and

15 conditions set forth in the APA.

16 II.        STATUS OF THE CASE AND JURISDICTION

17            On November 9, 2017 (“Petition Date”), Debtors commenced their respective chapter 11

18 bankruptcy cases. The Estates are administered jointly under BYCOI’s bankruptcy case pursuant to this

19 Court’s order [Dkt. No. 11]. On April 4, 2018, Robbin L. Itkin was appointed to serve as the chapter 11

20 trustee for the Estates. On September 28, 2020, the bankruptcy cases were converted from chapter 11 to

21 chapter 7 [Dkt. No. 436]. Subsequently, Robbin L. Itkin was appointed to serve as the chapter 7 trustee

22 for the aforementioned cases [Dkt. No. 441]. She continues to serve in this capacity at the time of this

23 Motion.

24            The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter is a core
25 proceeding within the meaning of 28 U.S.C. § 157(b). Venue is proper in this district pursuant to 28 U.S.C.

26 §§ 1408 and 1409. The statutory and legal predicates for the relief requested herein are Bankruptcy Code

27 §§ 105(a) and 363, Bankruptcy Rules 2002, 6004 and 9013, and LBR 6004-1 and 9013-1.

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 1 III.       FACTUAL BACKGROUND

 2            A.         The Need for the Sale of the Assets

 3            This Sale is the culmination of years of efforts taken to marshal assets of the Estates, to analyze and

 4 resolve the many claims and interests affecting such Assets, and to monetize the value of such Assets for

 5 the benefit of the Estates and their creditors. To date, Trustee has achieved considerable progress in

 6 resolving disputes and lining up what is necessary to accomplish the Sale and resolve these cases by taking,

 7 inter alia, the following actions in these cases:

 8                Trustee settled three of the pending adversary proceedings against the Rajashree Choudhury
                   Family Trust Dated March 1, 2016, Rajashree Choudhury (both individually and as trustee of
 9                 the Trust), and her adult children, Anurag Choudhury and Lajwanti Choudhury (collectively,
10                 “Choudhury Defendants”). In connection therewith, Trustee sold the Choudhury Defendants’
                   residence, which sale was approved by the Court on April 5, 2021 [Dkt. No. 492]. Itkin Decl.,
11                 ¶ 18(a).

12                Trustee recovered and sold various luxury vehicles owned by the Estates and negotiated a
                   distribution agreement with various lienholders to permit an orderly sale of those assets. Id. at
13                 ¶ 18(b).
14
                  Trustee also entered into the Bodden Distribution Agreement with Bodden with respect to her
15                 judgment lien against the Estates. This compromise is crucial as it enables the Estates to move
                   forward with the sale of the remaining assets, resolves the parties’ issues with respect to the
16                 treatment of Bodden’s claims (including the validity and extent of her asserted secured claims),
                   and provides for an orderly distribution of any Sale proceeds from the Assets. Trustee estimates
17
                   that the aggregate payment to Bodden from the proceeds of the Sale pursuant to the Court
18                 approved Bodden Distribution Agreement is $105,614.69, and could be as high as $125,133.91
                   if Starke’s purported lien on the IP Assets owned by BYCOI is disallowed. Id. at ¶ 18(c).
19
                  On August 10, 2021, Trustee filed a Motion for Default Judgment (“DJ Motion”) in the
20                 adversary case entitled Robbin L. Itkin v. Bikram Choudhury (Adv. No. 9:19-ap-01075 DS).
21                 The DJ Motion establishes Bikram Choudhury’s liability and reduces to judgment Trustee’s
                   claims arising from a multitude of fraudulent transfers of assets of the BYCOI estate. No
22                 opposition was received with respect to the DJ Motion. On January 7, 2022, the Trustee
                   submitted a Supplemental Brief in support of the DJ Motion pursuant to the Court’s order. The
23                 entry of the default judgment is pending. Id. at ¶ 18(d).
24
                  Trustee also reached the AmEx Settlement with AmEx, which has asserted a senior secured lien
25                 on the domain name owned by BYCOI that is part of the Assets being sold. The AmEx
                   Settlement provides, in relevant part, that the parties will divide the proceeds from the Sale of
26                 the domain name equally after payment of all applicable Sale Costs allocated to the sale of the
                   domain name. Any deficiency claim is treated as an unsecured claim against the BYCOI Estate.
27

28



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 1                 Trustee estimates that the aggregate payment to AmEx from the proceeds of the Sale pursuant
                   to the Court approved AmEx Settlement is $21,688.02. Id. at ¶ 18(e).
 2
                  On February 7, 2022, the Trustee commenced adversary proceedings in each of the bankruptcy
 3
                   cases of BYCOI, BCYI and BI against Starke pursuant to Bankruptcy Rules 3001(c), 3007,
 4                 7001(2) and (9) and Bankruptcy Code §§ 502(b)(7), 506(d), 724(a) and 726(a)(4), seeking
                   disallowance of her asserted secured claim against the three Selling Debtors and declaratory
 5                 relief that Starke’s proofs of claim are prima facie invalid in that Starke failed to demonstrate a
                   properly perfected and enforceable lien against any asset of the three Estates on account of the
 6                 judgment she obtained against Bikram Choudhury, individually and the Selling Debtors
                   BYCOI, BCYI and BI. Absent a viable secured claim against the BYCOI, BCYI and BI Estates,
 7
                   Starke does not have a lien on any of the Assets. Id. at ¶ 18(f).
 8
                  On or about February 11, 2022, Trustee reached a settlement agreement with Monica Shigenaga
 9                 CocoJor Hawaii, LLC and Jadoo, LLC that provides for the dismissal of adversary proceeding
                   number 9:19-ap-01070-DS (the “Shigenaga Adversary Action”), including dismissal of the
10                 counterclaim asserted against the Estates in that action. Trustee will file a motion seeking Court
                   approval of the parties’ proposed settlement. Id. at ¶ 18(g).
11

12            With the foregoing progress made to date in the chapter 7 cases, Trustee is in a position to sell the
13 Assets to Buyer and bring the administration of these Estates to its conclusion.

14            B.         Marketing Efforts
15            Although Trustee had engaged in discussions with potential buyers for some of the Assets during
16 the pendency of the Chapter 7 cases and prior to the start of the Court approved sales process for the Assets,

17 none of those efforts resulted in consummation of a sale. Itkin Decl., ¶ 20. In October 2021, Trustee

18 retained Hilco IP Services, LLC d/b/a Hilco Streambank (“Hilco”) as the Estates’ sale consultant and agent

19 to identify additional potential buyers for some or all of the Assets, and to otherwise facilitate the marketing

20 and sale of the Assets to third parties. Id. at ¶ 21. Hilco’s retention was approved by order of the Court

21 entered on November 9, 2021 [Dkt. No. 548]. Kalnit Decl., ¶ 3.

22            On December 27, 2021, the Court entered the Bid Procedures Order [Dkt. No. 570] approving,
23 among other things, certain bid procedures (the “Bid Procedures”) that established key dates, times and a

24 process for the Sale of the Assets. Notwithstanding the limited universe of potential acquirers for these

25 types of Assets, Trustee believes that the Bid Procedures and sales process approved in the Bid Procedures

26 Order has allowed her and her advisors to fully market, evaluate and select the highest and best price for

27 the Assets.

28



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 1            As part of the marketing efforts, Hilco worked with Trustee and her professionals to identify and

 2 assemble relevant data concerning the Assets, and to market the Assets to potential buyers. Hilco’s

 3 activities included (see Kalnit Decl., ¶ 6):

 4                       a.   identifying the Assets and assisting Trustee in preserving the Assets;

 5                       b.   developing marketing materials including a “teaser” describing the Assets, the
                              history of their use and their availability for sale;
 6
                         c.   reviewing, with Trustee and her counsel the contents of the storage locker containing
 7
                              approximately 246 boxes of documents related to the Assets, and supplementing the
 8                            inventory spreadsheet of such documents based on the review;

 9                       d.   working with Trustee and her various counsel to advise Trustee with respect to
                              gaining control of the BikramYoga.com domain name and other domain names;
10
                         e.   drafting and disseminating a press release via PR Newswire describing the Assets
11                            and their availability for sale;
12                       f.   developing a contact list of potential buyers of the Assets;
13
                         g.   having direct contact by phone or email with approximately 285 potential buyers of
14                            the Assets;

15                       h.   disseminating email marketing materials that were sent to over 6,000 potential
                              buyers of the Assets culled from Hilco’s proprietary contact database;10
16
                         i.   advertising the Assets on Hilco’s LinkedIn and Twitter pages;
17
                         j.   establishing and populating a virtual data room (the “Data Room”) and arranging
18
                              for the admission of 19 parties to the Data Room who executed a form of non-
19                            disclosure agreement acceptable to Trustee;

20                       k.   developing an Auction format for the Assets, including a bid form and bidder
                              qualification guidelines;
21
                         l.   managing the auction of the Assets (the “Auction”); and
22
                         m.   working with Trustee and Buyer to document deliverables and terms of the sale.
23

24

25

26   10
     In addition, Trustee mailed notices of the sale, together with copies of the Bid Procedures Order and
27 Hilco’s marketing teaser, to over 700 creditors and other interested parties in the cases, including current
   and former Bikram related studio owners. Itkin Decl., ¶ 20.
28



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 1            Hilco and Trustee notified potential bidders that any offers to acquire the Assets were required to

 2 be submitted in writing on or before February 8, 2022 at 12:00 p.m. PT (the “Bid Deadline”), together with

 3 a good-faith deposit equal to 10% of the amount of the potential buyer’s bid, along with the other

 4 requirements as set forth in the Bid Procedures Order. Prior to the Bid Deadline, Hilco engaged with

 5 multiple interested parties. Ultimately, the Trustee received bids and initial deposits from ten (10) bidders.

 6 Hilco, together with Trustee and her counsel, worked to qualify the bids received from these bidders. As

 7 a result of those efforts, the modified bids of all of the bidders were deemed qualified as contemplated by

 8 the Bid Procedures (the “Qualified Bidders”). Kalnit Decl., ¶¶ 7-8.

 9            On February 10, 2022, Trustee convened the Auction among the ten (10) Qualified Bidders utilizing

10 a video conferencing platform that also allowed participants with only a listening role to participate

11 telephonically. At the auction, Trustee solicited sealed bids from each Qualified Bidder through one round

12 of best and final sealed bids. The highest and/or otherwise best bid of $700,000 for all of the Assets was

13 submitted by Buyer. On or about February 11, 2022, Buyer wired an additional deposit of $40,000, thereby

14 increasing the total deposit held by Trustee to $70,000, or 10% of the Purchase Price. Kalnit Decl., ¶¶ 9-

15 11. The deposit is refundable to Buyer except where the APA is terminated as a result of a material breach

16 by Buyer, or a Sale does not close by March 11, 2022 through no fault of Trustee.

17            C.         Summary of the Key Terms of the APA

18            A true and correct copy of the final APA agreed to by Trustee and Buyer is attached hereto as
19 Exhibit B.11 Attached hereto as Exhibit C is a redlined version of the APA showing changes to the final

20 APA agreed to by Trustee and Buyer compared to the form APA that was approved by the Court for use

21 in the marketing and Sale process and attached to the “Motion for an Order (a) Approving Bid Procedures

22 for the Sale of the Estates’ Remaining Assets, Including Authorization of a Discretionary Break-Up Fee

23 Payment; (b) Approving Related Notice Procedures; (c) Approving the Form Asset Purchase Agreement;

24

25
     11
     Given the expediency of finalizing documents after the February 10th Auction and the required filing
26
   date of February 14th for the Sale Motion, Buyer confirmed in writing his approval of the final terms and
27 conditions of APA attached hereto as Exhibit B, but indicated that a signature would not be forthcoming
   until February 15, 2022.
28



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 1 (d) Authorizing the Payment of Sales Costs; (e) Scheduling a Sale Hearing; and (f) Granting Related

 2 Relief” (the “Bid Procedures Motion”) (Dkt. 553).

 3            The Assets that are the subject of the proposed Sale are specifically identified in the APA, but

 4 generally consist of IP assets comprised of specific trademarks, copyrights and domain names developed

 5 and utilized by certain Selling Debtors (as specifically identified in the Exhibits attached to the APA) in

 6 connection with BYCOI’s yoga teacher training business. In addition, Trustee commenced the following

 7 Adversary Actions against various defendants on November 8, 2019, all of which are part of the Assets

 8 being sold to Buyer:12 (i) Itkin v. Organizacion Ideal dba Princess Mundo Imperial Hotel, et al. (19-ap-

 9 01066-DS); (ii) Itkin v. Smana Hotel Al Raffa and Rajesh Baheti (9:19-ap-01067-DS); (iii) Itkin v. Zen Co.,

10 Ltd. (9:19-ap-01068-DS); (iv) Itkin v. Elo, et al. (9:19-ap-01069-DS); (v) Itkin v. Shigenaga, et al. (9:19-

11 ap-01070-DS);13 (vi) Itkin v. Sumanta Bhattachriya, et al. (9:19-ap-01071-DS) ; and (vii) Itkin v. Bikram

12 Choudhury (9:19-ap-01075-DS). Trustee also is transferring to Buyer all Documents related to the Assets

13 that are currently located in a storage unit maintained by Trustee.

14            As set forth in the APA, Trustee seeks to sell the Assets on an “as-is, where-is” basis with all faults
15 and with no representations or warranties of any kind. Buyer was solely responsible for conducting its

16 own, independent due diligence with respect to the Assets, including, without limitation, the existence and

17 validity of any of the IP and the potential recoveries from the Adversary Actions. Chaudhuri Decl., ¶¶ 5-

18 6. The other salient terms of the APA are as follows14:

19
     12
20     This list of Adversary Actions, which constitutes the Adversary Actions that are part of the Assets,
     excludes the adversary actions previously settled with the Choudhury Defendants.
21   13
      Pursuant to Section 2.1(b) of the APA, Trustee may, in her sole discretion, remove the Shigenaga
22 Adversary Action from the Assets being sold and designate it as an Excluded Adversary Action at or
   prior to Closing. Subject to Court approval of the settlement agreement dismissing the Shigenaga
23 Adversary Action, Trustee will designate the Shigenaga Adversary Action as an Excluded Adversary
   Action. Itkin Decl., ¶ 9.
24 14
      The following is intended only as a summary. Parties should refer to the actual APA for a complete
25 understanding of all terms and conditions of the Sale to Buyer. The terms and conditions of the APA are
   incorporated herein in their entirety by this reference, and failure to include any specific term or
26 condition in this summary shall not be deemed a waiver of such provision. In the event of any
   inconsistencies between the summary provided herein and the APA, the terms of the APA shall govern.
27

28



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 1                       PROVISION                                    SUMMARY
 2          Purchase Price (APA, §2.2,        $700,000, which Buyer allocated $400,000 of the Purchase
            Exhibit 2.2 to the APA)           Price to the IP Assets and $300,000 of the Purchase Price
 3                                            to the Adversary Actions, as further set forth in Exhibit 2.2
 4                                            to the APA
            Sale to Insider                   No. See Chaudhuri Decl., ¶¶ 10-11
 5          Contingencies to Closing (APA,    None. Buyer waives any and all contingencies to
            §4.1)                             consummation of the Sale transaction, including, without
 6                                            limitation, all due diligence and financing contingencies.
            Releases                          None
 7
            Closing and Other Deadlines       The Closing shall occur on or before two (2) business days
 8          (APA, §4.2)                       following the date on which all the closing conditions set
                                              forth in Sections 4.3 and 4.4 of the APA have been
 9                                            satisfied, but in any event, by no later than March 11, 2022
                                              or a later date agreed upon in writing by the Parties.
10          Deposit (APA, §§1.3, 2.3, 5.1,    $70,000.00 (10% of the Purchase Price). The Deposit is
11          5.2 and 5.3)                      non-refundable if the APA is terminated as a result of a
                                              material breach by Buyer pursuant to Section 5.1(ii) of the
12                                            APA, or the Closing fails to occur on or before March 11,
                                              2022 (or a later date agreed upon in writing by the Parties)
13                                            through no fault of Seller.
            Interim Agreement with Buyer      None
14
            Tax Exemption (APA, §7.3)         N/A. Buyer shall pay, to the extent applicable: (i) all
15                                            applicable document recording charges, if any; (ii) all
                                              transfer taxes and other fees, if any, arising from or
16                                            resulting from the transactions contemplated hereby; and
                                              (iii) all costs and expenses related to Buyer's investigation,
17                                            transfer and assignment of the Assets.
            Record Retention (APA,            N/A. The Assets include all Documents relating to the
18
            §2.1(c))                          Assets being sold, and Buyer is solely responsible for any
19                                            and all storage costs after Closing and for the removal or
                                              disposal of such Documents, at Buyer’s sole cost and
20                                            expense, and Trustee shall have no further liability with
                                              respect thereto on and after Closing.15 Trustee has, or prior
21                                            to Closing will, remove all Documents from the storage
22                                            facility that are needed to administer the Estates, any items

23   15
     Notwithstanding the foregoing, if, after the Closing, Buyer discovers any books, records, documents
24 and other files being held in storage that do not relate to the Assets (the “Other Documents”), Buyer shall
   immediately notify the Seller and arrange for the prompt return of such Other Documents, or at the
25 Trustee’s direction, the prompt destruction of the Other Documents, all at the Buyer’s sole cost and
   expense. In the event Seller inadvertently turns over any Documents in storage that contain personal or
26
   confidential information of any employee or other person affiliated with the Bikram Yoga facilities and
27 program to Buyer, Buyer agrees not to utilize or disclose such information to any third-parties and to
   destroy such information upon its discovery.
28



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 1                                                or other memorabilia (including, without limitation,
                                                  photographs, letters and other correspondence), and all
 2                                                Documents or any part thereof that contain confidential or
                                                  personal identifiable information. Any such items or
 3
                                                  Documents removed from storage in advance of the
 4                                                Closing are not included as part of the Assets being sold.
             Sale of Avoidance Actions            Yes, the Adversary Actions are part of the Assets being
 5           (APA, §2.1(b))                       sold; provided, however, that Trustee may, in her sole
                                                  discretion, remove the Shigenaga Adversary Action from
 6                                                the Assets being sold and designate it as an Excluded
 7                                                Adversary Action on or prior to Closing.
             Requested Findings as to             N/A
 8           Successor Liability
             Sale Free and Clear of Liens         Except with respect to obligations and liabilities relating to
 9           (APA, §2.4)                          and arising on and after the Closing, Buyer is not assuming
                                                  any liability, debt or obligations of Seller, Selling Debtors,
10
                                                  or their bankruptcy Estates attributable to the Assets prior
11                                                to Closing, and Buyer shall have no obligation or
                                                  responsibility therefor. All of the Assets being sold shall
12                                                be sold and assigned by Seller to Buyer free and clear of all
                                                  liens and interests, in accordance with 11 U.S.C. § 363(f).
13           Credit Bid                           None
14           Relief from Bankruptcy Rule          Yes (see legal discussion below).
             6004(h)
15
               D.        Secured Claims Asserted Against the Assets Being Sold
16
               The following liens and security interests (in order of purported priority) have been asserted against
17
     the Selling Debtors’ Estates as of the Petition Date (see Itkin Decl., ¶ 28):
18
           Selling       Creditor     Recording Date              Amount            Nature of Lien            Proof of
19         Debtor                                                                                             Claim16
                         AmEx       11/25/2015                $635,158.88        Recorded UCC-1              POC 3-1
20
                                                                                 Financing Statement
21        BYCOI          Starke     None, but Writ of         $370,011.2118      Disputed Judgment           POC 10-1
                                    Attachment Filed                             Lien
22                                  2/16/201617
23
     16
          Trustee requests that the Court to take judicial notice of proofs of claim filed in these cases.
24   17
      The writ of attachment was not submitted with any of the proofs of claim filed by Starke. A notice of
25 attachment must be levied or a notice of judicial lien recorded against BYCOI in order to create a judicial
   lien on the personal properties of BYCOI. Cal. Civ. Proc. Code §§ 488.500(a) and 697.510(a). Starke
26 failed to do that here.
     18
27     The claim amount is based on the Writ of Attachment that mentions BYCOI but was not recorded
     against it.
28



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 1                       Bodden      7/5/2016                 $6,767,519.44      Judgment Lien            POC 6-2
                         Bodden      7/5/2016                 $6,689,951.00      Judgment Lien            POC 3-1
 2        BCYI           Starke      None19                   $5,174,557.30      Disputed Judgment        POC 4-1
 3                                                                               Lien
                         Bodden      7/5/2016                 $6,689,951.00      Judgment Lien            POC 4-1
 4        BI             Starke      None                     $5,174,557.30      Disputed Judgment        POC 5-1
                                                                                 Lien
 5        ITR            Bodden      N/A                      $6,689,951.00      Judgment Lien            POC 2-1
 6                       1.       AmEx’s Secured Interest
 7              AmEx has a first priority security interest in a domain name owned by BYCOI that is part of the
 8 Assets being sold. AmEx’s secured claim arises from a Business Loan and Security Agreement (“Security

 9 Agreement”) signed by Bikram Choudhury on behalf of BYCOI dated November 23, 2015. The Security

10 Agreement granted a security interest to AmEx in, among other things,

11                       “all trademarks, trade names, service marks, logos and other source of
12                       business identifiers, and all registrations, recordings and applications with
                         the USPTO and all renewals, reissues and extensions thereof . . . and any and
13                       all proceeds of [ ] the foregoing, including insurance proceeds or other
                         proceeds from the sale. . . .” (“Collateral”).
14
     The Security Agreement excluded from the Collateral “any real estate, motor vehicles, household furniture
15
     and fixtures, and any other goods for personal, family or household use” and omitted any copyrights of
16
     BYCOI. AmEx recorded a UCC-1 Financing Statement on November 25, 2015 asserting a lien on assets
17
     of BYCOI.
18
                Pursuant to the Amex Settlement [Dkt. No. 566], the Court approved the parties’ compromise with
19
     respect to the treatment of AmEx’s claim against the Assets owned by BYCOI. In accordance with the
20
     AmEx Settlement, AmEx agreed to carve-out a portion of its allowed recovery from the sale of the Estates’
21
     Assets to pay over to Trustee for the benefit of the Estates, and agreed to take a partial distribution equal
22
     to 50% of the net sale proceeds of the Sale of the BYCOI domain name after payment of Sale Costs incurred
23
     in marketing, selling and consummating the sale of the BYCOI domain name in full and final satisfaction
24

25
     19
      To the best of Trustee’s knowledge, Starke did not file a writ of attachment against BCYI or BI, much
26
   less any form of lien on their Assets, nor did she attach any such documents to her proofs of claim. As
27 such, Bodden’s security interests are senior to Starke’s (if any) and Starke is not entitled to any
   distributions from the Sale proceeds allocated to BCYI and BI. Itkin Decl., ¶ 9.
28



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 1 of its allowed secured claim against the BYCOI Estate. Any deficiency claim is treated as an unsecured

 2 claim to share pro rata with other unsecured creditors of the BYCOI Estate.

 3                       2.   Bodden’s Secured Interest

 4            Bodden asserts a secured judgment lien against the Selling Debtors BYCOI, BCYI, BI and ITR.

 5 Although Trustee initially disputed Bodden’s asserted liens on certain of the Assets, the parties resolved

 6 their disputes and entered into the Bodden Distribution Agreement, which the Court approved pursuant to

 7 an order entered on December 7, 2021 [Dkt. No. 560]. In accordance with the Bodden Distribution

 8 Agreement, Trustee and Bodden agreed to carve-out Bodden’s asserted secured claim on the IP Assets for

 9 the benefit of the Estates, and Bodden agreed to take a partial distribution from the Sale proceeds, after

10 payment of applicable Sale Costs and any senior liens, as follows: (i) 30% of the net proceeds from the sale

11 of any IP Assets owned by the Selling Debtors; and (ii) 10% of the net proceeds from the sale of the

12 Adversary Actions.20 These agreed payments to Bodden, in addition to the funds that Bodden has

13 previously received from the Estates pursuant to prior agreements between Bodden and Trustee, are in full

14 and final satisfaction of Bodden’s secured claim, and any deficiency claim is treated as one aggregate

15 unsecured claim against the Estates.

16                       3.   Starke’s Purported Lien
17            Starke filed proofs of claim erroneously asserting a secured claim in the amount of $5,174,557.30
18 against the BYCOI, BCYI and BI Estates purportedly arising from a state court judgment she obtained

19 against the following judgment debtors: Bikram Choudhury, individually, and the Selling Debtors BYCOI,

20 BCYI and BI (collectively, “Judgment Debtors”), who allegedly are jointly and severally liable under a

21 wrongful termination lawsuit.21 On February 7, 2022, the Trustee commenced three adversary proceedings

22

23

24
     20
25    No creditor, other than Bodden, is entitled to share in any proceeds from the Sale of the Adversary
     Actions.
26   21
      The proofs of claim filed by Starke are identical in amount, assert the same judgment against the
27 Judgment   Debtors as the underlying basis for the claim, and seek 10% interest from the date of judgment
   to the Petition Date.
28



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 1 against Starke objecting to Starke’s asserted secured claim.22 The complaints seek disallowance of her

 2 asserted secured claim against the three Selling Debtors and declaratory relief that Starke’s proofs of claim

 3 are prima facie invalid in that (1) Starke failed to submit and show evidence of an enforceable lien against

 4 any asset of the three Estates on account of the judgment particularly against the IP of the three Selling

 5 Debtors; and (2) her claim, which is based on damages arising from the termination of her employment

 6 with BYCOI, must be reduced to an unsecured claim for $350,000.00 pursuant to Bankruptcy Code §

 7 502(b)(7). Absent a prima facie valid secured claim, Trustee believes Starke does not have a lien for

 8 purposes of Bankruptcy Code § 363(f).

 9            E.         Sales Costs

10            The summary of the estimated Sale Costs on amounts obtained to date are attached hereto as Exhibit
11 D, which Sales Costs, in the aggregate, are approximately $75,880.00, and include:23

12                       a. $60,000 in the aggregate on account of Hilco’s commission and reasonable and verified
13                          out-of-pocket costs and expenses incurred by Hilco (capped at $5,000), all as authorized
14                          pursuant to the Hilco Retention Order.
15                       b. $4,055 in the aggregate on account of IP counsel’s flat fee and costs incurred in
16                          connection with the successful prosecution of the UDRP action on behalf of the ITR
17                          Estate as authorized by the Court pursuant to SBG&B’ retention order.
18                       c. Other costs of sale in the aggregate amount of $11,825 incurred in connection with the
19                          marketing of the Assets and the Sale process, including, without limitation, court
20                          reporter and zoom operator expenses for the Auction, retrieval and reproduction of
21

22

23

24   22
      Trustee respectfully requests that the Court to take judicial notice of the complaints filed against Starke
25 in the bankruptcy cases of BCYI (Adv. No. 9:22-ap-01009 DS), BYCOI (Adv. No. 9:22-ap-01010 DS),
   and BI (Adv. No.9:22-ap-01011 DS).
26 23
      These Sale Costs are estimates and are subject to Trustee’s receipt of final invoices. In addition, there
27 may  be additional Sale Costs incurred prior to Closing, including costs associated with removal of
   Documents prior to the Closing from the storage unit.
28



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 1                            documents for the Data Room, copying and postage costs relating to service of the Sale

 2                            related pleadings, and preservation of IP rights.24

 3            In allocating the Sale Costs among the various Selling Debtors, to the extent that a certain expense

 4 is attributable to a particular Asset of a Selling Debtor being sold, such expense is allocated in whole to

 5 that Selling Debtor and, where necessary for determination of Sale proceeds per Asset for lien purposes, to

 6 the particular relevant Asset of such Selling Debtor being sold. To the extent that an expense is attributable

 7 to the Assets of all four Selling Debtors, each Selling Debtor is responsible for its ¼ share of the cost

 8 incurred. Because the Sales Costs are actual and necessary expenses incurred for an effective and orderly

 9 Sale of the Assets and the efficient administration of the Estates, Trustee seeks approval of any Sale Costs

10 incurred not already authorized in the Bid Procedures Order.

11            F.          Allocation of Purchase Price and Proposed Distributions

12            The following is a summary of the aggregate net proceeds expected to be received by the Estates
13 from the Sale:

14
                         SUMMARY OF NET PROCEEDS TO ESTATES FROM SALE
15
                         Total Gross Sale Proceeds for Estates’ Assets25             $700,000.00
16
                         Minus Aggregate Estimated Sale Costs                         ($75,880.00)
17                       Minus Aggregate Payments to Bodden                         ($105,614.69)26
                         Minus Payment to AmEx                                        ($21,688.02)
18
                         Total Net Proceeds to Estates at Closing                     $496,817.29
19                       BYCOI Reserve for Disputed Interests                         ($65,064.05)

20
   24
      Pursuant to the Bid Procedures Order, Trustee was approved to pay some or all of these costs of sale.
21 These costs of sale, some of which have already been paid, but most of which remain unpaid, are to be

22 deducted from the Sale proceeds before making any distributions under the AmEx Settlement and the
   Bodden Distribution Agreement.
23 25 As set forth in Exhibit 2.2 to the APA, Buyer has allocated $400,000 of the Purchase Price to the IP
   Assets and $300,000 of the Purchase Price to the Adversary Action Assets. The Purchase Price for the IP
24
   Assets was allocated by Buyer equally among the four Selling Debtors ($100,000 to each such Selling
25 Debtor). With respect to the purchase of the IP Assets of BYCOI, Buyer allocated 50% of the $100,000
   allocated Purchase Price to each of the two IP Assets (i.e., $50,000 to the domain name being sold and
26 $50,000 to the copyright being sold).
     26
27     If Starke’s lien is disallowed, Bodden will receive an additional $19,519.22 payable from the BYCOI
     reserve account, and the remaining $45,544.83 in reserve will go to the BYCOI Estate.
28



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 1            Trustee proposes to pay the Sale Costs (see Exhibit D) in the estimated amount of $75,880.00, plus

 2 any additional actual and reasonable costs incurred in connection with the Sale prior to Closing, to the

 3 applicable vendor from the Sale proceeds at Closing or as soon as reasonably practicable thereafter, without

 4 further application to or approval of the Court.

 5            In addition, Trustee proposes to make the Settlement Payments from the Sale proceeds, after

 6 deducting the applicable Sale Costs from the appropriate Selling Debtor (subject to a final calculation of

 7 the Sale Costs), to AmEx and Bodden (subject to the BYCOI reserves referenced below) in accordance

 8 with this Court’s prior orders approving the AmEx Settlement and Bodden Distribution Agreement,

 9 without further application to or approval of the Court as follows:

10                                                       Allocated Net        Allocated Net        Allocated Net
      Type of            Selling
                                        Creditors        Proceeds of Sale     Proceeds to          Proceeds to
11    Asset Sold         Debtors
                                                         (after Sale Costs)   Creditors            Estates
12    Adversary
      Actions            BYCOI           Bodden          $277,978.44          $27,797.84           $250,180.60
13    IP
                         BCYI            Bodden          $87,820.50           $26,346.15           $61,474.35
14
                         ITR             Bodden          $83,748.50           $25,124.55           $58,623.95
15                       BI              Bodden          $87,820.50           $26,346.15           $61,474.35
                         BYCOI           Amex            $ 43,376.03          $21,688.02
16                       (domain name
                         Asset)         Starke/Bodden    $21,688.02           Disputed/Reserved
17
                         BYCOI
18                       (copyright      Starke/Bodden   $43,376.03           Disputed/Reserved
                         Asset)
19
                         Total BYCOI Reserves        $ 65,064.05
20                       Total (Excluding BYCOI Reserves)                     $431,753.25
21            After the payment of the Sale Costs and Settlement Payments, the net proceeds will be allocated to
22 the Selling Debtors’ Estates as follows (again, subject to the final calculation of the actual Sale Costs):

23
                    ALLOCATION OF NET PROCEEDS TO ESTATES
24                   Estate        Net Proceeds   Held in Reserve                                Total
                    BYCOI           $250,180.60     $65,064.05                                $315,244.64
25                  BCYI            $61,474.35                                                 $61,474.35
26                  ITR              $58,623.95                                                $58,623.95
                    BI              $61,474.35                                                 $61,474.35
27                  TOTAL           $431,753.25     $65,064.05                                $496,817.29
28



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 1             G.        Notice of the Sale and this Motion

 2             All of the applicable notice requirements of Bankruptcy Rules 2002(c) and 6004(a), (c), and LBR

 3 6004-1(c) pertaining to this Motion and the request herein to approve the Sale have been satisfied. First,

 4 in connection with the Bid Procedures Motion that was filed in late November 2021, Trustee served notice

 5 of the proposed Bid Procedures, including a copy of the form APA, to over 700 creditors and other parties

 6 in interest in the bankruptcy cases. Second, upon entry of the Bid Procedures Order, on December 29,

 7 2021, Trustee filed with the Court and served the “Notice of Sale, Bidding Procedures, Auction, Sale

 8 Hearing and Related Deadlines” (the “Sale and Auction Notice”) (Dkt. 571).27 The Sale and Auction

 9 Notice, which also was served on over 700 creditors and other parties in interest in the bankruptcy cases,

10 described, among other things, the proposed terms and conditions of the Sale transaction, Bid Procedures

11 and related deadlines, and also included a copy of the Bid Procedures Order and the acquisition “teaser”

12 prepared by Hilco.

13             Third, on January 4, 2022, Trustee filed Form 6004-2.Notice.Sale, which notice was published on

14 the Court’s website under “Current Notice Sales” and served on the ECF list, Bikram Choudhury and his

15 counsel, and all potential secured creditors. Finally, a copy of this Motion, including the Memorandum of

16 Points and Authorities and all exhibits and declarations filed in connection thereto, together with an

17 amended Form 6004-2.Notice.Sale, are being served in accordance with the Bid Procedures Order on the

18 limited notice list set forth in the Bid Procedures Order. A copy of this Motion also is available to all

19 qualified bidders in the data room.

20 V.          LEGAL ARGUMENT

21             A.        The Proposed Sale of Assets Is Proper Under Applicable Law.

22             A trustee may, pursuant to court order, “use, sell, or lease, other than in the ordinary course of
23 business, property of the estate.” 11 U.S.C. § 363(b). “The court’s obligation in § 363(b) sales is to assure

24 that optimal value is realized by the estate under the circumstances.” In re Lahijani, 325 B.R. 282, 288

25 (B.A.P. 9th Cir. 2005). To sell property of the estate outside of the ordinary course of business, “there

26

27   27
          Docket No. 572 is the proof of service filed in connection with Sale and Auction Notice.
28



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 1 must be some articulated business justification for using, selling, or leasing the property outside the

 2 ordinary course of business… [w]hether the proffered business justification is sufficient depends on the

 3 case.” In re Walter, 83 B.R. 14, 19–20 (B.A.P. 9th Cir. 1988) (adopting the language of In re Continental

 4 Air Lines, Inc., 780 F.2d 1223, 1226 (5th Cir. 1986)).

 5            “To confirm a sale, the trustee must establish that: (1) a sound business purpose exists for the sale;

 6 (2) the sale is in the best interest of the estate, i.e., the sale price is fair and reasonable; (3) notice to creditors

 7 was proper; and (4) the sale is made in good faith.” In re Slates, No. BAP EC-12-1168-KIDJU, 2012 WL

 8 5359489, at *11 (B.A.P. 9th Cir. Oct. 31, 2012) (unpublished) (citing In re Wilde Horse Enters., Inc., 136

 9 B.R. 830, 841 (Bankr. C.D. Cal. 1991); Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.),

10 722 F.2d 1063, 1069 (2d Cir. 1983)). As discussed more fully below, Trustee’s proposed sale of the Assets

11 meets each of these requirements.

12                       1.   Sound business judgment supports the Sale here.
13            In determining whether the business purpose is justified under § 363(b)(1), bankruptcy courts apply
14 a flexible, case-by-case approach. See Walter, 83 B.R. at 20 (“[T]he bankruptcy judge should consider all

15 salient factors pertaining to the proceeding and, accordingly, act to further the diverse interests of the

16 debtor, creditors and equity holders, alike.”). “Ordinarily, the position of the trustee is afforded deference,

17 particularly where business judgment is entailed in the analysis or where there is no objection.” Lahijani,

18 325 B.R. at 289. See also In re Curlew Valley Assocs., 14 B.R. 506, 513–14 (Bankr. D. Utah 1981) (“[T]he

19 court will not entertain objections to a trustee's conduct of the estate where that conduct involves a business

20 judgment made in good faith, upon a reasonable basis, and within the scope of his authority under the

21 Code.”).

22            Here, the facts reflect that Trustee’s decision to sell the Assets is supported by sound business
23 judgment. The Assets are the principal assets of the Estates that remain to be administered – resulting in a

24 $700,000 Purchase Price. Itkin Decl., ¶ 63. In addition to the prior sales of real properties and certain

25 collector cars, the Sale of the Assets is important in realizing value for the Estates and its secured creditors,

26 and in paving the way for the conclusion of the administration of the cases that has been pending for a

27 significant amount of time. In addition, Trustee has considered the interest of stakeholders regarding the

28



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 1 Sale and is addressing the issues relating to the distribution of the gross proceeds to claimants with

 2 competing interests against the collateral. To delay closing the Sale would diminish the relevance of such

 3 agreements. Itkin Decl., ¶¶ 64-65.

 4            The Sale also is a culmination of a thorough and exhaustive marketing process. Buyer has stepped

 5 forward and executed the APA to purchase the Assets with a relatively quick closing. The consummation

 6 of the Sale of the Assets within the proposed time frame will maximize the value of the Assets under the

 7 circumstances. Conversely, any further delay would only increase the administrative costs. Itkin Decl.,

 8 ¶¶ 67-68.

 9            Based on the foregoing, Trustee submits that a strong business justification exists for the Sale.

10                       2.   The proposed Purchase Price is fair and reasonable.

11            Whether the sale is in the best interest of the bankruptcy estate requires that the terms of the sale be

12 fair and reasonable, that the property be adequately marketed, and that the sale terms be negotiated in good

13 faith and in an arm’s length transaction. See In re Wilde Horse Enters., Inc., 136 B.R. 830, 841 (Bankr.

14 C.D. Cal. 1991); Matter of Phoenix Steel Corp., 82 B.R. 334, 335-36 (Bankr. D. Del. 1987). Based on

15 these factors, Trustee submits the Sale, in accordance with the Court approved Bid Procedures, meets the

16 foregoing factors.

17            The Bid Procedures approved by the Court have guarded against invalid offers for the Assets, and
18 has ensured that, in conjunction with the AmEx Settlement and Bodden Distribution Agreement, the

19 Purchase Price being paid is and will generate cash proceeds the Selling Debtors’ Estates. See Itkin Decl.,

20 ¶ 70. Designed to maximize the value of the Assets, the Bid Procedures ensured that the ultimate Purchase

21 Price is an accurate reflection of the Assets’ true value based on the best possible price that could be

22 obtained. Trustee is confident that the marketing and sales process conducted by Hilco has generated the

23 best value for the Assets because not only has Hilco actively marketed the Assets to all known and likely

24 potential purchasers, but the potential bidders were provided an opportunity to submit competitive bids

25 through which the highest or otherwise best bid from all competing qualified bids was selected. As

26 assurance of value, the bids received were tested through the Auction – with ten (10) bidders participating

27 in the Auction -- consistent with the requirements of the Bankruptcy Code, the Bankruptcy Rules, and

28



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 1 pursuant to the Bid Procedures approved by the Court. Itkin Decl., ¶¶ 72-73; Kalnit Decl., ¶ 7. The

 2 $700,000.00 Purchase Price is fair based upon the marketing efforts of Hilco and the arm’s length

 3 negotiation between Trustee and Buyer. See Itkin Decl., ¶¶ 69, 72 and 74. Moreover, Buyer is purchasing

 4 the Assets “as is,” “where is.” See Itkin Decl., Ex. B, pg. 7.

 5            In light of Hilco’s robust marketing efforts and the results of those efforts culminating in the APA

 6 with Buyer, Trustee believes that proceeding with the Sale is in the best interests of the Estates.

 7                       3.   Notice is proper.

 8            Trustee must give notice of any sale of property of the Estates. 11 U.S.C. § 363(b)(1). In the instant

 9 matter, Trustee has provided adequate and reasonable notice of the proposed Sale transaction as required

10 by the applicable Bankruptcy Rules 2002(c) and 6004(a), (c), and LBR 6004-1(c). Not only were all of

11 the Estates’ creditors and other parties in interest – over 700 entities – provided over three (3) months’

12 advanced notice of the Sale transaction, including the pertinent terms of the proposed sale via the form

13 APA attached to the Bid Procedures Motion, but the same creditors and parties in interest also were served

14 with a copy of the Bid Procedures Order, the Sale and Auction Notice, and the acquisition opportunity

15 “teaser” prepared by Hilco on December 29, 2021. Likewise, Trustee published a notice of the Sale via

16 the Court’s website on January 4, 2022 by filing Form 6004-2.Notice.Sale with the Court. Finally, this

17 Motion (including the Memorandum of Points and Authorities and all exhibits and declarations filed in

18 connection therewith) and an amended Form 6004-2.Notice.Sale are being served in accordance with the

19 Bid Procedures Order. A copy of this Motion also is available to all qualified bidders in the data room.

20            Based on the foregoing service of the Sale related pleadings, Trustee submits that notice of the Sale

21 Transaction, and all pertinent information relating thereto, is proper and constitutes adequate and

22 reasonable notice. As a result, Trustee asserts that notice has been properly given.

23                       4.   The Sale was negotiated at arms’ length.

24            “Good faith encompasses fair value, and further speaks to the integrity of the transaction,” whereas

25 “[t]ypical bad faith or misconduct, would include collusion between the seller and buyer, or any attempt to

26 take unfair advantage of other potential purchasers.” Wilde Horse Enters., Inc., 136 B.R. at 842 (internal

27 quotation marks omitted). The Sale of the Assets here was negotiated at arms’ length utilizing Hilco as

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 1 Trustee’s sales agent and consultant. Other than being members in the same community in India, Buyer

 2 has represented under penalty of perjury that he does not have any connection or relationship with Trustee

 3 or with Bikram Choudhury or any of his family members or affiliated entities, or any entities in which any

 4 of the foregoing are invested or serve as officers, directors, managers or consultants.28 See Chaudhuri

 5 Decl., ¶¶ 10-11. The source of funds for the purchase of the Assets is not derived, directly or indirectly,

 6 from any assets or properties of the Estates or proceeds therefrom. See id., ¶¶ 9-10. As a result, the Sale

 7 is made in good faith and, as further discussed below, Trustee requests that the Court make a finding that

 8 Buyer is entitled to the protections of § 363(m).

 9                       5.   The Sale is not subject to Bankruptcy Code § 363(b) and excludes personally

10                            identifiable information.

11            To the extent that the Sale of the Assets includes the sale of certain Documents, the Sale does not

12 contemplate the sale of personal identifiable information (“PII”) and will exclude records that may contain

13 PII of former students or studio owners. In this instance, Trustee believes that the requirement of § 363(b)

14 is not invoked by the Sale on two grounds: (1) Trustee is informed and believes that the Debtors did not

15 have any form of privacy policy in effect as of the Petition Date; and (2) the information concerning the

16 Debtors’ former students and studio owners stored among the Debtors’ books and records do not constitute

17 PII. Trustee confirmed with the Debtors’ former general counsel that at the time the bankruptcy cases were

18 commenced, the Debtors did not have a privacy policy in place, let alone one that informs individuals about

19 prohibitions on the transfer of PII. Itkin Decl., ¶ 82. By the plain language of Bankruptcy Code § 363(b),

20 the absence of a privacy policy negates the requirement for the appointment of a consumer privacy

21 ombudsman to oversee the Sale. 11 U.S.C. § 363(b)(1).

22            Second, the records on file concerning the Debtors’ former students and studio owners cannot be
23 considered PII. For personal information to be considered PII pursuant to § 101(41A), it must be provided

24 “by an individual to the debtor in connection with obtaining a product or a service from the debtor primarily

25 for personal, family, or household purposes. . . .” The definition excludes employee information or

26
     28
27    Buyer has served as the purchaser of certain vehicles of BYCOI and of the residence of the Choudhury
     Defendants during this Chapter 7 bankruptcy case.
28



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 1 information shared between businesses and is limited to consumer transactions.29 Here, the personal

 2 information provided was made primarily for business purposes in order to be certified as a yoga instructor

 3 or start a Bikram yoga studio and not to obtain consumer goods or services. Training for a business

 4 opportunity does not change the business purpose of the transaction. See In re Chrisman, 27 B.R. 648, 649

 5 (Bankr. S.D. Ohio 1982) (obligation to the bank was not a consumer debt even if loan proceeds were

 6 actually used for training purposes); Zolg v. Kelly (In re Kelly), 841 F.2d 908, 913 (9th Cir. 1988) (debt

 7 incurred for a business venture or with a profit motive does not fall into the category of debt incurred for

 8 “personal, family, or household purposes”).

 9            Even though there is no PII being sold in this Sale transaction, Trustee will use her best efforts to

10 exclude records that may contain personal information by removing such documents from the storage unit

11 before Closing. Moreover, if any personal records remain in storage at Closing and are inadvertently

12 transferred to Buyer, the APA provides that Buyer will be responsible for destroying such records and will

13 not use or transfer such private information. See APA, § 2.1(c). Based on the foregoing, the Sale is

14 consistent with the Bankruptcy Code’s privacy provisions.

15            B.         The Sale Should be Approved Free and Clear of All Interests.
16            The Sale also meets the requirements for a sale free and clear of Interests. Section 363(f) of the
17 Bankruptcy Code authorizes a debtor to sell assets free and clear of liens, claims, interests, and

18 encumbrances if:

19            (1) applicable nonbankruptcy law permits sale of such property free and clear of such interest;
20            (2) such entity consents;
21            (3) such interest is a lien and the price at which such property is to be sold is greater than the
22                 aggregate value of all liens on such property;
23            (4) such interest is in bona fide dispute; or
24            (5) such entity could be compelled, in a legal or equitable proceeding, to accept a money
25                 satisfaction of such interest.
26
     29
27     See e.g., Bankruptcy Code § 101(8) definition of “consumer debt” as debt primarily for personal,
     family or household purposes.
28



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 1 11 U.S.C. § 363(f). Although only one of the five conditions of § 363(f) needs to be satisfied, Trustee

 2 believes she is able to satisfy the second, fourth and fifth requirements of § 363(f).

 3            Here, both Bodden and AmEx have settled with Trustee regarding their secured claims and have

 4 consented to the Sale of the Assets as part of their respective settlement agreements. Even absent such

 5 consent (which is not the case with respect to Bodden and AmEx), Trustee may sell free and clear of liens

 6 against the Assets pursuant to § 363(f)(5) because the secured creditors could be compelled to be paid from

 7 the Sale proceeds to the extent of their secured claims if the Sale proceeds are, in fact, sufficient to render

 8 all or part of their claims secured. Pursuant to the AmEx Settlement and the Bodden Distribution

 9 Agreement, both AmEx and Bodden have agreed to payment from the Sale proceeds in full and final

10 satisfaction of their secured claims, with the remaining balance of their claims treated as unsecured claims.

11            Trustee believes that only AmEx and Bodden have allowed secured interests in the Assets.

12 Although Starke purports to have filed a writ of attachment on the IP Assets of BYCOI, such purported

13 security interest is flawed and invalid because Starke failed to levy against the assets of BYCOI under her

14 writ of attachment pursuant to CCP § 488.500, et seq., in order to establish an attachment lien. With respect

15 to BCYI and BI, Starke didn’t even file a writ of attachment, much less have an attachment lien.

16            Property held by a corporation is subject to attachment only if there is a statutory method of levy

17 available for the property as required by CCP § 487.010(a) and (b). See Senate Legislative Comment to

18 CCP § 487.010 (1974) (“These subdivisions have been revised in part to make clear that property for which

19 a method of levy is not provided is not subject to attachment, e.g., copyrights and patents.”). Indeed, none

20 of the provisions of CCP § 488.300 et seq., provides a method of levy for intellectual property—may it be

21 for copyrights, patents or trademarks. Accordingly, Starke does not have an attachment lien against any

22 IP owned by BYCOI by virtue of the writ of attachment.

23            Likewise, CCP § 697.530, which creates a judgment lien on personal property through a notice of
24 judgment lien, excludes intellectual property rights from the list of properties for which a judgment lien

25 can attach. Having no means of levying against the Selling Debtors’ intellectual property under state law

26

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 1 and failing to record such lien with the appropriate federal agency such as the Copyright Office,30 Starke

 2 does not have an enforceable lien against any of the Selling Debtors’ intellectual property, and as such,

 3 Starke’s claim, if any, is unsecured. Given the foregoing deficiencies, Trustee has commenced three

 4 adversary proceedings against Starke seeking a disallowance of her secured claim against the BYCOI,

 5 BCYI and BI Estates.

 6            Trustee needs only to show that there is an objective basis for either a factual or legal dispute as to

 7 the validity of the interest without the court resolving the underlying dispute. In re Octagon Roofing, 123

 8 B.R. 583, 590 (Bankr. N.D. Ill. 1991). “Under this standard, a court need not determine the probable

 9 outcome of the dispute, but merely whether one exists.” Id. Accordingly, Trustee believes that AmEx and

10 Bodden are the only creditors with valid security interests in the Assets. At best, there is a “bona fide”

11 dispute as to the validity, extent, and priority of Starke’s security interest to allow a sale free and clear of

12 her purported lien pursuant to 11 U.S.C. § 363(f)(4). However, out of an abundance of caution, Trustee

13 will not disburse to either Starke or Bodden any Sale proceeds of any IP Assets owned by BYCOI that

14 Starke purports to assert an Interest in until such time as the validity and priority of Starke’s Interest is

15 determined by further Court order. Rather, Trustee shall place any such disputed proceeds in reserve

16 pending resolution of Starke’s disputed lien.

17            Finally, parties who do not object to the sale of estate property free and clear of their interests also
18 are deemed to have consented to such relief provided that adequate and proper notice is given.

19 FutureSource LLC v. Reuters Ltd., 312 F.3d 281, 285 (7th Cir. 2002) (“It is true that the Bankruptcy Code

20 limits the conditions under which an interest can be extinguished by a bankruptcy sale, but one of those

21 conditions is the consent of the interest holder, and lack of objection (provided of course there is notice)

22 counts as consent.”). All parties asserting claims against the Assets have been provided notice of, and an

23 opportunity to object to, the Sale. Absent objection, each such party will be deemed to have consented to

24 the Sale. Id,; In re Christ Hosp., No. CIV.A. 14-472 ES, 2014 WL 4613316, at *14 (D.N.J. Sept. 12, 2014)

25 (“Silence by affected claim holders may constitute consent for purposes of section 363(f)(2).”). Here,

26
     30
27     See In re World Auxiliary Power Co., 303 F.3d 1120, 1128 (9th Cir. 2002) (When a copyright has been
     registered, a security interest can be perfected only by recording the transfer in the Copyright Office.)
28



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 1 AmEx and Bodden have already consented to the Sale transaction as part of their respective settlement

 2 agreements, and to the extent that Starke does not raise an objection to the Sale free and clear of her

 3 Interests, the requirements of Bankruptcy Code §363(f)(2) have been satisfied.

 4            C.         Buyer Should be Afforded § 363(m) Protection.

 5            Section 363(m) of the Bankruptcy Code protects the validity of a sale from the “reversal or

 6 modification on appeal of an authorization under subsection (b) or (c) of this section of a sale or lease of

 7 property” so long as the buyer “purchased or leased such property in good faith” and the appellant fails to

 8 obtain a stay of the sale. 11 U.S.C § 363(m). “Though the Bankruptcy Code and Rules do not provide a

 9 definition of good faith, courts generally have followed traditional equitable principles in holding that a

10 good faith purchaser is one who buys ‘in good faith’ and ‘for value.’” In re Ewell, 958 F.2d 276, 281 (9th

11 Cir. 1992) (citing In re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d 143, 147 (3rd Cir. 1986). Lack of

12 good faith may be shown by “fraud, collusion between the purchaser and other bidders or the trustee, or an

13 attempt to take grossly unfair advantage of other bidders.” Id. (quoting In re Suchy, 786 F.2d 900, 902

14 (9th Cir. 1985)); see also In re Indus. Valley Refrigeration & Air Conditioning Supplies, Inc., 77 B.R. 15,

15 17 (Bankr. E.D. Pa. 1987) (good faith requirement “focuses principally on the element of special treatment

16 of the debtor’s insiders in the sale transaction”).

17            Here, Buyer is a good faith purchaser entitled to the protections of 11 U.S.C. §363(m). Trustee and
18 Buyer have entered into the APA without collusion, in good faith and through extensive arm’s length

19 negotiations. Itkin Decl., ¶ 77. The proposed sale is not predicated on fraud or collusion. Chaudhuri Decl.,

20 ¶¶ 15-18. Buyer has not received any special treatment or consideration. Itkin Decl., ¶¶ 77-78. Indeed,

21 Buyer and Trustee have engaged separate counsel and other professional advisors to represent their

22 respective interests in the negotiation of the APA and in the sale process generally. In addition, Hilco is

23 an independent professional retained by Trustee for the purpose of exploring strategic alternatives for and

24 marketing of the Assets. Itkin Decl., ¶ 79. The Bid Procedures further avoided any party from exerting

25 undue influence over the process or manipulating the sale price. Itkin Decl., ¶ 80.

26            To the best of Trustee’s knowledge, information and belief, no party has engaged in any conduct
27 that would cause or permit Buyer’s bid to be set aside under section 363(m) of the Bankruptcy Code. Based

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 1 upon the foregoing, Trustee submits that the Motion satisfies the standards for approval of a sale of Assets

 2 outside of the ordinary course of business pursuant to 11 U.S.C. § 363(b), and good cause exists to make a

 3 finding that Buyer is purchasing the Assets in “good faith” pursuant to 11 U.S.C. § 363(m). Accordingly,

 4 Trustee seeks a good faith determination for Buyer at the Sale Hearing.

 5            D.         There are No Tax Consequences that Should Preclude the Sale.

 6            Because of the financial condition of the Estates and the nature of the Assets being sold, Trustee

 7 does not believe, based on consultations with her accountants, that there will be adverse tax consequences

 8 as a result of the Sale, but rather some nominal taxes at most; however, Trustee will update the Court if

 9 there is any change in this analysis. Itkin Decl., ¶ 89.

10            E.         Waiver of Bankruptcy Rule 6004(h) is Appropriate Here.

11            Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or lease of property …
12 is stayed until the expiration of 14 days after entry of the order, unless the court orders otherwise.” Trustee

13 requests that Sale Order be effective immediately upon entry by providing that the 14-day stay under

14 Bankruptcy Rule 6004(h) is waived.

15            The purpose of Bankruptcy Rules 6004(h) is to provide sufficient time for an objecting party to
16 appeal before an order can be implemented. See Advisory Committee Notes to Fed. R. Bankr. P. 6004(h).

17 Although Bankruptcy Rule 6004(h) and the Advisory Committee Notes are silent as to when a court should

18 “order otherwise” and eliminate or reduce the 14-day stay period, Collier suggests that the 14-day stay

19 period should be eliminated to allow a sale or other transaction to close immediately “where there has been

20 no objection to the procedure.” Collier on Bankruptcy, ¶ 6004.11 (Alan N. Resnick & Henry J. Sommer

21 eds., 16th ed.). Furthermore, Collier provides that if an objection is filed and overruled, and the objecting

22 party informs the court of its intent to appeal, the stay may be reduced to the amount of time actually

23 necessary to file such appeal. Id.

24            To preserve the value of the Assets and limit the costs of administering and preserving such Assets,
25 it is critical that Trustee close the Sale as soon as possible after all closing conditions have been achieved

26 or waived. Trustee needs to have the ability to move as expeditiously as possible in order to avoid incurring

27

28



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 1 additional administrative expenses.        It is in the interest of the Estates’ creditors that the sale be

 2 consummated without delay upon the entry of an order granting the Motion and the Sale.

 3            Trustee is likewise not aware of any prejudice that would be caused by the Court’s waiver of

 4 Bankruptcy Rule 6004(h). Trustee has caused a notice of the Sale to be served upon all of the lienholders

 5 and those claiming an interest in the Assets known to Trustee, all creditors and other parties in interest

 6 affected by the Sale; and all governmental units, including taxing authorities who have, or as a result of the

 7 Sale of the Assets may have, claims against the Estates in connection with the Sale. Any person having

 8 any objection to the Motion has been afforded a reasonable opportunity to raise any objections or concerns.

 9

10 VII.       CONCLUSION
              Trustee respectfully requests that the Court enter the Sale Order, substantially in the form attached
11
     hereto as Exhibit A: (i) authorizing Trustee to enter into, and approving the terms of, the APA attached
12
     hereto as Exhibit B; (ii) approving the Sale of the Trustee’s and any applicable Selling Debtors’ respective
13
     right, title and interest in the Assets to Buyer free and clear of all Interests pursuant to 11 U.S.C. § 363(f),
14
     provided that the net proceeds of any IP Assets owned by BYCOI that Starke purports to assert an Interest
15
     in will not be disbursed to either Starke or Bodden until such time as the validity and priority of Starke’s
16
     Interest is determined by further order of the Court; (iii) authorizing Trustee to pay the Settlement Payments
17
     and Sale Costs from the Sale proceeds at Closing or as soon as practicable thereafter; (v) authorizing
18
     Trustee to take any and all steps reasonably necessary to effectuate the Sale and related transactions; (vi)
19
     finding that Buyer is a good faith purchaser under 11 U.S.C. § 363(m); (vii) approving a waiver of the stay
20
     provision under Bankruptcy Rule 6004(h); and (viii) and granting all other appropriate relief as the Court
21
     deems just and proper.
22

23
     DATED: February 14, 2022                       SKLAR KIRSH, LLP
24

25
                                                    By:            /s/ Lovee D. Sarenas
26                                                          Lovee Devela Sarenas
                                                            Attorneys for Chapter 7 Trustee Robbin L. Itkin
27

28



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                    1                          DECLARATION OF ROBBIN L. ITKIN, AS TRUSTEE

                    2            I, Robbin L. Itkin, hereby declare as follows:

                    3            1.        I am the duly appointed, qualified and acting Chapter 7 Trustee for the bankruptcy

                    4 estates (“Estates”) of Debtor Bikram’s Yoga College of India, LP (“BYCOI”) and its related debtor

                    5 affiliates (collectively, “Debtors”).

                    6            2.        I have personal knowledge of the matters discussed below, and if called as a witness,

                    7 I could and would competently testify thereto.

                    8            3.        This declaration is being submitted in support of Trustee’s Motion for an Order: (I)

                    9 Approving the Sale of Certain Assets Outside the Ordinary Course of Business Free and Clear of

                   10 All Liens, Claims, Interests and Encumbrances; (II) Determining that Buyer is a Good Faith

                   11 Purchaser Under 11 U.S.C. § 363(m); and (III) Granting Related Relief (the “Sale Motion”), to

                   12 which this declaration is attached.7

                   13            A.        Overview of the Proposed Sale to the Successful Bidder at Auction
                   14            4.        By the Sale Motion, I seek Court approval of the terms and conditions of the APA to
                   15 Dr. Kali P. Chaudhuri (“Buyer”), who bid the highest and otherwise best offer for the Assets (at the

                   16 aggregate Purchase Price of $700,000.00) generated through the marketing and sales process

                   17 previously approved pursuant to this Court’s Bid Procedures Order.

                   18            5.        As set forth in Exhibit 2.2 to the APA, Buyer allocated $400,000 of the Purchase
                   19 Price to the IP Assets and $300,000 of the Purchase Price to the Adversary Action Assets. The

                   20 Purchase Price for the IP Assets was allocated by Buyer equally among the four Selling Debtors

                   21 ($100,000 to each such Selling Debtor). With respect to the purchase of the IP Assets of BYCOI,

                   22 Buyer allocated 50% of the $100,000 allocated Purchase Price to each of the two IP Assets (i.e.,

                   23 $50,000 to the domain name being sold and $50,000 to the copyright being sold).

                   24            6.        The Assets that are the subject of the proposed Sale are specifically identified in the
                   25 APA, but generally consist of the Selling Debtors’ rights and interests in and to certain IP, Adversary

                   26 Actions and Documents related thereto. Specifically, the IP assets are comprised of specific

                   27

                   28
                        7
                         Capitalized terms used that are not defined in this declaration shall have the same meaning
                        ascribed to them in the Sale Motion.
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                    1 trademarks, copyrights and domain names developed and utilized by certain Selling Debtors (as

                    2 specifically identified in the Exhibits attached to the APA) in connection with BYCOI’s yoga

                    3 teacher training business.

                    4            7.        In addition, I commenced the following Adversary Actions against various

                    5 defendants on November 8, 2019, all of which are part of the Assets being sold to Buyer: (i) Itkin v.

                    6 Organizacion Ideal dba Princess Mundo Imperial Hotel, et al. (19-ap-01066-DS); (ii) Itkin v. Smana

                    7 Hotel Al Raffa and Rajesh Baheti (9:19-ap-01067-DS); (iii) Itkin v. Zen Co., Ltd. (9:19-ap-01068-

                    8 DS); (iv) Itkin v. Elo, et al. (9:19-ap-01069-DS); (v) Itkin v. Shigenaga, et al. (9:19-ap-01070-DS);

                    9 (vi) Itkin v. Sumanta Bhattachriya, et al. (9:19-ap-01071-DS) ; and (vii) Itkin v. Bikram Choudhury

                   10 (9:19-ap-01075-DS).

                   11            8.        The Adversary Actions being sold exclude the adversary actions previously settled

                   12 with the Choudhury Defendants.

                   13            9.        In addition, pursuant to Section 2.1(b) of the APA, I may, in my sole discretion,

                   14 remove the Shigenaga Adversary Action from the Assets being sold and designate it as an Excluded

                   15 Adversary Action at or prior to Closing. Subject to Court approval of the settlement agreement

                   16 dismissing the Shigenaga Adversary Action, I plan to designate the Shigenaga Adversary Action as

                   17 an Excluded Adversary Action.

                   18            10.       I am also transferring to Buyer all Documents related to the Assets that are currently

                   19 located in a storage unit maintained by me on behalf of the Estates.

                   20            11.       As set forth in the APA, the proposed Sale transaction to Buyer is on an “as-is, where-

                   21 is” basis with all faults and with no representations or warranties of any kind. Buyer was solely

                   22 responsible for conducting his own, independent due diligence with respect to the Assets, including,

                   23 without limitation, the existence and validity of any of the IP and the potential recoveries from the

                   24 Adversary Actions.

                   25            12.       The other salient terms of the APA are as follows:8

                   26

                   27   8
                       The following is intended only as a summary. Parties should refer to the actual APA for a
                   28 complete understanding of all terms and conditions of the Sale to Buyer. The terms and
                      conditions of the APA are incorporated herein in their entirety by this reference, and failure to
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                    1                 PROVISION                                    SUMMARY
                    2    Purchase Price (APA, §2.2,        $700,000, which Buyer allocated $400,000 of the Purchase
                         Exhibit 2.2 to the APA)           Price to the IP Assets and $300,000 of the Purchase Price to
                    3                                      the Adversary Actions, as further set forth in Exhibit 2.2 to
                    4                                      the APA
                         Sale to Insider                   No. See Chaudhuri Decl., ¶¶ 10-11
                    5    Contingencies to Closing (APA,    None. Buyer waives any and all contingencies to
                         §4.1)                             consummation of the Sale transaction, including, without
                    6                                      limitation, all due diligence and financing contingencies.
                         Releases                          None
                    7
                         Closing and Other Deadlines       The Closing shall occur on or before two (2) business days
                    8    (APA, §4.2)                       following the date on which all the closing conditions set
                                                           forth in Sections 4.3 and 4.4 of the APA have been satisfied,
                    9                                      but in any event, by no later than March 11, 2022 or a later
                                                           date agreed upon in writing by the Parties.
                   10    Deposit (APA, §§1.3, 2.3, 5.1,    $70,000.00 (10% of the Purchase Price). The Deposit is
                   11    5.2 and 5.3)                      non-refundable if the APA is terminated as a result of a
                                                           material breach by Buyer pursuant to Section 5.1(ii) of the
                   12                                      APA, or the Closing fails to occur on or before March 11,
                                                           2022 (or a later date agreed upon in writing by the Parties)
                   13                                      through no fault of Seller.
                         Interim Agreement with Buyer      None
                   14
                         Tax Exemption (APA, §7.3)         N/A. Buyer shall pay, to the extent applicable: (i) all
                   15                                      applicable document recording charges, if any; (ii) all
                                                           transfer taxes and other fees, if any, arising from or resulting
                   16                                      from the transactions contemplated hereby; and (iii) all costs
                                                           and expenses related to Buyer's investigation, transfer and
                   17                                      assignment of the Assets.
                         Record Retention (APA, §2.1(c))   N/A. The Assets include all Documents relating to the
                   18
                                                           Assets being sold, and Buyer is solely responsible for any
                   19                                      and all storage costs after Closing and for the removal or
                                                           disposal of such Documents, at Buyer’s sole cost and
                   20                                      expense, and Trustee shall have no further liability with
                                                           respect thereto on and after Closing.9 Trustee has, or prior
                   21                                      to Closing will, remove all Documents from the storage
                   22
                      include any specific term or condition in this summary shall not be deemed a waiver of such
                   23 provision. In the event of any inconsistencies between the summary provided herein and the APA,
                      the terms of the APA shall govern.
                   24 9
                        Notwithstanding the foregoing, if, after the Closing, Buyer discovers any books, records,
                   25 documents and other files being held in storage that do not relate to the Assets (the “Other
                      Documents”), Buyer shall immediately notify the Seller and arrange for the prompt return of such
                   26 Other Documents, or at the Trustee’s direction, the prompt destruction of the Other Documents, all
                      at the Buyer’s sole cost and expense. In the event Seller inadvertently turns over any Documents
                   27 in storage that contain personal or confidential information of any employee or other person

                   28 affiliated with the Bikram Yoga facilities and program to Buyer, Buyer agrees not to utilize or
                      disclose such information to any third-parties and to destroy such information upon its discovery.
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                    1                                            facility that are needed to administer the Estates, any items
                                                                 or other memorabilia (including, without limitation,
                    2                                            photographs, letters and other correspondence), and all
                                                                 Documents or any part thereof that contain confidential or
                    3
                                                                 personal identifiable information. Any such items or
                    4                                            Documents removed from storage in advance of the Closing
                                                                 are not included as part of the Assets being sold.
                    5    Sale of Avoidance Actions               Yes, the Adversary Actions are part of the Assets being
                         (APA, §2.1(b))                          sold; provided, however, that Trustee may, in her sole
                    6                                            discretion, remove the Shigenaga Adversary Action from
                    7                                            the Assets being sold and designate it as an Excluded
                                                                 Adversary Action on or prior to Closing.
                    8    Requested Findings as to                N/A
                         Successor Liability
                    9    Sale Free and Clear of Liens            Except with respect to obligations and liabilities relating to
                         (APA, §2.4)                             and arising on and after the Closing, Buyer is not assuming
                   10
                                                                 any liability, debt or obligations of Seller, Selling Debtors,
                   11                                            or their bankruptcy Estates attributable to the Assets prior to
                                                                 Closing, and Buyer shall have no obligation or
                   12                                            responsibility therefor. All of the Assets being sold shall be
                                                                 sold and assigned by Seller to Buyer free and clear of all
                   13                                            liens and interests, in accordance with 11 U.S.C. § 363(f).
                   14    Credit Bid                              None
                         Relief from Bankruptcy Rule             Yes (see legal discussion below).
                   15    6004(h)

                   16            B.        The Debtors’ Bankruptcy Cases
                   17            13.       Debtors commenced their respective chapter 11 bankruptcy cases on or about
                   18 November 9, 2017.

                   19            14.       The Estates are administered jointly under BYCOI’s bankruptcy case pursuant to this
                   20 Court’s order [see Dkt. No. 11].

                   21            15.       On April 4, 2018, I was appointed to serve as the chapter 11 trustee for the Estates.
                   22            16.       On September 28, 2020, the bankruptcy cases were converted from chapter 11 to
                   23 chapter 7 [see Dkt. No. 436]. Thereafter, I was appointed to serve as the chapter 7 trustee for the

                   24 Debtors’ cases and continue to serve in such capacity as this time [see Dkt. No. 441].

                   25            17.       My administration of these chapter 7 cases continues as I prosecute the pending
                   26 avoidance actions for fraudulent transfers and other causes of action, marshal and monetize assets

                   27 of the Estates, analyze claims against the Debtors, and negotiate with creditors and defendants in

                   28 order to resolve the many issues involving the Estates and the Estates’ assets.
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                    1            18.       To date, I believe that I have achieved considerable progress in resolving disputes

                    2 and lining up what is necessary to accomplish the Sale contemplated in the Sale Motion and resolve

                    3 these cases by taking, inter alia, the following actions in these cases:

                    4                      a. I have settled three of the pending adversary proceedings, specifically, those

                    5                         against the Choudhury Defendants.         In connection therewith, I sold the

                    6                         Choudhury Defendants’ residence, which sale was approved by the Court on

                    7                         April 5, 2021 [Dkt. No. 492].

                    8                      b. I recovered and sold various luxury vehicles owned by the Estates and negotiated

                    9                         a distribution agreement with various lienholders to permit an orderly sale of

                   10                         those assets.

                   11                      c. I entered into the Bodden Distribution Agreement with Bodden with respect to

                   12                         her judgment lien against the Estates. This compromise is crucial as it enables

                   13                         the Estates to move forward with the sale of the remaining assets, resolves the

                   14                         parties’ issues with respect to the treatment of Bodden’s claims (including the

                   15                         validity and extent of her asserted secured claims), and provides for an orderly

                   16                         distribution of any Sale proceeds from the Assets.

                   17                      d. On August 10, 2021, I filed the DJ Motion in the adversary case entitled Robbin

                   18                         L. Itkin v. Bikram Choudhury (Adv. No. 9:19-ap-01075 DS). The DJ Motion

                   19                         establishes Bikram Choudhury’s liability and reduces to judgment Trustee’s

                   20                         claims arising from a multitude of fraudulent transfers of assets of the BYCOI

                   21                         Estate. No opposition was received with respect to the DJ Motion. On January

                   22                         7, 2022, I submitted a Supplemental Brief in support of the DJ Motion pursuant

                   23                         to the Court’s order. The entry of the default judgment is pending.

                   24                      e. I reached the AmEx Settlement with AmEx, which has asserted a senior secured

                   25                         lien on the domain name owned by BYCOI that is part of the Assets being sold

                   26                         pursuant to the Sale Motion. The AmEx Settlement provides, in relevant part,

                   27                         that the parties will divide the proceeds from the Sale of the domain name equally

                   28                         after payment of all applicable Sale Costs allocated to the sale of the domain
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                    1                         name. Any deficiency claim is treated as an unsecured claim against the BYCOI

                    2                         Estate.

                    3                      f. On February 7, 2022, I commenced adversary proceedings in each of the

                    4                         bankruptcy cases of BYCOI, BCYI and BI against Starke pursuant to Bankruptcy

                    5                         Rules 3001(c), 3007, 7001(2) and (9) and Bankruptcy Code §§ 502(b)(7), 506(d),

                    6                         724(a) and 726(a)(4), seeking disallowance of her asserted secured claim against

                    7                         the three Selling Debtors and declaratory relief that Starke’s proofs of claim are

                    8                         prima facie invalid because Starke failed to demonstrate a properly perfected and

                    9                         enforceable lien against any asset of the three Estates on account of the judgment

                   10                         she obtained against Bikram Choudhury, individually, and the Selling Debtors

                   11                         BYCOI, BCYI and BI. Absent a viable secured claim against the BYCOI, BCYI

                   12                         and BI Estates, Starke does not have a lien on any of the Assets.

                   13                      g. On or about February 11, 2022, I reached a settlement agreement with Monica

                   14                         Shigenaga, CocoJor Hawaii, LLC and Jadoo, LLC that provides for the dismissal

                   15                         of the Shigenaga Adversary Action, including dismissal of the counterclaim

                   16                         asserted against the Estates in that action. I plan to shortly file a motion seeking

                   17                         Court approval of the parties’ proposed settlement.

                   18            19.       With the foregoing progress made to date in the chapter 7 cases, I believe that I am

                   19 in a position to sell the Assets to Buyer and bring the administration of these Estates to its

                   20 conclusion.

                   21            C.        Marketing Efforts to Sell the Assets

                   22            20.       I had engaged in discussions with potential buyers for some of the Assets during the
                   23 pendency of the Chapter 7 cases and prior to the start of the Court approved sales process for the

                   24 Assets. None of those efforts, however, resulted in consummation of a sale.

                   25            21.       In October 2021, I retained Hilco as the Estates’ sale consultant and agent to identify
                   26 additional potential buyers for some or all of the Assets, and to otherwise facilitate the marketing

                   27 and sale of the Assets to third parties.

                   28
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                    1            22.       Hilco’s retention was approved by order of the Court entered on November 9, 2021

                    2 [Dkt. No. 548].

                    3            23.       On December 27, 2021, the Court entered the Bid Procedures Order [Dkt. No. 570]

                    4 approving, among other things, certain Bid Procedures that established key dates, times and a

                    5 process for the Sale of the Assets.

                    6            24.       Notwithstanding the limited universe of potential acquirers for these types of Assets,

                    7 I believe that the Bid Procedures and sales process approved in the Bid Procedures Order has

                    8 allowed my advisors and me to fully market, evaluate and select the highest and best price for the

                    9 Assets.

                   10            25.       On or about December 29, 2021, I caused the notice of the Sale, the Bid Procedures

                   11 Order and a copy of Hilco’s marketing teaser to be mailed to over 700 creditors and other interested

                   12 parties in the cases, including current and former Bikram related studio owners.

                   13            26.       A true and correct copy of the APA entered into between Buyer and me is attached

                   14 to the Sale Motion Exhibit B.

                   15            27.       A true and correct copy of the redlined version of the APA showing changes made
                   16 for the sale to Buyer to the form APA that was approved by the Court for use in the marketing and

                   17 Sale process and attached to the Bid Procedures Motion (Dkt. 553) is attached to the Sale Motion

                   18 as Exhibit C.

                   19            D.        Secured Claims Asserted Against the Assets Being Sold
                   20            28.       To the best of my knowledge, the follow chart summarizes the liens and security
                   21 interests (in order of purported priority) that have been asserted against the Selling Debtors’ Estates

                   22 as of the Petition Date:

                   23

                   24

                   25

                   26

                   27

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                    1        Selling       Creditor     Recording Date           Amount           Nature of Lien       Proof of
                             Debtor                                                                                     Claim
                    2                      AmEx        11/25/2015            $635,158.88         Recorded UCC-1        POC 3-1
                    3                                                                            Financing
                                                                                                 Statement
                    4        BYCOI         Starke      None, but Writ of     $370,011.2110       Disputed              POC 10-
                                                       Attachment Filed                          Judgment Lien         1
                    5                                  2/16/2016
                                           Bodden      7/5/2016              $6,767,519.44       Judgment Lien         POC 6-2
                    6
                                           Bodden      7/5/2016              $6,689,951.00       Judgment Lien         POC 3-1
                    7        BCYI          Starke      None                  $5,174,557.30       Disputed              POC 4-1
                                                                                                 Judgment Lien
                    8                      Bodden      7/5/2016              $6,689,951.00       Judgment Lien         POC 4-1
                             BI            Starke      None                  $5,174,557.30       Disputed              POC 5-1
                    9                                                                            Judgment Lien
                   10        ITR           Bodden      N/A                   $6,689,951.00       Judgment Lien         POC 2-1

                   11
                                   29.      To the best of my knowledge, Starke did not file a writ of attachment against BCYI
                   12
                        or BI, much less any form of lien on their Assets, nor did she attach any such documents to her
                   13
                        proofs of claim. As such, I believe that Bodden’s security interests are senior to Starke’s (if any)
                   14
                        and Starke is not entitled to any distributions from the Sale proceeds allocated to BCYI and BI.
                   15
                                   30.      AmEx has a first priority security interest in a domain name owned by BYCOI that
                   16
                        is part of the Assets being sold.
                   17
                                   31.      AmEx’s secured claim arises from a Security Agreement signed by Bikram
                   18
                        Choudhury on behalf of BYCOI dated November 23, 2015. The Security Agreement granted a
                   19
                        security interest to AmEx in, among other things,
                   20
                                            “all trademarks, trade names, service marks, logos and other source
                   21                       of business identifiers, and all registrations, recordings and
                                            applications with the USPTO and all renewals, reissues and
                   22                       extensions thereof . . . and any and all proceeds of [ ] the foregoing,
                                            including insurance proceeds or other proceeds from the sale. . . .”
                   23

                   24              32.      The Security Agreement excluded from the Collateral “any real estate, motor

                   25 vehicles, household furniture and fixtures, and any other goods for personal, family or household

                   26 use” and omitted any copyrights of BYCOI.

                   27
                        10
                   28     The claim amount is based on the Writ of Attachment that mentions BYCOI but was not
                        recorded against it.
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                    1            33.       AmEx recorded a UCC-1 Financing Statement on November 25, 2015 asserting a

                    2 lien on assets of BYCOI.

                    3            34.       Pursuant to the Amex Settlement [Dkt. No. 566], the Court approved the parties’

                    4 compromise with respect to the treatment of AmEx’s claim against the Assets owned by BYCOI.

                    5 In accordance with the AmEx Settlement, AmEx agreed to carve-out a portion of its allowed

                    6 recovery from the sale of the Estates’ Assets to pay over to me for the benefit of the Estates, and

                    7 agreed to take a partial distribution equal to 50% of the net sale proceeds of the Sale of the BYCOI

                    8 domain name after payment of Sale Costs incurred in marketing, selling and consummating the sale

                    9 of the BYCOI domain name in full and final satisfaction of its allowed secured claim against the

                   10 BYCOI Estate. Any deficiency claim is treated as an unsecured claim to share pro rata with other

                   11 unsecured creditors of the BYCOI Estate.

                   12            35.       Bodden asserts a secured judgment lien against the Selling Debtors BYCOI, BCYI,

                   13 BI and ITR.

                   14            36.       Although I initially disputed Bodden’s asserted liens on certain of the Assets, we

                   15 resolved our disputes and entered into the Bodden Distribution Agreement, which the Court

                   16 approved pursuant to an order entered on December 7, 2021 [Dkt. No. 560].

                   17            37.       In accordance with the Bodden Distribution Agreement, there is a carve-out of

                   18 Bodden’s asserted secured claim on the IP Assets for the benefit of the Estates, and Bodden agreed

                   19 to take a partial distribution from the Sale proceeds, after payment of applicable Sale Costs and any

                   20 senior liens, as follows: (i) 30% of the net proceeds from the sale of any IP Assets owned by the

                   21 Selling Debtors; and (ii) 10% of the net proceeds from the sale of the Adversary Actions.

                   22            38.       These agreed payments to Bodden, in addition to the funds that Bodden has

                   23 previously received from the Estates pursuant to prior Court-approved agreements I entered into

                   24 with Bodden, are in full and final satisfaction of Bodden’s secured claim, and any deficiency claim

                   25 is treated as one aggregate unsecured claim against the Estates.

                   26            39.       No creditor, other than Bodden, is entitled to share in any proceeds from the Sale of

                   27 the Adversary Actions.

                   28
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                    1            40.       Starke filed proofs of claim erroneously asserting a secured claim in the amount of

                    2 $5,174,557.30 against the BYCOI, BCYI and BI Estates purportedly arising from a state court

                    3 judgment she obtained against the following judgment debtors: Bikram Choudhury, individually,

                    4 and the Selling Debtors BYCOI, BCYI and BI (collectively, “Judgment Debtors”), who allegedly

                    5 are jointly and severally liable under a wrongful termination lawsuit.

                    6            41.       The proofs of claim filed by Starke are identical in amount, assert the same judgment

                    7 against the Judgment Debtors as the underlying basis for the claim, and seek 10% interest from the

                    8 date of judgment to the Petition Date.

                    9            42.       On February 7, 2022, the Trustee commenced three adversary proceedings against

                   10 Starke objecting to Starke’s asserted secured claim against BYCOI, BCYI and BI.

                   11            43.       The complaints seek disallowance of Starke’s asserted secured claims against the

                   12 three Selling Debtors and declaratory relief that Starke’s proofs of claim are prima facie invalid in

                   13 that (1) Starke failed to submit and show evidence of an enforceable lien against any asset of the

                   14 three Estates on account of the judgment, particularly against the IP of the three Selling Debtors;

                   15 and (2) her claim, which is based on damages arising from the termination of her employment with

                   16 BYCOI, must be reduced to an unsecured claim for $350,000.00 pursuant to Bankruptcy Code §

                   17 502(b)(7).

                   18            44.       Absent a prima facie valid secured claim, I believe that Starke does not have a lien

                   19 for purposes of Bankruptcy Code § 363(f).

                   20            E.        The Sale Costs Incurred

                   21            45.       A true and correct summary of the estimated Sale Costs are attached to the Motion
                   22 as Exhibit D.

                   23            46.       The Sale Costs are estimates based on amounts obtained to date and are subject to
                   24 my receipt of final invoices. In addition, there may be additional Sale Costs incurred prior to

                   25 Closing, including costs associated with removal of Documents prior to the Closing from the storage

                   26 unit.

                   27            47.       The estimated Sales Costs, in the aggregate to date, are approximately $75,880.00,
                   28 and include:
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                    1                      a. $60,000 in the aggregate on account of Hilco’s commission and reasonable and

                    2                         verified out-of-pocket costs and expenses incurred by Hilco (capped at $5,000),

                    3                         all as authorized pursuant to the Hilco Retention Order.

                    4                      b. $4,055 in the aggregate on account of IP counsel’s flat fee and costs incurred in

                    5                         connection with the successful prosecution of the UDRP action on behalf of the

                    6                         ITR Estate as authorized by the Court pursuant to SBG&B’ retention order.

                    7                      c. Other costs of sale in the aggregate amount of $11,825 incurred in connection

                    8                         with the marketing of the Assets and the Sale process, including, without

                    9                         limitation, court reporter and zoom operator expenses for the Auction, retrieval

                   10                         and reproduction of documents for the Data Room, copying (which was charged

                   11                         at $0.06 per page) and postage costs relating to service of the Sale related

                   12                         pleadings, and preservation of IP rights.

                   13            48.       These Sale Costs, some of which have already been paid, but most of which remain

                   14 unpaid, are to be deducted from the Sale proceeds before making any distributions under the AmEx

                   15 Settlement and the Bodden Distribution Agreement.

                   16            49.       In allocating the Sale Costs among the various Selling Debtors, to the extent that a

                   17 certain expense is attributable to a particular Asset of a Selling Debtor being sold, such expense is

                   18 allocated in whole to that Selling Debtor and, where necessary for determination of sale proceeds

                   19 per Asset for lien purposes, to the particular relevant Asset of such Selling Debtor being sold. To

                   20 the extent that an expense is attributable to the Assets of all four Selling Debtors, each Selling Debtor

                   21 is responsible for its ¼ share of the cost incurred.

                   22            50.       By the Sale Motion, I propose to pay the Sale Costs set forth in Exhibit D to the

                   23 Motion, all of which were actual and necessary expenses incurred for an effective and orderly Sale

                   24 of the Assets and the efficient administration of the Estates, in the estimated amount of $75,880.00,

                   25 to the applicable vendor from the Sale proceeds at Closing or as soon as reasonably practicable

                   26 thereafter, without further application to or approval of the Court.

                   27

                   28
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                    1            F.         Allocation of the Purchase Price and Proposed Distributions to AmEx and

                    2                       Bodden

                    3            51.        The following is a summary of the aggregate net proceeds expected to be received

                    4 by the Estates from the Sale:

                    5
                                           SUMMARY OF NET PROCEEDS TO ESTATES FROM SALE
                    6
                                           Total Gross Sale Proceeds for Estates’ Assets           $700,000.00
                    7
                                           Minus Aggregate Estimated Sale Costs                    ($75,880.00)
                    8                      Minus Aggregate Payments to Bodden                     ($105,614.69)
                                           Minus Payment to AmEx                                   ($21,688.02)
                    9
                                           Total Net Proceeds to Estates at Closing                $496,817.29
                   10                      BYCOI Reserve for Disputed Interests                    ($65,064.05)

                   11
                                 52.        I estimate that the aggregate payment to Bodden from the proceeds of the Sale at
                   12
                        Closing pursuant to the Court approved Bodden Distribution Agreement is $105,614.69, and could
                   13
                        be as high as $125,133.91 (i.e., increased by an additional $19,519.22 payable from the BYCOI
                   14
                        reserve account with the remaining $45,544.83 in reserve released to the BYCOI Estate) if Starke’s
                   15
                        purported lien on the IP Assets owned by BYCOI is disallowed.
                   16
                                 53.        I estimate that the aggregate payment to AmEx from the proceeds of the Sale at
                   17
                        Closing pursuant to the Court approved AmEx Settlement is $21,688.02.
                   18
                                 54.        I propose to make the Settlement Payments from the Sale proceeds, after deducting
                   19
                        the applicable Sale Costs from the appropriate Selling Debtor, to AmEx and Bodden (subject to the
                   20
                        reserves referenced above) in accordance with this Court’s prior orders approving the AmEx
                   21
                        Settlement and Bodden Distribution Agreement, without further application to or approval of the
                   22
                        Court as follows (subject to the final Sale Costs):
                   23

                   24

                   25

                   26

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                    1                                                     Allocated Net
                                                                                          Allocated Net       Allocated Net
                         Type of           Selling                        Proceeds of
                    2                                     Creditors                       Proceeds to         Proceeds to
                         Asset Sold        Debtors                        Sale (after
                                                                                          Creditors           Estates
                                                                          Sale Costs)
                    3    Adversary
                         Actions           BYCOI          Bodden          $277,978.44     $27,797.84          $250,180.60
                    4
                         IP
                    5                      BCYI           Bodden          $87,820.50      $26,346.15          $61,474.35
                                           ITR            Bodden          $83,748.50      $25,124.55          $58,623.95
                    6                      BI             Bodden          $87,820.50      $26,346.15          $61,474.35
                    7                      BYCOI          Amex            $ 43,376.03     $21,688.02
                                           (domain name
                    8                      Asset)         Starke/Bodden   $21,688.02      Disputed/Reserved

                    9                      BYCOI
                                           (copyright     Starke/Bodden   $43,376.03      Disputed/Reserved
                   10                      Asset)
                                           Total BYCOI Reserves       $ 65,064.05
                   11
                                           Total (Excluding the BYCOI Reserves)                               $431,753.25
                   12
                                 56.        After the payment of the Sale Costs and Settlement Payments, the net proceeds will
                   13
                        be allocated to the Selling Debtors’ Estates as follow (again subject to the actual Sale Costs):
                   14
                                       ALLOCATION OF NET PROCEEDS TO ESTATES
                   15                   Estate        Net Proceeds   Held in Reserve                              Total
                   16                  BYCOI           $250,180.60     $65,064.05                              $315,244.64
                                       BCYI            $61,474.35                                               $61,474.35
                   17                  ITR             $58,623.95                                               $58,623.95
                                       BI              $61,474.35                                               $61,474.35
                   18
                                       TOTAL           $431,753.25     $65,064.05                              $496,817.29
                   19

                   20            G.         Notice of the Sale and the Sale Motion
                   21            57.        In connection with the Bid Procedures Motion that was filed in late November 2021,
                   22 I caused to be served notice of the proposed Bid Procedures, including a copy of the form APA, to

                   23 over 700 creditors and other parties in interest in the bankruptcy cases.

                   24            58.        Upon entry of the Bid Procedures Order, on December 29, 2021, and in accordance
                   25 therewith, I caused to be filed with the Court and served the Sale and Auction Notice [Dkt. 571].

                   26            59.        The Sale and Auction Notice, which also was served on over 700 creditors and other
                   27 parties in interest in the bankruptcy cases, described, among other things, the proposed terms and

                   28
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                    1 conditions of the Sale transaction, Bid Procedures and related deadlines, and also included a copy

                    2 of the Bid Procedures Order and the acquisition “teaser” prepared by Hilco.

                    3            60.       On January 4, 2022, I caused to be filed Form 6004-2.Notice.Sale, which notice was

                    4 published on the Court’s website under “Current Notice Sales” and served on the ECF list, Bikram

                    5 Choudhury and his counsel, and all potential secured creditors.

                    6            61.       A copy of the Sale Motion, including the Memorandum of Points and Authorities

                    7 and all exhibits and declarations filed in connection thereto, together with an amended Form 6004-

                    8 2.Notice.Sale, will be served in accordance with the Bid Procedures Order on the limited notice list

                    9 set forth in the Bid Procedures Order.

                   10            H.        Additional Factual Support for the Sale Transaction

                   11            62.       I believe that a strong business justification exists for the Sale to Buyer.
                   12            63.       The Assets are the principal assets of the Estates that remain to be administered –
                   13 resulting in a $700,000 Purchase Price.

                   14            64.       In addition to the prior sales of real properties and certain collector cars, the Sale of
                   15 the Assets is important in realizing value for the Estates and its secured creditors, and in paving the

                   16 way for the conclusion of the administration of the cases that has been pending for a significant

                   17 amount of time.

                   18            65.       I have considered the interest of stakeholders regarding the Sale and I am addressing
                   19 any issues relating to the distribution of the gross proceeds to claimants with competing interests

                   20 against the collateral. In my opinion, to delay closing of the Sale would diminish the relevance of

                   21 such agreements.

                   22            66.       The Sale also is a culmination of a thorough and exhaustive marketing process.
                   23            67.       Buyer has stepped forward and executed the APA to purchase the Assets with a
                   24 relatively quick closing.

                   25            68.       The consummation of the Sale of the Assets within the proposed time frame will
                   26 maximize the value of the Assets under the circumstances. Conversely, any further delay would

                   27 only increase the administrative costs.

                   28
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                    1            69.       I also believe that proceeding with the Sale is in the best interests of the Estates in

                    2 light of Hilco’s robust marketing efforts and the results of those efforts culminating in the APA with

                    3 Buyer.

                    4            70.       In my opinion, the Bid Procedures have guarded against invalid offers for the Assets,

                    5 and has ensured that, in conjunction with the AmEx Settlement and Bodden Distribution Agreement,

                    6 the Purchase Price being paid is and will generate cash proceeds for the Selling Debtors’ Estates.

                    7            71.       Designed to maximize the value of the Assets, the Bid Procedures ensured that the

                    8 ultimate Purchase Price is an accurate reflection of the Assets’ true value based on the best possible

                    9 price that could be obtained.

                   10            72.       I am confident that the marketing and sales process conducted by Hilco has generated

                   11 the best value for the Assets because not only has Hilco actively marketed the Assets to all known

                   12 and likely potential purchasers, but the potential bidders were provided an opportunity to submit

                   13 competitive bids through which the highest or otherwise best bid from all competing qualified bids

                   14 was selected.

                   15            73.       As assurance of value, the bids received were tested through the Auction – with ten

                   16 (10) bidders participating in the Auction -- consistent with the requirements of the Bankruptcy Code,

                   17 the Bankruptcy Rules, and pursuant to the Bid Procedures approved by the Court.

                   18            74.       The Sale of the Assets also was negotiated at arms’ length utilizing Hilco as my sales

                   19 agent and consultant.

                   20            75.       The declaration made under penalty of perjury by Buyer states that other than being

                   21 members in the same community in India, Buyer does not have any connection or relationship with

                   22 Bikram Choudhury or any of his family members or affiliated entities, or any entities in which any

                   23 of the foregoing are invested or serve as officers, directors, managers or consultants. I do not have

                   24 any relationship with the Buyer, other than he has served as the buyer of certain vehicles of BYCOI

                   25 and of the residence of the Choudhury Defendants during this Chapter 7 bankruptcy case.

                   26            76.       Based on the declaration made under penalty of perjury by Buyer, the source of funds

                   27 for the purchase of the Assets is not derived, directly or indirectly, from any assets or properties of

                   28 the Estates or proceeds therefrom.
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                    1            77.       To the best of my knowledge and belief, the APA has been entered into by Buyer

                    2 without collusion or fraud and in good faith, and certainly through extensive arm’s length

                    3 negotiations.

                    4            78.       Buyer has not received any special treatment or consideration. Rather, both Buyer

                    5 and I have engaged separate counsel and other professional advisors to represent our respective

                    6 interests in the negotiation of the APA and in the sale process generally.

                    7            79.       Hilco, my sales agent and consultant, is an independent professional retained by me

                    8 for the purpose of exploring strategic alternatives for and marketing of the Assets.

                    9            80.       The Bid Procedures further avoided any party from exerting undue influence over

                   10 the process or manipulating the sale price.

                   11            81.       To the best of my knowledge, information and belief, no party has engaged in any

                   12 conduct that would cause or permit Buyer’s bid to be set aside under section 363(m) of the

                   13 Bankruptcy Code.

                   14            82.       I have been informed and believe that the Debtors did not have any form of privacy

                   15 policy in effect as of the Petition Date. I confirmed with the Debtors’ former general counsel that

                   16 at the time the bankruptcy cases were commenced, the Debtors did not have a privacy policy in

                   17 place, let alone one that informs individuals about prohibitions on the transfer of PII.

                   18            83.       Even though there is no PII being sold in this Sale transaction, I will attempt to have

                   19 Documents that may contain personal information removed from the storage unit before Documents

                   20 are physically transferred to Buyer. Moreover, if any personal records remain in storage at Closing

                   21 and are inadvertently transferred to Buyer, Section 2.1(c) of the APA provides that Buyer will be

                   22 responsible for destroying such records and will not use or transfer such private information.

                   23            84.       I believe that only AmEx and Bodden have allowed secured interests in the Assets.

                   24            85.       Although Starke purports to have filed a writ of attachment on the IP Assets of

                   25 BYCOI, such purported security interest is flawed and invalid because Starke failed to levy against

                   26 the assets of BYCOI under her writ of attachment pursuant to CCP § 488.500, et seq., in order to

                   27 establish an attachment lien.

                   28
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                    1            86.       With respect to BCYI and BI, Starke did not even file a writ of attachment, so there

                    2 is absolutely no basis for an attachment lien.

                    3            87.       Notwithstanding the foregoing, out of an abundance of caution, I agree not to

                    4 disburse to either Starke or Bodden any Sale proceeds of any IP Assets owned by BYCOI that Starke

                    5 purports to assert an Interest in until such time as the validity and priority of Starke’s Interest is

                    6 determined by further Court order. Rather, I will place any such disputed proceeds in reserve, as

                    7 set forth above, pending resolution of Starke’s disputed lien.

                    8            88.       I estimate that the amount placed in reserve with the BYCOI Estate pending

                    9 resolution of Starke’s disputed lien will be $ 65,064.05 in the aggregate, as set forth in the above

                   10 charts.

                   11            89.       Because of the financial condition of the Estates and the nature of the Assets being

                   12 sold, I do not believe, based on consultations with my accountants, that there will be adverse tax

                   13 consequences as a result of the Sale, but rather some nominal taxes at most. I will update the Court

                   14 if there is any change in this analysis.

                   15            90.       To preserve the value of the Assets and limit the costs of administering and

                   16 preserving such Assets, it is critical that the Sale closes as soon as possible after all closing

                   17 conditions have been achieved or waived.

                   18            91.       I need the ability to move as expeditiously as possible in order to avoid incurring

                   19 additional administrative expenses, and thus it is in the interest of the Estates’ creditors that the sale

                   20 be consummated without delay upon the entry of an order granting the Sale Motion.

                   21            92.       I am not aware of any prejudice that would be caused by the Court’s waiver of

                   22 Bankruptcy Rule 6004(h).

                   23            93.       I have caused a notice of the Sale to be served upon all of the lienholders and those

                   24 claiming an interest in the Assets known to me, all creditors and other parties in interest affected by

                   25 the Sale, and all governmental units, including taxing authorities who have, or as a result of the Sale

                   26 of the Assets may have, claims against the Estates in connection with the Sale. Thus, any person

                   27 having any objection to the Sale Motion has been afforded a reasonable opportunity to raise any

                   28 objections or concerns.
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                    1            I declare under penalty of perjury under the laws of the United States of America that the

                    2 foregoing is true and correct to the best of my knowledge, information and belief.

                    3            Executed this 14th day of February, 2022 in Los Angeles, California.

                    4

                    5                                                 ___
                                                                      _____________________________________
                    6                                                       ROBBIN L. ITKIN
                    7

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                                                      DECLARATION OF RICHELLE KALNIT

                     1            I, Richelle Kalnit, state as follows:

                     2                1. I am a Senior Vice President of Hilco IP Services, LLC d/b/a Hilco Streambank

                     3       (“Hilco Streambank”), which has been retained as the Trustee’s consultant and sales agent in
                     4
                             connection with the sale or disposition of the intellectual property and certain adversary actions
                     5
                             (collectively, the “Assets”) of the Estates as set forth in the Application to Employ Hilco IP
                     6
                             Services, LLC d/b/a Hilco Streambank as Consultant and Sales Agent for Debtors’ Intellectual
                     7
                             Property Rights and Estate Claims [Docket No. 536] (the “Hilco Retention Application”), which
                     8

                     9       application, with changes made by the Court, was granted by the Court on November 9, 2021

                    10       [Docket No. 548] (the “Hilco Retention Order”).
                    11                2. I submit this declaration (this “Declaration”) in support of the Trustee’s Motion for
                    12
                             an Order: (I) Approving the Sale of Certain Assets Outside the Ordinary Course of Business Free
                    13
                             and Clear of All Liens, Claims, Interests and Encumbrances; (II) Determining that Buyer is a
                    14
                             Good Faith Purchaser Under 11 U.S.C. § 363(m); and (III) Granting Related Relief (the “Sale
                    15

                    16       Motion”).

                    17                3. On November 23, 2021, the Trustee filed the Motion for Order (A) Approving Bid

                    18       Procedures for the Sale of the Estates’ Remaining Assets, Including Authorization of a
                    19       Discretionary Break-Up Fee Payment; (B) Approving Related Notice Procedures; (C) Approving
                    20
                             the Form Asset Purchase Agreement; (D) Authorizing the Payment of Sales Costs; (E) Scheduling
                    21
                             a Sale Hearing; and (F) Granting Related Relief [Docket No. 553], which motion, with changes
                    22
                             made by the Court, was granted by the Court on December 27, 2021 [Docket No. 570] (the “Bid
                    23

                    24       Procedures Order”). 1

                    25

                    26

                    27

                    28
                         1
                          Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
                         Sale Motion and Bid Procedures Motion, as applicable.
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                     1            4. Except as otherwise stated, all statements in this Declaration are based upon my

                     2   review of relevant documents, my discussions with the Trustee and her professionals, including
                     3
                         other members of Hilco Streambank, and my personal knowledge and experience.
                     4
                                  5. Hilco Streambank is an expert in the valuation, preservation, and monetization of
                     5
                         intangible assets such as the Assets. Hilco Streambank has provided intangible asset advisory and
                     6
                         brokerage services for dozens of retail and consumer companies. Many of those companies were
                     7

                     8   debtors in chapter 11 or chapter 7 bankruptcy cases.

                     9            6. In connection with its engagement by the Trustee, Hilco Streambank worked with
                    10   the Trustee and her professionals to identify and assemble relevant data concerning the Assets,
                    11
                         and to market the Assets to potential buyers. Hilco Streambank’s activities included:
                    12
                                         a. identifying the Assets and assisting the Trustee in preserving the Assets;
                    13
                                         b. developing marketing materials including a “teaser” describing the Assets,
                    14                      the history of their use and their availability for sale;
                    15                   c. reviewing, with the Trustee and her counsel, the contents of the storage locker
                    16                      containing approximately 246 boxes of documents related to the Assets, and
                                            supplementing the inventory spreadsheet of such documents based on the
                    17                      review;

                    18                   d. working with the Trustee and her various counsel to advise the Trustee with
                                            respect to gaining control of the BikramYoga.com domain name and other
                    19                      domain names;
                    20                   e. drafting and disseminating a press release via PR Newswire describing the
                    21                      Assets and their availability for sale;

                    22                   f. developing a contact list of potential buyers of the Assets;

                    23                   g. having direct contact by phone or email with approximately 285 potential
                                            buyers of the Assets;
                    24
                                         h. disseminating email marketing materials that were sent to over 6,000
                    25                      potential buyers of the Assets culled from Hilco Streambank’s proprietary
                    26                      contact database;

                    27                   i. advertising the Assets on Hilco Streambank’s LinkedIn and Twitter pages;

                    28
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                     1                    j. establishing and populating a virtual data room (the “Data Room”) and
                                             arranging for the admission of 19 parties to the Data Room who executed a
                     2                       form of non-disclosure agreement acceptable to the Trustee;
                     3                    k. developing an Auction format for the Assets, including a bid form and bidder
                     4                       qualification guidelines;

                     5                    l. managing the auction of the Assets (the “Auction”);

                     6                    m. working with the Trustee and the buyer of the Assets to document
                                             deliverables and terms of the sale; and
                     7
                                          n. continuing to work with the Trustee and her professionals to close the sale of
                     8                       the Assets.
                     9            7. Hilco Streambank and the Trustee notified potential buyers that any offers to acquire
                    10
                         the Assets were required to be submitted in writing on or before February 8, 2022 at 12:00 p.m.
                    11
                         PT (the “Bid Deadline”), together with a good-faith deposit equal to ten percent (10%) of the
                    12
                         amount of the potential buyer’s bid, along with the other requirements as set forth in the Bid
                    13

                    14   Procedures Order.

                    15            8. Prior to the Bid Deadline, Hilco Streambank engaged with multiple interested

                    16   parties. Ultimately, the Trustee received bids from ten (10) bidders. I and my team, along with
                    17
                         the Trustee and her counsel, worked to qualify the bids received from these bidders. As a result
                    18
                         of those efforts, the modified bids of all of the bidders were deemed qualified as contemplated by
                    19
                         the Bid Procedures (the “Qualified Bidders”).
                    20
                                  9. On February 10, 2022, the Trustee convened the Auction among the ten (10)
                    21

                    22   Qualified Bidders utilizing a video conferencing platform. Non-speaking participants were also

                    23   able to appear telephonically. At the auction, the Trustee solicited sealed bids from each Qualified
                    24   Bidder through one round of best and final sealed bids.
                    25
                                  10. The highest and/or otherwise best bid for the Assets was submitted by Dr. Kali P.
                    26
                         Chaudhuri (the “Successful Bidder”). The Successful Bid was for $700,000 for all of the Assets.
                    27

                    28
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                     1                11. On or about February 11, 2022, the Successful Bidder wired an additional deposit of

                     2       $40,000, thereby increasing the total deposit held by the Trustee to $70,000, or 10% of the
                     3
                             Successful Bid.
                     4
                                      12. The Sale was negotiated, proposed, and entered into by the Trustee and the
                     5
                             Successful Bidder without collusion and in good faith, and resulted from arm’s-length bargaining
                     6
                             positions. Moreover, to the best of my knowledge, no common identity of directors or controlling
                     7

                     8       shareholders exists between the Debtors and the Successful Bidder.

                     9                13. I believe that the Successful Bid represents the highest and best offer available for
                    10       the Assets after the reasonable and thorough marketing process conducted by Hilco Streambank
                    11
                             and the Trustee. Accordingly, in my opinion, granting the relief requested in the Sale Motion is
                    12
                             in the best interests of the Trustee, the Debtors’ estates, and creditors.
                    13
                                      14. A hearing to consider entry of an order approving the Sale Motion is scheduled
                    14

                    15       before the Court on February 23, 2022. Subject to Court approval of the Sale Motion and the

                    16       Purchase Agreement, the Trustee and the Successful Bidder intend to move expeditiously to

                    17       consummate the Sale of the Assets to the Successful Bidder.
                    18
                                      15. Commission Pertaining to Successful Bid. 2 Pursuant to the Hilco Retention Order,
                    19
                             for its services as consultant and sales agent to the Trustee, Hilco Streambank was entitled to a
                    20
                             commission (the “Commission”) equal to:
                    21
                                          a. A percentage of the aggregate IP Gross Proceeds as follows:
                    22
                                                i. 10% of the amount of aggregate IP Gross Proceeds up to and including
                    23                              $500,000; plus
                                               ii. 20% of the amount of aggregate IP Gross Proceeds greater than $500,000;
                    24                              plus
                    25                    b. A percentage of the aggregate Estate Claims Gross Proceeds as follows:
                                                i. 5% of the amount of aggregate Estate Claims Gross Proceeds up to and
                    26                              including $1,000,000; plus
                    27
                         2
                    28    Capitalized terms used but not defined in paragraphs 15-18 hereof shall have the respective
                         meanings ascribed to them in the Hilco Retention Application.
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                     1                          ii.  10% of the amount of aggregate Estate Claims Gross Proceeds greater
                                                     than $1,000,000.
                     2                16. The sale process concluded with the highest and best bid submitted by the Successful
                     3
                             Bidder in the amount of $700,000. Of that amount, $400,000 is attributable to IP Gross Proceeds,
                     4
                             and $300,000 is attributable to Estate Claims Gross Proceeds. Accordingly, the Commission
                     5
                             attributable to such amounts is $55,000 ([10% x $400,000 = $40,000] plus [5% x $300,000 =
                     6

                     7       $15,000]).

                     8                17. Out of Pocket Expenses. Pursuant to the Hilco Retention Order, Hilco Streambank

                     9       shall be reimbursed for its reasonable, customary and documented expenses up to a maximum
                    10
                             amount of $5,000. The receipts showing expenses incurred by Hilco Streambank are annexed
                    11
                             hereto as Exhibit A. In connection with the engagement, Hilco Streambank incurred reasonable
                    12
                             out-of-pocket expenses of $5,524.66, which reflects:
                    13
                                          a. $18.44 in connection with the registration of domain names PureBikramYoga.net
                    14
                                             and BikramInc.com.
                    15                    b. $500.00 in connection with maintenance of an online data room, 3 plus
                    16                    c. $1,921.21 in connection with travel to review the materials in the Debtor’s
                                             storage locker, plus
                    17                    d. $3,085.01 in connection with travel to participate in the Auction for the Assets.
                    18
                                      18. Separate and apart from the expenses incurred by Hilco Streambank, the Trustee
                    19
                             incurred certain Sales Costs in connection with the Sale, which Sale Costs were facilitated by
                    20
                             Hilco Streambank but were not part of Hilco Streambank’s capped expenses, including:
                    21
                                          a. $1,695.60 for costs associated with retrieving, copying and restocking the
                    22                       materials in two of the boxes in the Debtors’ storage locker, plus
                    23                    b. An amount estimated to be $2,000 for court reporter and Zoom operator
                                             services at the Auction.
                    24

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                          Hilco Streambank’s engagement letter provides that data room expenses will be charged at a flat fee of
                         $500.00.
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                     1         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

                     2 and correct to the best of my knowledge, information and belief.

                     3         Executed this 14th day of February, 2022 at Westport, Connecticut.

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                     5                                                             _________________________
                                                                                         Richelle Kalnit
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                         EXHIBIT A TO KALNIT DECLARATION

                        INVOICES RE: OUT OF POCKET EXPENSES


        Trustee has reviewed and verified the receipts submitted by Hilco. Due to the
        voluminous nature of the receipts, such receipts are not attached hereto but are
        available for review by the Court or any other creditor or party in interest upon
        request.
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 1                                        EXHIBIT A

 2                                 PROPOSED SALE ORDER
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                    1 SKLAR KIRSH, LLP
                      LOVEE D. SARENAS (SBN 204361)
                    2 Email: lsarenas@sklarkirsh.com
                      1880 Century Park East, Suite 300
                    3
                      Los Angeles, California 90067
                    4 Telephone: (310) 845-6416
                      Facsimile: (310) 929-4469
                    5
                      Attorneys to Robbin L. Itkin, Chapter 7 Trustee
                    6

                    7
                                                     UNITED STATES BANKRUPTCY COURT
                    8
                                                      CENTRAL DISTRICT OF CALIFORNIA
                    9
                                                              NORTHERN DIVISION
                   10
                        In re:                                          Case No. 9:17-bk-12045-DS
                   11
                      BIKRAM’S YOGA COLLEGE OF INDIA,                   Chapter 7
                   12 LP,                                               Jointly Administered with:
                                 Debtor.
                   13                                                   9:17-bk-12046-DS
                                                                        9:17-bk-12047-DS
                      In re:                                            9:17-bk-12048-DS
                   14
                      BIKRAM CHOUDHURY YOGA, INC.,                      9:17-bk-12049-DS
                   15
                                 Debtor.                                ORDER GRANTING TRUSTEE’S
                   16                                                   MOTION FOR AN ORDER: (I)
                      In re:                                            APPROVING THE SALE OF CERTAIN
                   17 BIKRAM, INC.,                                     ASSETS OUTSIDE THE ORDINARY
                                                                        COURSE OF BUSINESS FREE AND
                   18                    Debtor.                        CLEAR OF ALL LIENS, CLAIMS,
                                                                        INTERESTS AND ENCUMBRANCES; (II)
                   19 In re:                                            DETERMINING THAT BUYER IS A
                                                                        GOOD FAITH PURCHASER UNDER 11
                   20 YUZ, INC.,                                        U.S.C. § 363(m); AND (III) GRANTING
                                                                        RELATED RELIEF
                                         Debtor.
                   21
                                                                        [11 U.S.C. §§ 105(a), 363; Bankruptcy Rules
                   22 In re:                                            2002, 6004 & 9014; LBRs 6004-1 & 9013-1]
                      INTERNATIONAL TRADING                             _
                   23 REPRESENTATIVE, LLC,                              Date:    February 23, 2022
                                                                        Time:    11:30 a.m.
                   24                    Debtor.                        Place: Courtroom 201
                                                                                 1415 State Street
                   25 ☒ Affects Bikram’s Yoga College of India, LP               Santa Barbara, CA 93101
                      ☒ Affects Bikram Choudhury Yoga, Inc.                      (via Zoom for Government)
                   26 ☒ Affects Bikram, Inc.

                   27   □Affects Yuz, Inc.
                   28 ☒ Affects Int’l Trading Representative, LLC
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                    1            A hearing was held at the above time and place on the Motion for an Order: (I) Approving the

                    2 Sale of Certain Assets Outside the Ordinary Course of Business Free and Clear of All Liens, Claims,

                    3 Interests and Encumbrances; (II) For a Determination of Good Faith Purchaser Under 11 U.S.C. §

                    4 363(m); And (III) Granting Related Relief (the Motion, Docket No. ____)1 filed by Robbin L. Itkin,

                    5 the chapter 7 trustee (the Trustee). Appearances were noted on the record.

                    6            The court has reviewed and considered the Motion, the record in these cases, and the

                    7 statements of counsel on the record at the hearing, and further finding that notice of the hearing on the

                    8 Motion served on all parties entitled thereto was appropriate, timely and proper under the

                    9 circumstances, and no other notice need be given in accordance with the Bankruptcy Code § 363(b),

                   10 Bankruptcy Rules 2002, 6004, 9007, and 9014, and LBRs 6004-1 and 9013-1. A reasonable

                   11 opportunity to object or to be heard regarding the relief requested in the Motion has been afforded to

                   12 all interested persons and entities. For the reasons stated on the record, and good cause appearing,

                   13            IT IS HEREBY ORDERED that:

                   14            1.      The Motion is granted.

                   15            2.      The APA, a copy of which is attached to the Motion as Exhibit B, is approved.

                   16            3.      Trustee is authorized to sell the Assets, all of which are further identified in the APA,
                   17 to Buyer on an “as-is, where-is” basis, with no representations or warranties whatsoever and without

                   18 contingency on the terms as set forth in the APA.

                   19            4.      Trustee is authorized to amend Exhibit 2.1(b)(ii) of the APA, in her sole discretion, at
                   20 or prior to Closing to add adversary proceeding no. 9:19-ap-01070-DS filed against Monica

                   21 Shigenaga, CocoJor Hawaii, LLC and Jadoo, LLC, so that such adversary action is not part of the

                   22 Assets being sold to Buyer at Closing.

                   23            5.      Pursuant to 11 U.S.C. § 363(f), the sale of the Assets to the Buyer will be free and clear
                   24 of any liens, claims, liabilities, encumbrances, and interests in, of, on or against the Assets.

                   25            6.      In the event Seller inadvertently turns over any Documents in storage that contain
                   26 personal or confidential information of any employee or other person affiliated with the Bikram Yoga

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                        1
SKLAR KIRSH, LLP
                            Terms used but not defined herein have the meaning given to them in the Motion.
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                    1 facilities and program to Buyer, Buyer agrees not to utilize or disclose such information to any third-

                    2 parties and to destroy such information upon its discovery.

                    3            7.      Upon consummation of the transactions contemplated in the APA, Seller, the Selling

                    4 Debtors and their Estates shall be allowed to continue to use the name or marks included in the Assets

                    5 transferred pursuant the APA, or any derivatives thereof, as needed, to fully administer the bankruptcy

                    6 Estates.

                    7            8.      Trustee is authorized to take any and all actions necessary or appropriate to effectuate

                    8 the transactions and consummation of the Sale contemplated by the Motion and the APA.

                    9            9.      The omission to include any particular provision of the APA in this order will not

                   10 diminish or impair the effectiveness of such provision, it being the intent of the court that the APA be

                   11 authorized and approved in its entirety.

                   12            10.     Trustee is authorized, at closing or as soon as practicable thereafter, to make payments

                   13 from the sale proceeds received at closing for the Sale Costs identified on Exhibit D to the Motion

                   14 and the Settlement Payments to AmEx and Bodden as described in the Motion (including establishing

                   15 a reserve for proceeds received on account of the BYCOI IP Assets as described in the Motion pending

                   16 resolution of Starke’s disputed lien).

                   17            11.     At closing, Trustee is authorized to pay Hilco IP Services, LLC d/b/a Hilco Streambank
                   18 a commission equal to $55,000 (calculated in accordance with its engagement agreement as ([10% x

                   19 $400,000 = $40,000] plus [5% x $300,000 = $15,000]) and reimbursable out-of-pocket expenses equal

                   20 to $5,000 (consistent with its engagement agreement and consisting of the costs set forth in the

                   21 Declaration of Richelle Kalnit attached to the Motion) in accordance with the Order Approving

                   22 Application to Employ Hilco IP Services, LLC d/b/a Hilco Streambank as Consultant and Sales Agent

                   23 for Debtors’ Intellectual Property Rights and Estate Claims (Docket No. 548).

                   24            12.     The court finds that Buyer is a good faith purchaser for value and, as such, will be
                   25 entitled to all of the protections afforded under Bankruptcy Code § 363(m) following Closing.

                   26            13.     In the event that Buyer materially breaches the APA or fails to close the sale by March
                   27 11, 2022 through no fault of Trustee, Buyer will forfeit its deposit as liquidated damages.

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                    1            14.     Notwithstanding the possible applicability of Bankruptcy Rule 6004(h), this order will

                    2 be immediately effective and enforceable upon its entry.

                    3            15.     The court retains jurisdiction with respect to all matters arising from or related to the

                    4 interpretation or implementation of this order.

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 1                                        EXHIBIT B

 2
                                ASSET PURCHASE AGREEMENT
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                             ASSET PURCHASE AGREEMENT

        THIS ASSET PURCHASE AGREEMENT (this “APA”) is entered into as of February 11,
2022 (the “Execution Date”), by and between Bikram’s Yoga College of India, LP, Bikram, Inc.
International Trading Representative, LLC and Bikram Choudhury Yoga, Inc. (collectively, the
“Selling Debtors”), by and through Robbin L. Itkin, Chapter 7 Trustee (“Seller”), solely in her role
as chapter 7 trustee for the jointly administered bankruptcy estates (“Estates”) of the Selling
Debtors and debtor Yuz, Inc., and Dr. Kali P. Chaudhuri, an individual, or his designee (“Buyer”).

                                           RECITALS

       A.      The following entities (collectively, the “Debtors”) commenced their respective
voluntary bankruptcy cases (the “Bankruptcy Cases”) in the United States Bankruptcy Court for
the Central District of California (the “Court”) under chapter 11 of the United States Bankruptcy
Code, 11 U.S.C. 101 et seq. (the “Bankruptcy Code”) on November 9, 2017 (“Petition Date”)
under the following case number designations: Bikram’s Yoga College of India, LP (17-bk-12045
DS); Bikram, Inc. (17- bk-12047 DS); Yuz, Inc. (17-bk-12048 DS); International Trading
Representative, LLC (17-bk-12049 DS); and Bikram Choudhury Yoga, Inc. (17-bk-12046 DS).
The Bankruptcy Cases are administered jointly pursuant to the Court’s order of November 17,
2017 under the lead case 9:17-bk-12045 DS. [Dkt. No. 11]

        B.     Pursuant to the order entered on March 23, 2018, the Court ordered the appointment
of a chapter 11 trustee and on April 4, 2018, the United States Trustee appointed Seller to serve as
the chapter 11 trustee for the Estates. [Dkt. Nos. 107 & 108] On September 28, 2020, the Court
entered an order converting the chapter 11 case to one under chapter 7. [Dkt. No. 436] The United
States Trustee appointed the Seller as the chapter 7 trustee on October 1, 2020. [Dkt. No. 441]

        C.     Pursuant to the Bid Procedures Order (defined below), the Buyer submitted a bid
by the bid deadline of February 8, 2022. The Buyer’s bid was considered a qualified bid and at
the auction held on February 10, 2022, the Buyer was selected as the successful bidder on the terms
provided for in this APA.

       D.      Seller has agreed to sell and Buyer has agreed to purchase the Assets (defined
below) in accordance with the terms and conditions of this APA, and subject to the Bid Procedures
Order (as defined below), as well as pursuant to an order of the Court under § 363 of the
Bankruptcy Code approving the APA and the transactions contemplated herein (the “Sale
Order”).

        NOW, THEREFORE, in consideration of Purchase Price (defined below) and the mutual
covenants and agreements of each party to the other hereinafter set forth, the adequacy and
sufficiency of which are hereby acknowledged, the parties do hereby mutually covenant and agree
as follows:




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                                            ARTICLE I

                                        DEFINED TERMS

       The following terms shall have the meanings ascribed to them below when used in this
APA:

       1.1    Bid Procedures Order: The order entered by the Court approving, inter alia, the
bidding procedures and auction process for the Assets, entered in Debtors’ lead bankruptcy case
as Docket No. 570.

       1.2     Closing: The consummation of the transaction contemplated hereby.

        1.3    Deposit: An amount equal to ten percent (10%) of the Purchase Price payable in
readily available funds in United States currency.

                                            ARTICLE II

                   PURCHASE AND SALE; PURCHASE PRICE; DEPOSIT

        2.1      Assets. Subject to the terms and conditions herein contained, Seller agrees to sell,
transfer, assign and deliver to Buyer, and Buyer agrees to purchase and accept from Seller on the
Closing Date (as hereinafter defined) free and clear of all claims, liens, interests and encumbrances,
all of Seller’s and any and all of applicable Selling Debtors’ right, title and interest in and to the
following assets (collectively, the “Assets”):

               (a)     the trademarks, domain names and copyrights identified and set forth in
       Exhibit 2.1(a) (collectively, the “IP”), including, to the extent applicable, any related
       service marks, tradenames, brand names, logos, trade dress and other similar designations
       of source or origin, registrations, applications, and/or common law rights for the IP,
       together with passwords and all of the goodwill of the applicable Selling Debtors’
       businesses symbolized by or associated with the IP, any contracts related to such IP, and
       any and all income, royalties, damages and payments now or hereafter due and/or payable
       with respect thereto including without limitation, damages and payments for past, present
       or future infringements;

                (b)    each of the adversary actions pending in the Court identified on Exhibit
       2.1(b)(i) (collectively, the “Adversary Actions”); provided, however, that the Assets shall
       not include any rights, claims or other interests in the adversary actions identified on
       Exhibit 2.1(b)(ii) (the “Excluded Adversary Actions”), which Exhibit 2.1(b)(ii) may be
       amended and modified by Seller, in her sole discretion, at or prior to Closing to add the
       Adversary Proceeding No. 9:10-ap-01070-DS filed against Monica Shigenaga and other
       affiliated defendants; and




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               (c)     all of the Debtors’ books and records, documents and other files being held
       in storage related to the Assets (the “Documents”), for which Buyer shall be solely
       responsible for any and all storage costs after Closing and for the removal or disposal of
       such Documents, at Buyer’s sole cost and expense, and Seller shall have no further liability
       with respect thereto on and after Closing. Notwithstanding the foregoing, if, after the
       Closing, Buyer discovers any books, records, documents and other files being held in
       storage that do not relate to the Assets (the “Other Documents”), Buyer shall immediately
       notify the Seller and arrange for the prompt return of such Other Documents, or at the
       Trustee’s direction, the prompt destruction of the Other Documents, all at the Buyer’s sole
       cost and expense. In the event Seller inadvertently turns over any Documents in storage
       that contain personal or confidential information of any employee or other person affiliated
       with the Bikram Yoga facilities and program to Buyer, Buyer agrees not to utilize or
       disclose such information to any third-parties and to destroy such information upon its
       discovery.

        2.2    Purchase Price. The purchase price for the Assets shall be payable in cash or other
readily available funds by Buyer to Seller at Closing in the aggregate amount of Seven Hundred
Thousand Dollars ($700,000.00) (the "Purchase Price"). The Purchase Price shall be paid by
Buyer to Seller at the Closing by wire transfer of immediately available funds to the account or
accounts designated in writing by Seller. Buyer’s allocation of the Purchase Price is set forth on
Exhibit 2.2.

        2.3    Deposit. On or before the Execution Date, Buyer shall deposit with the Seller the
Deposit by wire transfer of immediately available funds to the account or accounts designated in
writing by Seller. Upon Closing, the Deposit shall be applied against the Purchase Price, or, if the
transaction contemplated hereby is not consummated, delivered to Seller or Buyer as provided
herein.

        2.4    Free and Clear. Except with respect to obligations and liabilities relating to and
arising on and after the Closing, Buyer is not assuming any liability, debt or obligations of Seller,
Selling Debtors, or their bankruptcy Estates attributable to the Assets prior to Closing, and Buyer
shall have no obligation or responsibility therefor. All of the Assets being sold hereunder shall be
sold and assigned by Seller to Buyer free and clear of all liens and interests, in accordance with 11
U.S.C. § 363(f).

                                           ARTICLE III

                                      COURT APPROVAL

       3.1      Court Approval Required. Buyer acknowledges that the sale of the Assets may be
made, at the Seller’s discretion and exercising her business judgment, as a private sale or subject
to overbid at auction in accordance with the Bid Procedures Order and agrees to be bound by the
terms and conditions of the Bid Procedures Order. Buyer further acknowledges and agrees that
this APA is subject to the approval of the Court, the hearing on which shall be in accordance with
the Bid Procedures Order. In the event that Seller accepts this APA, the Parties will in good faith
exercise all reasonable efforts required to obtain the entry of the Sale Order, including executing



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and delivering any motions, declarations or other items of support reasonably required in
connection therewith.

        3.2    Effect of Non-Approval. In the event that the Seller does not accept this APA
and/or the Court does not approve this APA, this APA shall be deemed null and void and of no
further force and effect, and the Seller shall return the Deposit to Buyer within ten (10) business
days following Seller’s rejection of, or the Court’s denial of a motion to approve, the APA.

       3.3     Backup Bidder. In the event that Buyer is designated as the “Backup Bidder” in
accordance with and as defined in the Bid Procedures Order, Buyer agrees that it will keep the
Backup Bid (as defined in the Bid Procedures Order) open and irrevocable until the earlier of 5:00
p.m. (prevailing Pacific Time) on the date that is thirty (30) days after the date of entry of the Sale
Order or the closing of a sale transaction of the Assets with another buyer.

       3.4    Bid Procedures Order. Buyer agrees to comply with and be bound by the terms of
the Bid Procedures Order.

                                            ARTICLE IV

          WAIVER OF CONTINGENCIES, CLOSING; CONDITIONS PRECEDENT

       4.1     Waiver of Contingencies. Buyer’s due diligence has been completed prior to
Buyer’s execution of this APA, and Buyer hereby waives any and all contingencies to
consummation of the transactions contemplated herein, including, without limitation, all due
diligence and financing contingencies. Buyer expressly disclaims, and this transaction shall not
be conditioned on, any right of Buyer to receive a fee analogous to a break-up fee, expense
reimbursement, termination fee, or any other similar form of compensation, unless expressly
agreed to by Seller in writing in accordance with the Bid Procedures Order.

        4.2    Closing. Provided that this APA has not been terminated, the Closing shall occur
on or before two (2) business days following the date on which all the closing conditions set forth
in Sections 4.3 and 4.4 of this APA have been satisfied, but in any event, by no later than March
11, 2022 or a later date agreed upon in writing by the Parties. The date on which this Closing
occurs shall be the “Closing Date.” The Closing shall occur at the offices of Sklar Kirsh, LLP,
1880 Century Park East, Ste. 300, Los Angeles, California 90067, or such other place or other
method, including electronically, as may be determined by Seller, with notice to Buyer at least one
(1) business day prior to Closing.

        4.3    Closing Conditions of Buyer. The obligation of Buyer to consummate the
transactions contemplated hereunder is subject to the satisfaction or written waiver of each of the
following conditions precedent (except that the condition in Section 4.3(b) cannot be waived):

               (a)     Seller shall not be in default under this APA in any material respect.

              (b)      The Court shall have entered the Sale Order, which shall be final and non-
       appealable.



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               (c)     Seller shall have delivered the Seller’s Deliverables to Buyer.

       4.4    Closing Conditions of Seller. The obligation of Seller to consummate the
conveyance of the Assets hereunder is subject to the satisfaction or written waiver of each of the
following conditions precedent (except that the condition in Section 4.4(c) cannot be waived):

               (a)     Buyer’s representations and warranties contained herein shall be true and
       correct in all material respects as of the Closing Date and any qualification as to Buyer’s
       knowledge shall not apply for purposes of this Section.

               (b)     Buyer shall not be in default under this APA in any material respect.

              (c)      The Court shall have entered the Sale Order, which shall be final and non-
       appealable.

               (d)     Buyer shall have delivered Buyer’s Deliverables to Seller.

        4.5     Post-Closing Use.       Buyer hereby acknowledges and agrees that upon
consummation of the transactions contemplated hereby, Seller, the Selling Debtors and their
Estates shall be allowed to continue to use the name or marks included in the Assets transferred
pursuant to this APA, or any derivatives thereof, as needed, to fully administer the Estates.

                                           ARTICLE V

                                         TERMINATION

        5.1     Termination. This APA may be terminated at any time prior to Closing by (i)
mutual written consent of Buyer and Seller; (ii) Seller or Buyer, in the event of material breach by
the other that has not been cured within five (5) days of receipt of written notice thereof or not
waived by the non-breaching party; (iii) by Seller, if the Closing does not occur on or before March
11, 2022 (or a later date agreed upon in writing by the Parties) through no fault of Seller; or (iv)
Seller or Buyer if there is any law, regulation or court order that makes consummation of the
transactions illegal or otherwise prohibited, including the Court’s refusal to enter the Sale Order.
In the event of termination, written notice thereof shall forthwith be given to the other party and
this APA shall terminate without further action by Buyer or Seller.

        5.2     Effect of Termination. If this APA is terminated pursuant to Section 5.1, this APA
shall terminate and be of no further force or effect (with the exception of those provisions that
expressly survive termination), the Deposit shall be paid to Buyer (except where termination is a
result of a material breach by Buyer pursuant to Section 5.1(ii) or the Closing fails to occur as per
Section 5.1(iii)), and each party shall pay the costs and expenses incurred by it in connection with
this APA; provided, however, that in the event this APA is terminated as result of a material breach
by Buyer pursuant to Section 5.1(ii), pursuant to Section 5.1(iii), or in accordance with Section
5.3, the Deposit shall be paid to Seller.




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        5.3    Liquidated Damages. If Buyer fails to complete this purchase because of Buyer’s
default or breach of this APA, including the failure to close on or before March 11, 2022 or a later
date agreed upon in writing by the Parties (through no fault of Seller), Seller shall retain, as
liquidated damages, the Deposit actually paid. SELLER AND BUYER AGREE THAT IT
WOULD BE IMPRACTICAL AND EXTREMELY DIFFICULT TO ESTIMATE THE
DAMAGES WHICH SELLER MAY SUFFER UPON A BUYER DEFAULT AND THAT
THE DEPOSIT AND ANY INTEREST EARNED THEREON, AS THE CASE MAY BE,
REPRESENTS A REASONABLE ESTIMATE OF THE TOTAL NET DETRIMENT
THAT SELLER WOULD SUFFER UPON A BUYER DEFAULT. SUCH LIQUIDATED
AND AGREED DAMAGES ARE NOT INTENDED AS A FORFEITURE OR A PENALTY
WITHIN THE MEANING OF APPLICABLE LAW, BUT ARE INTENDED TO
CONSTITUTE LIQUIDATED DAMAGES TO SELLER PURSUANT TO CALIFORNIA
CIVIL CODE SECTIONS 1671, 1676, AND 1677. BY PLACING ITS INITIALS BELOW,
EACH PARTY SPECIFICALLY CONFIRMS THE ACCURACY OF THE STATEMENTS
MADE ABOVE AND THE FACT THAT EACH PARTY WAS REPRESENTED BY
LEGAL COUNSEL WHO EXPLAINED, AT THE TIME THIS APA WAS MADE, THE
MEANING, THE EFFECT, AND THE CONSEQUENCES OF THIS LIQUIDATED
DAMAGES PROVISION.

       Buyer’s Initials: ______ Seller’s Initials: ______

                                          ARTICLE VI

                          REPRESENTATIONS AND WARRANTIES

       6.1     As-Is, Where-Is.

     (a)   IT IS UNDERSTOOD AND AGREED THAT SELLER (INCLUDING ANY OF
SELLER’S PROFESSIONALS) IS NOT MAKING AND HAS NOT AT ANY TIME MADE
ANY WARRANTIES OR REPRESENTATIONS OF ANY KIND OR CHARACTER, EXPRESS
OR IMPLIED, AT LAW OR IN EQUITY, WITH RESPECT TO THE ASSETS, INCLUDING
BUT NOT LIMITED TO ANY WARRANTIES OR REPRESENTATIONS AS TO: (I)
MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE; (II) THE
EXISTENCE, VALIDITY OR COMPLETENESS OF ANY OF THE IP ASSETS, THE
STRENGTH OF THE ESTATES’ CLAIMS OR THE RECOVERIES UNDER THE
ADVERSARY ACTIONS; OR (III) OPERATING HISTORY OR PROJECTIONS,
VALUATION, RECOVERIES, GOVERNMENTAL APPROVALS, THE COMPLIANCE OF
THE ASSETS WITH GOVERNMENTAL OR OTHER APPLICABLE LAWS, THE TRUTH,
ACCURACY, OR COMPLETENESS OF ANY DOCUMENT RELATED TO THE ASSETS,
OR ANY OTHER INFORMATION PROVIDED BY OR ON BEHALF OF SELLER TO
BUYER, OR ANY OTHER MATTER OR THING REGARDING THE ASSETS. NONE OF
DOCUMENTS OR MATERIALS PROVIDED TO BUYER IN CONNECTION WITH THE
SALE TRANSACTION CONSTITUTE AN OPINION WITH RESPECT TO THE NATURE,
EXTENT, OR VALIDITY OF SUCH IP ASSETS OR CLAIMS.




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      (b)  BUYER ACKNOWLEDGES AND AGREES THAT UPON CLOSING SELLER
SHALL SELL AND CONVEY TO BUYER AND BUYER SHALL ACCEPT THE ASSETS “AS
IS, WHERE IS, WITH ALL FAULTS.” BUYER HAS NOT RELIED AND WILL NOT RELY
ON, AND NEITHER SELLER NOR THE DEBTORS ARE LIABLE FOR OR BOUND BY,
ANY EXPRESS OR IMPLIED WARRANTIES, GUARANTEES, STATEMENTS,
REPRESENTATION OR INFORMATION PERTAINING TO THE ASSETS OR RELATING
THERETO MADE OR FURNISHED BY SELLER OR ITS REPRESENTATIVES, TO
WHOMEVER MADE OR GIVEN, DIRECTLY OR INDIRECTLY, ORALLY OR IN
WRITING, EXCEPT AS EXPRESSLY STATED HEREIN.              BUYER ALSO
ACKNOWLEDGES THAT THE PURCHASE PRICE REFLECTS AND TAKES INTO
ACCOUNT THAT THE ASSETS ARE BEING SOLD “AS IS, WHERE IS, WITH ALL
FAULTS.”

     (c)    BUYER ACKNOWLEDGES TO SELLER THAT BUYER HAD AN
OPPORTUNITY PRIOR TO EXECUTING THIS APA TO CONDUCT SUCH DUE
DILIGENCE, INSPECTIONS AND INVESTIGATIONS OF THE ASSETS AS BUYER DEEMS
NECESSARY OR DESIRABLE TO SATISFY ITSELF AS TO THE ASSETS AND ITS
ACQUISITION THEREOF, AND THAT BUYER DID NOT RELY ON ANY OF SELLER’S
OR ANY OF HER PROFESSIONALS’ WRITTEN OR ORAL STATEMENTS,
REPRESENTATIONS, PROMISES, WARRANTIES, OR GUARANTIES WHATSOEVER,
WHETHER EXPRESS OR IMPLIED, BY OPERATION OF LAW OR OTHERWISE,
REGARDING THE ASSETS, THE DEBTORS’ BUSINESSES OR THE COMPLETENESS OF
ANY INFORMATION PROVIDED IN CONNECTION THEREWITH. BUYER HEREBY
ASSUMES THE RISK THAT ADVERSE MATTERS MAY NOT HAVE BEEN REVEALED
BY BUYER’S REVIEW AND INSPECTIONS AND INVESTIGATIONS, AND SELLER AND
HER PROFESSIONALS SHALL HAVE NO LIABILITY WHATSOEVER TO BUYER, ITS
RELATED ENTITIES OR ANY OTHER PARTY FOR CLAIMS ARISING FROM, OR
RELATED TO, THE DUE DILIGENCE DOCUMENTS AND MATERIALS PROVIDED.

        6.2    Buyer’s Representations. Buyer hereby represents that Buyer has the power,
authority, and ability to carry out the obligations assumed and promised hereunder. Without
limiting the foregoing, Buyer specifically represents that Buyer has sufficient liquid funds to
consummate the purchase of the Assets and to perform Buyer’s obligations under this APA.

                                        ARTICLE VII

                    CLOSING DOCUMENTS; CLOSING STATEMENT

        7.1     Buyer’s Deliverables at Closing. On or before the Closing Date, Buyer shall
deliver: (a) the balance of the Purchase Price to Seller and (b) all other documents reasonably
necessary to consummate the transactions contemplated by this APA (collectively, “Buyer’s
Deliverables”).




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       7.2     Seller’s Deliverables at Closing. On or before the Closing Date, Seller shall deliver
to Buyer (collectively, the “Seller's Deliverables”): (a) one or more assignment agreements, in
form and substance reasonably agreed to by the parties and duly executed by Seller, transferring
to Buyer all of Seller's right, title, and interest in and to the Assets, including an Intellectual
Property Bill of Sale and Assignment Agreement in substantially similar form as Exhibit 7.2; (b)
a copy of the Sale Order entered in the Bankruptcy Cases; and (c) all other documents reasonably
necessary to consummate the transactions contemplated by this APA.

        7.3       Closing Costs and Fees. Buyer and Seller shall each be responsible for their own
legal and professional fees and costs of attorneys and other consultants and agents retained by
them, which costs and fees shall be paid by Seller and Buyer, respectively. Notwithstanding the
foregoing, Buyer shall pay, to the extent applicable: (i) all applicable document recording charges,
if any; (ii) all transfer taxes and other fees, if any, arising from or resulting from the transactions
contemplated hereby; and (iii) all costs and expenses related to the Buyer's investigation, transfer
and assignment of the Assets.

                                           ARTICLE VIII

                                        MISCELLANEOUS

        8.1    Entire Agreement. This APA and the schedules and exhibits attached hereto
embody the entire agreement between the parties in connection with this transaction and there are
no oral or parole agreements existing between the parties relating to this transaction which are not
expressly set forth herein and covered hereby. This APA may not be modified except in writing
signed by Seller and Buyer.

        8.2     No Waiver. Failure of either party to complain of any act or omission on the part
of the other party, no matter how long the same may continue, shall not be deemed to be a waiver
by such party to any of its rights hereunder. No waiver by any party at any time, expressed or
implied, of any breach of any provision of this APA shall be deemed a waiver or a breach of any
other provision of this APA or a consent to any subsequent breach of the same or any other
provision. If any action by any party shall require the consent or approval of another party, such
consent or approval of such action on any one occasion shall not be deemed a consent to or
approval of said action on any subsequent occasion or a consent to or approval of any action on
the same or any subsequent occasion.

       8.3      Captions. The captions, section numbers and article numbers appearing in this
APA are inserted only as a matter of convenience, and do not define, limit, construe or describe
the scope or intent of such sections or articles of this APA nor in any way affect this APA.

        8.4     No Third-Party Beneficiaries. No party other than Seller and Buyer and their
successors and assigns, shall have any rights to enforce or rely upon this APA, which is binding
upon and made solely for the benefit of Seller and Buyer and their successors and assigns, and not
for the benefit of any other party.




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         8.5    Notices. All notices provided for or permitted to be given pursuant to this APA
must be in writing. All notices to be sent hereunder shall be deemed to have been properly given
or served: if hand delivered by courier, in hand when received; if mailed, on the third business day
following the date upon which the same is deposited in the United States mail, addressed to the
recipient of the notice, certified with return receipt requested; if by telecopy, on the date sent (or
the next business day after the date of transmission if the transmission day is not a business day)
provided that the facsimile was properly addressed and disclosed the number of pages transmitted
on its front sheet and that the transmission report produced indicates that each of the pages of the
telecopy was received at the correct telecopy number; if by electronic mail, on the date sent (or the
next business day after the date of transmission if the transmission day is not a business day)
provided that the electronic mail was properly addressed and that a duplicate notice was forwarded
via nationally recognized overnight courier guarantying next day delivery; and, if by nationally
recognized overnight courier guarantying overnight delivery, on the business day following the
day such notice was deposited with such a courier, so long as the day of deposit was on a service
day of such courier and prior to the last pick up for such day.

       If to Seller:                           SKLAR KIRSH, LLP
                                               1880 Century Park East, Ste. 300
                                               Los Angeles, California 90067
                                               Facsimile: (310) 929-4469
                                               Attn: Lovee Sarenas, Esq.
                                               Email: lsarenas@sklarkirsh.com


       With a copy to:                         SKLAR KIRSH, LLP
                                               1880 Century Park East, Ste. 300
                                               Los Angeles, California 90067
                                               Facsimile: (310) 929-4469
                                               Attn: Robbin L. Itkin, as Trustee
                                               Email: ritkin@sklarkirsh.com

       If to Buyer:                            SHULMAN BASTIAN FRIEDMAN & BUI LLP
                                               100 Spectrum Center Drive, Suite 600
                                               Irvine, California 92618
                                               Facsimile: (949) 340-3000
                                               Attn: Leonard M. Shulman, Esq.
                                               Email: lshulman@shulmanbastian.com

        8.6     Governing Law and Jurisdiction. This APA and the rights and obligations of the
parties hereunder shall be construed, interpreted and enforced in accordance with the laws of the
State of California. The parties consent to the exclusive jurisdiction of, and venue in, the Court,
for the purpose of resolving any claim, controversy or disagreement which may arise among the
parties with regard to this APA and waive any objection that they may now or hereafter have to
the laying of venue in such forum and agree not to plead or claim that any action in such forum
would be inconvenient; provided, however, that: (a) if the Court declines to exercise such
jurisdiction, then the courts of the State of California will have such jurisdiction; and (b) nothing



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in this Section will constitute a waiver by any party of the right to appeal any decision or action of
the Court or any such state court. THE PARTIES HEREBY WAIVE TRIAL BY JURY IN ANY
ACTION, PROCEEDING, OR CLAIM BROUGHT IN CONNECTION WITH THIS APA.

        8.7    Counterparts and Electronic Delivery. This APA may be executed in any number
of counterparts, each of which, when taken together, shall be deemed to be one and the same
instrument. Executed copies of this APA may be delivered between the parties via telecopy or
electronic mail.

        8.8     Brokers. Buyer represents and warrants to Seller that it dealt with no broker in
connection with, nor has any broker had any part in bringing about, this transaction. Buyer shall
indemnify, defend, and hold harmless the Seller from and against any claim of any broker, or any
other person for any brokerage commissions, finder's fees, or other compensation in connection
with this transaction if such claim is based in whole or in part by, through or on account of, any
acts of Buyer or its agents, employees, or representatives and from all losses, liabilities, costs, and
expenses in connection with such claim, including without limitation, reasonable attorneys' fees,
court costs, and interest. The provisions of this Section shall survive the Closing, or the termination
of this APA prior to the Closing.

        8.9    Severability. If any term or provision of this APA is invalid, illegal, or
unenforceable in any jurisdiction, such invalidity, illegality, or unenforceability shall not affect,
invalidate, or render unenforceable any other term or provision of this APA. Upon such
determination that any term or other provision is invalid, illegal, or unenforceable, the parties
hereto shall negotiate in good faith to modify this APA so as to effect the original intent of the
parties as closely as possible in a mutually acceptable manner in order that the transactions
contemplated by this APA be consummated as originally contemplated to the greatest extent
possible.

        8.10 Further Assurances. Each of the parties hereto shall execute and deliver such
additional documents, instruments, conveyances, and assurances and take such further actions as
may be reasonably required to carry out the provisions of this APA and give effect to the
transactions contemplated hereby, provided such documents are customarily delivered such
transactions in the State of California and do not impose any material cost or obligation upon any
party hereunder except as set forth in this APA.

       8.11 Time Is Of The Essence. Seller and Buyer acknowledge and agree that TIME IS
OF THE ESSENCE with respect to each and every term, condition, obligation, and provision
hereof and that failure to timely perform any of the terms, conditions, obligations, or provisions
hereof by either party shall constitute a material breach of the APA by the party so failing to
perform.

       8.12 Business Days. Wherever in this APA a time period shall end on a day which is a
Saturday, Sunday or legal holiday, said time period shall automatically extend to the next date
which is not a Saturday, Sunday or legal holiday.




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        8.13 Advice of Counsel. Buyer and Seller represent and warrant that they each acted
pursuant to the advice of independent legal counsel of their own choosing in connection with the
negotiation, preparation and execution of this APA, or that they were advised to obtain the advice
of such legal counsel, had ample opportunity to obtain the advice of such legal counsel, and
willfully declined to obtain the advice of such legal counsel.

       IN WITNESS WHEREOF, the parties hereto have executed this APA.


                                     SELLER:




                                     ___________________________________
                                     ROBBIN L. ITKIN
                                     Solely in her capacity as Chapter 7 Trustee for the Debtors’
                                     Estates



                                     BUYER:



                                     _______________________________________
                                     DR. KALI P. CHAUDHURI




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Exhibit List

2.1(a)         Schedule of IP
2.1(b)(i)      Schedule of Adversary Actions
2.1(b)(ii)     Schedule of Excluded Adversary Actions
2.2            Buyer’s Allocation of Purchase Price
7.2            Form of Intellectual Property Bill of Sale and Assignment Agreement




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                                         EXHIBIT 2.1(a)

                                                 IP

 Trademarks:

Debtor                 Trademark             Application No.     Registration No.     Registration
                                                                                      Date
Bikram Choudhury       BIKRAM YOGA           79-401481           HI 4147206           27-Jul-2015
Yoga, Inc.             HAWAII
Bikram Choudhury       BIKRAM YOGA-          79-401482           HI 4147207           27-Jul-2015
Yoga, Inc.             EAST OAHU
Bikram Choudhury       BIKRAM YOGA-          79-401480           HI 4147205           27-Jul-2015
Yoga, Inc.             HAWAII KAI
International          BIKRAM                85/406940           4236199              06-Nov-2012
Trading
Representative, LLC
International          BIKRAM YOGA           86/212110           4613771              30-Sep-2014
Trading
Representative, LLC
International          BIKRAM'S              76/378922           2829135              06-Apr-2004
Trading                BEGINNING
Representative, LLC    YOGA CLASS
International          Design of Man         76/975275           2775407              21-Oct-2003
Trading
Representative, LLC


 Domain Names:

 Domain Name            Creation Date         Last Known             Registrant(s)
                                              Registrar
 bikraminc.com          4/15/2021             Epik, Inc.             Bikram, Inc.
 bikramyoga.com         5/21/1996             ZNet Technologies      Bikram Yoga1
                        Updated on            Pvt Ltd.
                        12/19/2016
 purebikramyoga.net     4/15/2021             Epik, Inc.             Bikram’s Yoga College of
                                                                     India, LP



 1
   The non-debtor entity “Bikram Yoga” is the last known registrant of the domain name “Bikram
 Yoga” that is a trademark owned by the Debtor ITR. Seller is selling any right to, claim, title or
 interest in the domain name that the ITR Estate may have to the extent such right, claim, title and
 interest exist, including, without limitation, whatever rights ITR may have in a UDRP action to
 gain control over the domain.
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    Copyrights:

Debtor                       Copyright Description/                        Registration Date
                             Registration No.
Bikram’s Yoga College of     Bikram Yoga dialogue which was originally
India, LP                    copyrighted in 1979 NUMBER EOR 599 and
                             supplemented in 2002 EOR 631-33 and EOR
                             212.12
International Trading        “Bikram’s Beginning Yoga Class” (Registration 1979-01-17
Representative, LLC          No. TX179160)

                             Supplemented by Reg. No. TX5624003
International Trading        “Bikram’s Beginning Yoga Class”                   2000-09-01
Representative, LLC          (Registration No. TX5259325)
International Trading        “Bikram’s Yoga College of India Beginning         2002-03-04
Representative, LLC          Yoga Dialog”
                             (Registration No. TXu1022657)
International Trading        “Bikram’s Yoga College of India: Yoga             2002-03-25
Representative, LLC          Teacher Training Course: Curriculum Outline”
                             (Registration No. TXu934417)
International Trading        “Bikram’s Beginning Yoga Class”                   2002-04-18
Representative, LLC          (Registration No. TX5499662
International Trading        “Bikram’s Advanced Yoga Class”                    2006-10-25
Representative, LLC          (Registration No. TXu1323218)

International Trading        “Bikram’s Beginning Yoga Class”                   2002-10-24
Representative, LLC          (Registration No. TX5624003)

                             (supplements Reg. No. TX179160)
International Trading        “Bikram Yoga”                                     2007-04-07
Representative, LLC          (Registration No. TX6555860)




    2
      The copyright is listed in Debtor BYCOI’s Schedule B of its bankruptcy petition. Seller cannot
    independently verify the existence of the copyright with the U.S. Copyright Office. Seller is
    selling any right to, title or interest in such copyright that the BYCOI Estate may have to the
    extent such right, title and interest exist.


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                                 EXHIBIT 2.1(b)(i)

                                 Adversary Actions

                  Robbin L. Itkin, Chapter 11 Trustee (Plaintiff)

               Lead Case: In re: Bikram Yoga College of India LP, et al.
                                  (9:17-bk-12045-DS)

                         JUDGE: Hon. Deborah J. Saltzman

         AP No.               Defendants
         9:19-ap-01066-DS     Organizacion Ideal dba PRINCESS MUNDO
                              IMPERIAL HOTEL
         9:19-ap-01067-DS     1) Smana Hotel Al Raffa

                              2) Rajesh Baheti (Hotel Director of Finance)

         9:19-ap-01068-DS     Zen Co., Ltd.

         9:19-ap-01069-DS     1) ELO, an individual

                              2) 3E Eight LLC

                              3) 3E One LLC

                              4) Miami SuperCar Rooms

                              5) Elo Trustees Ltd

         9:19-ap-01070-DS     1) Monica Shigenaga

                              2) CocoJor Hawaii, LLC

                              3) Jadoo, LLC

         9:19-ap-01071-DS     1) Sumanta Bhattachriya,
                                    Director and CEO of BHY
                              2) Bikram HotYoga Co. Ltd.

         9:19-ap-01075-DS     Bikram Choudhury




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                                  EXHIBIT 2.1(b)(ii)

                             Excluded Adversary Actions

                         Robbin L. Itkin, Chapter 11 Trustee
                                      (Plaintiff)

                                      Lead Case
                    In re: Bikram Yoga College of India LP, et al.
                                 (9:17-bk-12045-DS)

                           JUDGE: Hon. Deborah J. Saltzman


9:19-ap-01072-DS        Lajwanti Choudhury
9:19-ap-01073-DS        Anurag Choudhury
9:19-ap-01074-DS        1) Rajashree Choudhury

                        2) The Rajashree Choudhury Family Trust Dated March 1, 2016




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                                     EXHIBIT 2.2

                    BUYER’S ALLOCATION OF PURCHASE PRICE

     Debtor                     Asset Sold                 Buyer’s Allocated
                                                           Purchase Price
     Bikram Choudhury Yoga,     Trademarks Identified in        $100,000.00
     Inc.                       APA
     International Trading      Trademarks, Copyrights          $100,000.00
     Representative, LLC        and Domain Name
                                Identified in APA
     Bikram, Inc.               Domain Name:                    $100,000.00
                                bikraminc.com

     Bikram’s Yoga College of   Domain Name:                     $50,000.00
     India, LP                  purebikramyoga.net
     Bikram’s Yoga College of   Copyright: Bikram Yoga           $50,000.00
     India, LP                  dialogue (originally
                                copyrighted in 1979
                                NUMBER EOR 599 and
                                supplemented in 2002
                                EOR 631-33 and EOR
                                212.1)
     Bikram’s Yoga College of   Adversary Actions               $300,000.00
     India, LP                  Identified in the APA




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                                           EXHIBIT 7.2

             FORM OF INTELLECTUAL PROPERTY BILL OF SALE AND
                         ASSIGNMENT AGREEMENT


THIS INTELLECTUAL PROPERTY BILL OF SALE AND ASSIGNMENT AGREEMENT
(this “Bill of Sale and Assignment”), dated as of [________________], 2022 (the “Effective
Date”), is entered into between Dr. Kali P. Chaudhuri, an individual, or his designee (“Assignee”)
and Robbin L. Itkin, Chapter 7 Trustee, solely in her capacity as Chapter 7 trustee (“Assignor” or
“Trustee”) for the jointly administered bankruptcy estates (“Estates”) of Bikram’s Yoga College
of India, LP, Bikram, Inc. International Trading Representative, LLC and Bikram Choudhury
Yoga, Inc.. Capitalized terms used but not otherwise defined herein shall have the respective
meanings set forth in that certain Asset Purchase Agreement dated as of [_______________], 2022
by and between Assignor and Assignee (“APA”). Hereinafter, Assignor and Assignee, may be
referred to individually as a “Party”, and collectively as the “Parties”.


                                            RECITALS

WHEREAS, pursuant to the APA Assignor has agreed to sell, assign, convey, transfer and deliver
to Assignee, and Assignee has agreed to purchase and acquire from Assignor, certain rights, title,
claims, and interests in and to the intellectual property rights (“IP”) owned by the Estates (as
defined in the APA) and as listed on Schedule A hereto.

WHEREAS, pursuant to the APA, Assignor has agreed to execute this Bill of Sale and
Assignment in order to effectively assign, transfer, and convey to Assignee such assets.

NOW THEREFORE, in consideration of the foregoing and the representations, warranties and
agreements herein set forth, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, Assignor and Assignee, intending to be legally
bound, hereby agree as follows:


1.     Assignment of Intellectual Property Rights. Upon the terms set forth in the APA, Assignor
       hereby sells, conveys, assigns, transfers, delivers and sets over to Assignee and its
       successors and assigns all of the Estates’ right, title, claim, and interest in and to any and
       all of the IP, and including all goodwill associated therewith, to be held and enjoyed by
       Assignee for its own use and benefit and for the use and benefit of its subsidiaries, affiliates,
       successors, assigns, licensees and legal representatives, including all rights to sue for any
       past infringement or unauthorized use of any of the foregoing and to recover all damages
       therefrom for its own use and behalf and for the use and behalf of its successors and assigns
       or other legal representatives as such rights would have been held and enjoyed by Assignor
       had this Bill of Sale and Assignment not been made. In order to enable the use by Assignee
       of the website names and addresses set forth on Schedule A hereto (“Domain Names”),
       Assignor agrees to provide Assignee, on the Effective Date, with any account information
       with which the Domain Names are registered, including any user names and passwords
       relating thereto.

2.     Further Assurances. Assignor and Assignee agree to execute and deliver such other
       assignment agreements and other instruments of conveyance and assignment and will do
       such other acts and things, at the requesting Party’s expense, in each case as that Party may
       reasonably request, as shall be reasonably necessary to vest in Assignee such title to such


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      IP, and to fulfill and discharge each Party’s obligations of conveyance and discharge
      hereunder and under the APA.

3.    Governing Law. This Bill of Sale and Assignment shall be governed by and construed and
      enforced in accordance with the laws of the State of California without giving effect to
      conflict of law provisions thereof.

4.    Purchase Agreement. This Bill of Sale and Assignment is executed and delivered pursuant
      to Section 7.2 of the APA, and is subject to the terms of the APA, and nothing contained
      herein is intended to alter, modify, expand or diminish the terms set forth in the APA.

5.    Counterparts. This Bill of Sale and Assignment may be executed in two or more
      counterparts, each of which shall be deemed an original, but all of which together shall
      constitute one and the same instrument. Copies (including delivery by facsimile, electronic
      mail (PDF) or other electronic transmission or original) of signatures to this Bill of Sale
      and Assignment shall be deemed to be originals and shall be binding to the same extent as
      original signatures.


IN WITNESS WHEREOF, the Parties hereto have executed this Bill of Sale and Assignment as
of the date first written above.

                                            ASSIGNOR:


Dated: _____________, 2022                  ______________________________________
                                            Robbin L. Itkin, solely in her capacity as Chapter 7
                                            Trustee for the bankruptcy estates of Bikram’s
                                            Yoga College of India, LP, Bikram Choudhury
                                            Yoga, Inc., Bikram, Inc., Yuz, Inc. and International
                                            Trading Representative, LLC


                                            ASSIGNEE:


Dated: _____________, 2022                 ______________________________________
                                           Dr. Kali P. Chaudhuri




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 1                                          EXHIBIT C

 2
                         REDLINE VERSION OF ASSET PURCHASE AGREEMENT
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                             ASSET PURCHASE AGREEMENT

        THIS ASSET PURCHASE AGREEMENT (this “APA”) is entered into as of February __,
11, 2022 (the “Execution Date”), by and between Bikram’s Yoga College of India, LP, Bikram,
Inc. International Trading Representative, LLC and Bikram Choudhury Yoga, Inc. (collectively,
the “Selling Debtors”), 1 by and through Robbin L. Itkin, Chapter 7 Trustee (“Seller”), solely in
her role as chapter 7 trustee for the jointly administered bankruptcy estates (“Estates”) of the
Selling Debtors and debtor Yuz, Inc., and [INSERT NAME]Dr. Kali P. Chaudhuri, an individual,
or his designee (“Buyer”).

                                           RECITALS

       A.      The following entities (collectively, the “Debtors”) commenced their respective
voluntary bankruptcy cases (the “Bankruptcy Cases”) in the United States Bankruptcy Court for
the Central District of California (the “Court”) under chapter 11 of the United States Bankruptcy
Code, 11 U.S.C. 101 et seq. (the “Bankruptcy Code”) on November 9, 2017 (“Petition Date”)
under the following case number designations: Bikram’s Yoga College of India, LP (17-bk-12045
DS); Bikram, Inc. (17- bk-12047 DS); Yuz, Inc. (17-bk-12048 DS); International Trading
Representative, LLC (17-bk-12049 DS); and Bikram Choudhury Yoga, Inc. (17-bk-12046 DS).
The Bankruptcy Cases are administered jointly pursuant to the Court’s order of November 17,
2017 under the lead case 9:17-bk-12045 DS. [Dkt. No. 11]

        B.     Pursuant to the order entered on March 23, 2018, the Court ordered the appointment
of a chapter 11 trustee and on April 4, 2018, the United States Trustee appointed Seller to serve as
the chapter 11 trustee for the Estates. [Dkt. Nos. 107 & 108] On September 28, 2020, the Court
entered an order converting the chapter 11 case to one under chapter 7. [Dkt. No. 436] The United
States Trustee appointed the Seller as the chapter 7 trustee on October 1, 2020. [Dkt. No. 441]

        C.     Pursuant to the Bid Procedures Order (defined below), the Buyer submitted a bid
by the bid deadline of February 8, 2022. The Buyer’s bid was considered a qualified bid and at
the auction held on February 10, 2022, the Buyer was selected as the successful bidder on the terms
provided for in this APA.

       CD. Seller has agreed to sell and Buyer has agreed to purchase the Assets (defined
below) in accordance with the terms and conditions of this APA, and subject to the Bid Procedures
Order (as defined below), as well as pursuant to an order of the Court under § 363 of the
Bankruptcy Code approving the APA and the transactions contemplated herein (the “Sale
Order”).

      NOW, THEREFORE, in consideration of Purchase Price (defined below) and the mutual
covenants and agreements of each party to the other hereinafter set forth, the adequacy and


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  [Note to Bidders: Selling Debtors should be limited to only those Debtors that own Assets, so
if Bidder is taking less than all Assets, the definition of Selling Debtors needs to be adjusted
accordingly].
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sufficiency of which are hereby acknowledged, the parties do hereby mutually covenant and agree
as follows:

                                            ARTICLE I

                                        DEFINED TERMS

       The following terms shall have the meanings ascribed to them below when used in this
APA:

       1.1    Bid Procedures Order: The order entered by the Court approving, inter alia, the
bidding procedures and auction process for the Assets, entered in Debtors’ lead bankruptcy case
as Docket No. __.570.

       1.2     Closing: The consummation of the transaction contemplated hereby.

        1.3    Deposit: An amount equal to ten percent (10%) of the Purchase Price payable in
readily available funds in United States currency.

                                            ARTICLE II

                   PURCHASE AND SALE; PURCHASE PRICE; DEPOSIT

        2.1      Assets. Subject to the terms and conditions herein contained, Seller agrees to sell,
transfer, assign and deliver to Buyer, and Buyer agrees to purchase and accept from Seller on the
Closing Date (as hereinafter defined) free and clear of all claims, liens, interests and encumbrances,
all of Seller’s and any and all of applicable Selling Debtors’ right, title and interest in and to the
following assets (collectively, the “Assets”): 2

               (a)    the trademarks, domain names and copyrights identified and set forth in
       Exhibit 2.1(a) (collectively, the “IP”), including, to the extent applicable, any related
       service marks, tradenames, brand names, logos, trade dress and other similar designations
       of source or origin, registrations, applications, and/or common law rights for the IP,
       together with passwords and all of the goodwill of the applicable Selling Debtors’
       businesses symbolized by or associated with the IP, any contracts related to such IP, and
       any and all income, royalties, damages and payments now or hereafter due and/or payable


2
  [Note to Bidders: As drafted, the proposed purchaser is buying all of the Selling Debtors’
remaining Assets. If a bidder proposes to take less than all Assets, Trustee reserves all rights
in evaluating such bid, including whether such bid is the highest and best offer for such Assets
and/or whether such bid is a Qualified Bid, and may reject any bid(s), in the Trustee’s
discretion, to the extent that multiple buyers seek to buy different Assets but portions of some
of the same Assets, and such competing bids cannot be reconciled. A buyer modifying this
APA to purchase less than all of the Assets must amend the APA to clearly identify what
Assets the buyer is purchasing, and what portion, if any, of the Assets are excluded from the
sale transaction.]


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       with respect thereto including without limitation, damages and payments for past, present
       or future infringements;

                (b)    each of the adversary actions pending in the Court identified on Exhibit
       2.1(b)(i) (collectively, the “Adversary Actions”); provided, however, that the Assets shall
       not include any rights, claims or other interests in the adversary actions identified on
       Exhibit 2.1(b)(ii) (the “Excluded Adversary Actions”), which Exhibit 2.1(b)(ii) may be
       amended and modified by Seller, in her sole discretion, at or prior to Closing to add the
       Adversary Proceeding No. 9:10-ap-01070-DS filed against Monica Shigenaga and other
       affiliated defendants; and

                (c)     all of the Debtors’ books and records, documents and other files being held
       in storage related to the Assets (the “Documents”), for which Buyer shall be solely
       responsible for any and all storage costs after Closing and for the removal or disposal of
       such Documents, at Buyer’s sole cost and expense, and Trustee Seller shall have no further
       liability with respect thereto on and after Closing. Notwithstanding the foregoing, if, after
       the Closing, Buyer discovers any books, records, documents and other files being held in
       storage that do not relate to the Assets (the “Other Documents”), Buyer shall immediately
       notify the Seller and arrange for the prompt return of such Other Documents, or at the
       Trustee’s discretion, the prompt destruction of the Other Documents, all at the Buyer’s sole
       cost and expense. In the event Seller inadvertently turns over any Documents in storage
       that contain personal or confidential information of any employee or other person affiliated
       with the Bikram Yoga facilities and program to Buyer, Buyer agrees not to utilize or
       disclose such information to any third-parties and to destroy such information upon its
       discovery. 3

        2.2    Purchase Price. The purchase price for the Assets shall be payable in cash or other
readily available funds by Buyer to Seller at Closing in the aggregate amount of
_________________ Seven Hundred Thousand Dollars ($_______________). ($700,000.00) (the
"Purchase Price"). The Purchase Price shall be paid by Buyer to Seller at the Closing by wire
transfer of immediately available funds to the account or accounts designated in writing by Seller.
Buyer’s allocation of the Purchase Price is set forth on Exhibit 2.2.

        2.3      Deposit. On or before the Execution Date, Buyer shall deposit with the Trustee
Seller the Deposit by wire transfer of immediately available funds to the account or accounts
designated in writing by Seller. Upon Closing, the Deposit shall be applied against the Purchase
Price, or, if the transaction contemplated hereby is not consummated, delivered to Seller or Buyer
as provided herein.

        2.4    Free and Clear. Except with respect to obligations and liabilities relating to and
arising on and after the Closing, Buyer is not assuming any liability, debt or obligations of Seller,


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  [Note to Bidders: To the extent that the bid is not for all Assets, this provision will need to be
modified so that bidder cooperates with other bidders to remove documents relevant to only the
assets they purchase (or for copying any documents that might overlap), and that the costs of
storage, removal and disposal shall be borne by such bidders.]


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Selling Debtors, or their bankruptcy Estates attributable to the Assets prior to Closing, and Buyer
shall have no obligation or responsibility therefor. All of the Assets being sold hereunder shall be
sold and assigned by Seller to Buyer free and clear of all liens and interests, in accordance with 11
U.S.C. § 363(f).

                                            ARTICLE III

                                       COURT APPROVAL

       3.1      Court Approval Required. Buyer acknowledges that the sale of the Assets may be
made, at the Seller’s discretion and exercising her business judgment, as a private sale or subject
to overbid at auction in accordance with the Bid Procedures Order and agrees to be bound by the
terms and conditions of the Bid Procedures Order. Buyer further acknowledges and agrees to that
this APA is subject to the approval of the Court, the hearing on which shall be in accordance with
the Bid Procedures Order. In the event that Seller accepts this APA, the Parties will in good faith
exercise all reasonable efforts required to obtain the entry of the Sale Order, including executing
and delivering any motions, declarations or other items of support reasonably required in
connection therewith.

        3.2    Effect of Non-Approval. In the event that the Trustee Seller does not accept this
APA and/or the Court does not approve this APA, this APA shall be deemed null and void and of
no further force and effect, and the Trustee Seller shall return the Deposit to Buyer within ten (10)
business days following Trustee’s Seller’s rejection of, or the Court’s denial of a motion to
approve, the APA.

       3.3     Backup Bidder. In the event that Buyer is designated as the “Backup Bidder” in
accordance with and as defined in the Bid Procedures Order, Buyer agrees that it will keep the
Backup Bid (as defined in the Bid Procedures Order) open and irrevocable until the earlier of 5:00
p.m. (prevailing Pacific Time) on the date that is thirty (30) days after the date of entry of the Sale
Order or the closing of a sale transaction of the Assets with another buyer.

       3.4    Bid Procedures Order. Buyer agrees to comply with and be bound by the terms of
the Bid Procedures Order.

                                            ARTICLE IV

          WAIVER OF CONTINGENCIES, CLOSING; CONDITIONS PRECEDENT

        4.1    Waiver of Contingencies. Buyer’s due diligence has been completed prior to
Buyer’s execution of this APA, and Buyer hereby waives any and all contingencies to
consummation of the transactions contemplated herein, including, without limitation, all due
diligence and financing contingencies. Buyer expressly disclaims, and this transaction shall not
be conditioned on, any right of Buyer to receive a fee analogous to a break-up fee, expense
reimbursement, termination fee, or any other similar form of compensation, unless expressly
agreed to by Seller in writing in accordance with the Bid Procedures Order.




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        4.2    Closing. Provided that this APA has not been terminated, the Closing shall occur
on or before two (2) business days following the date on which all the closing conditions set forth
in Sections 4.3 and 4.4 of this APA have been satisfied, but in any event, by no later than March
11, 2022 or a later date agreed upon in writing by the Parties. The date on which this Closing
occurs shall be the “Closing Date.” The Closing shall occur at the offices of Sklar Kirsh, LLP,
1880 Century Park East, Ste. 300, Los Angeles, California 90067, or such other place or other
method, including electronically, as may be determined by Seller, with notice to Buyer at least one
(1) business day prior to Closing.

        4.3    Closing Conditions of Buyer. The obligation of Buyer to consummate the
transactions contemplated hereunder is subject to the satisfaction or written waiver of each of the
following conditions precedent (except that the condition in Section 4.3(cb) cannot be waived):

               (a)     Seller shall not be in default under this APA in any material respect.

              (b)      The Court shall have entered the Sale Order, which shall be final and non-
       appealable.

               (c)     Seller shall have delivered the Seller’s Deliverables to Buyer.

       4.4    Closing Conditions of Seller. The obligation of Seller to consummate the
conveyance of the Assets hereunder is subject to the satisfaction or written waiver of each of the
following conditions precedent (except that the condition in Section 4.4(c) cannot be waived):

               (a)     Buyer’s representations and warranties contained herein shall be true and
       correct in all material respects as of the Closing Date and any qualification as to Buyer’s
       knowledge shall not apply for purposes of this Section.

               (b)     Buyer shall not be in default under this APA in any material respect.

              (c)      The Court shall have entered the Sale Order, which shall be final and non-
       appealable.

               (d)     Buyer shall have delivered Buyer’s Deliverables to Seller.

        4.5     Post-Closing Use.       Buyer hereby acknowledges and agrees that upon                 Formatted: No underline
consummation of the transactions contemplated hereby, Seller, the Selling Debtors and their
Estates shall be allowed to continue to use the name or marks included in the Assets transferred
pursuant to this APA, or any derivatives thereof, as needed, to fully administer the Estates.

                                           ARTICLE V

                                         TERMINATION

       5.1     Termination. This APA may be terminated at any time prior to Closing by (i)
mutual written consent of Buyer and Seller; (ii) Seller or Buyer, in the event of material breach by



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the other that has not been cured within five (5) days of receipt of written notice thereof or not
waived by the non-breaching party; (iii) by Seller, if the Closing does not occur on or before March
11, 2022 (or a later date agreed upon in writing by the Parties) through no fault of Seller; or (iv)
Seller or Buyer if there is any law, regulation or court order that makes consummation of the
transactions illegal or otherwise prohibited, including the Court’s refusal to enter the Sale Order.
In the event of termination, written notice thereof shall forthwith be given to the other party and
this APA shall terminate without further action by Buyer or Seller.

        5.2     Effect of Termination. If this APA is terminated pursuant to Section 5.1, this APA
shall terminate and be of no further force or effect (with the exception of those provisions that
expressly survive termination), the Deposit shall be paid to Buyer (except where termination is a
result of a material breach by Buyer pursuant to Section 5.1(ii) or the Closing fails to occur as per
Section 5.1(iii)), and each party shall pay the costs and expenses incurred by it in connection with
this APA; provided, however, that in the event this APA is terminated as result of a material breach
by Buyer pursuant to Section 5.1(ii), pursuant to Section 5.1(iii), or in accordance with Section
5.3, the Deposit shall be paid to Seller.

        5.3     Liquidated Damages. If Buyer fails to complete this purchase because of Buyer’s
default or breach of this APA, including the failure to close on or before March 11, 2022 or a later
date agreed upon in writing by the Parties (through no fault of Seller), Seller shall retain, as
liquidated damages, the Deposit actually paid. SELLER AND BUYER AGREE THAT IT
WOULD BE IMPRACTICAL AND EXTREMELY DIFFICULT TO ESTIMATE THE
DAMAGES WHICH SELLER MAY SUFFER UPON A BUYER DEFAULT AND THAT
THE DEPOSIT AND ANY INTEREST EARNED THEREON, AS THE CASE MAY BE,
REPRESENTS A REASONABLE ESTIMATE OF THE TOTAL NET DETRIMENT
THAT SELLER WOULD SUFFER UPON A BUYER DEFAULT. SUCH LIQUIDATED
AND AGREED DAMAGES ARE NOT INTENDED AS A FORFEITURE OR A PENALTY
WITHIN THE MEANING OF APPLICABLE LAW, BUT ARE INTENDED TO
CONSTITUTE LIQUIDATED DAMAGES TO SELLER PURSUANT TO CALIFORNIA
CIVIL CODE SECTIONS 1671, 1676, AND 1677. BY PLACING ITS INITIALS BELOW,
EACH PARTY SPECIFICALLY CONFIRMS THE ACCURACY OF THE STATEMENTS
MADE ABOVE AND THE FACT THAT EACH PARTY WAS REPRESENTED BY
LEGAL COUNSEL WHO EXPLAINED, AT THE TIME THIS APA WAS MADE, THE
MEANING, THE EFFECT, AND THE CONSEQUENCES OF THIS LIQUIDATED
DAMAGES PROVISION.

       Buyer’s Initials: ______ Seller’s Initials: ______


                                           ARTICLE VI

                          REPRESENTATIONS AND WARRANTIES

       6.1     As-Is, Where-Is.

     (a)   IT IS UNDERSTOOD AND AGREED THAT SELLER (INCLUDING ANY OF
SELLER’S PROFESSIONALS) IS NOT MAKING AND HAS NOT AT ANY TIME MADE


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ANY WARRANTIES OR REPRESENTATIONS OF ANY KIND OR CHARACTER, EXPRESS
OR IMPLIED, AT LAW OR IN EQUITY, WITH RESPECT TO THE ASSETS, INCLUDING
BUT NOT LIMITED TO ANY WARRANTIES OR REPRESENTATIONS AS TO: (I)
MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE; (II) THE
EXISTENCE, VALIDITY OR COMPLETENESS OF ANY OF THE IP ASSETS, THE
STRENGTH OF THE ESTATES’ CLAIMS OR THE RECOVERIES UNDER THE
ADVERSARY ACTIONS; OR (III) OPERATING HISTORY OR PROJECTIONS,
VALUATION, RECOVERIES, GOVERNMENTAL APPROVALS, THE COMPLIANCE OF
THE ASSETS WITH GOVERNMENTAL OR OTHER APPLICABLE LAWS, THE TRUTH,
ACCURACY, OR COMPLETENESS OF ANY DOCUMENT RELATED TO THE ASSETS,
OR ANY OTHER INFORMATION PROVIDED BY OR ON BEHALF OF SELLER TO
BUYER, OR ANY OTHER MATTER OR THING REGARDING THE ASSETS. NONE OF
DOCUMENTS OR MATERIALS PROVIDED TO BUYER IN CONNECTION WITH THE
SALE TRANSACTION CONSTITUTE AN OPINION WITH RESPECT TO THE NATURE,
EXTENT, OR VALIDITY OF SUCH IP ASSETS OR CLAIMS.

      (b)  BUYER ACKNOWLEDGES AND AGREES THAT UPON CLOSING SELLER
SHALL SELL AND CONVEY TO BUYER AND BUYER SHALL ACCEPT THE ASSETS “AS
IS, WHERE IS, WITH ALL FAULTS.” BUYER HAS NOT RELIED AND WILL NOT RELY
ON, AND NEITHER SELLER NOR THE DEBTORS ARE LIABLE FOR OR BOUND BY,
ANY EXPRESS OR IMPLIED WARRANTIES, GUARANTEES, STATEMENTS,
REPRESENTATION OR INFORMATION PERTAINING TO THE ASSETS OR RELATING
THERETO MADE OR FURNISHED BY SELLER OR ITS REPRESENTATIVES, TO
WHOMEVER MADE OR GIVEN, DIRECTLY OR INDIRECTLY, ORALLY OR IN
WRITING, EXCEPT AS EXPRESSLY STATED HEREIN.              BUYER ALSO
ACKNOWLEDGES THAT THE PURCHASE PRICE REFLECTS AND TAKES INTO
ACCOUNT THAT THE ASSETS ARE BEING SOLD “AS IS, WHERE IS, WITH ALL
FAULTS.”

     (c)    BUYER ACKNOWLEDGES TO SELLER THAT BUYER HAD AN
OPPORTUNITY PRIOR TO EXECUTING THIS APA TO CONDUCT SUCH DUE
DILIGENCE, INSPECTIONS AND INVESTIGATIONS OF THE ASSETS AS BUYER DEEMS
NECESSARY OR DESIRABLE TO SATISFY ITSELF AS TO THE ASSETS AND ITS
ACQUISITION THEREOF, AND THAT BUYER DID NOT RELY ON ANY OF SELLER’S
OR ANY OF HER PROFESSIONALS’ WRITTEN OR ORAL STATEMENTS,
REPRESENTATIONS, PROMISES, WARRANTIES, OR GUARANTIES WHATSOEVER,
WHETHER EXPRESS OR IMPLIED, BY OPERATION OF LAW OR OTHERWISE,
REGARDING THE ASSETS, THE DEBTORS’ BUSINESSES OR THE COMPLETENESS OF
ANY INFORMATION PROVIDED IN CONNECTION THEREWITH. BUYER HEREBY
ASSUMES THE RISK THAT ADVERSE MATTERS MAY NOT HAVE BEEN REVEALED
BY BUYER’S REVIEW AND INSPECTIONS AND INVESTIGATIONS, AND TRUSTEE
SELLER AND HER PROFESSIONALS SHALL HAVE NO LIBAILITYLIABILITY
WHATSOEVER TO BUYER, ITS RELATED ENTITIES OR ANY OTHER PARTY FOR
CLAIMS ARISING FROM, OR RELATED TO, THE DUE DILIGENCE DOCUMENTS AND
MATERIALS PROVIDED.




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        6.2     Buyer’s Representations. Buyer hereby represents that Buyer has the power,
authority, and ability to carry out the obligations assumed and promised hereunder. Without
limiting the foregoing, Buyer specifically represents that Buyer has sufficient liquid funds to
consummate the purchase of the Assets and to perform Buyer’s obligations under this APA. Buyer
further agrees and represents that it shall use commercially reasonable best efforts to cause the
Court to enter the Sale Order.

                                           ARTICLE VII

                      CLOSING DOCUMENTS; CLOSING STATEMENT

        7.1      Buyer’s Deliverables at Closing. On or before the Closing Date, Buyer shall
deliver: (a) the balance of the Purchase Price to Seller, (b) amended and updated Exhibits 2.1(a)
and 2.1(b)(i) that include allocations of the Purchase Price among the Assets purchased, and (cb)
all other documents reasonably necessary to consummate the transactions contemplated by this
APA (collectively, “Buyer’s Deliverables”).

       7.2     Seller’s Deliverables at Closing. On or before the Closing Date, Seller shall deliver
to Buyer (collectively, the “Seller's Deliverables”): (a) one or more assignment agreements, in
form and substance reasonably agreed to by the parties and duly executed by Seller, transferring
to Buyer all of Seller's right, title, and interest in and to the Assets, including an Intellectual
Property Bill of Sale and Assignment Agreement in substantially similar form as Exhibit 7.2; (b)          Formatted: Font: Bold
a copy of the Sale Order entered in the Bankruptcy Cases; and (c) all other documents reasonably
necessary to consummate the transactions contemplated by this APA.

        7.3       Closing Costs and Fees. Buyer and Seller shall each be responsible for their own
legal and professional fees and costs of attorneys and other consultants and agents retained by
them, which costs and fees shall be paid by Seller and Buyer, respectively. Notwithstanding the
foregoing, Buyer shall pay, to the extent applicable: (i) all applicable document recording charges,
if any; (ii) all transfer taxes and other fees, if any, arising from or resulting from the transactions
contemplated hereby; and (iii) all costs and expenses related to the Buyer's investigation, transfer
and assignment of the Assets.

                                           ARTICLE VIII

                                        MISCELLANEOUS

        8.1    Entire Agreement. This APA and the schedules and exhibits attached hereto
embody the entire agreement between the parties in connection with this transaction and there are
no oral or parole agreements existing between the parties relating to this transaction which are not
expressly set forth herein and covered hereby. This APA may not be modified except in writing
signed by Seller and Buyer.

        8.2     No Waiver. Failure of either party to complain of any act or omission on the part
of the other party, no matter how long the same may continue, shall not be deemed to be a waiver
by such party to any of its rights hereunder. No waiver by any party at any time, expressed or
implied, of any breach of any provision of this APA shall be deemed a waiver or a breach of any


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other provision of this APA or a consent to any subsequent breach of the same or any other
provision. If any action by any party shall require the consent or approval of another party, such
consent or approval of such action on any one occasion shall not be deemed a consent to or
approval of said action on any subsequent occasion or a consent to or approval of any action on
the same or any subsequent occasion.

       8.3      Captions. The captions, section numbers and article numbers appearing in this
APA are inserted only as a matter of convenience, and do not define, limit, construe or describe
the scope or intent of such sections or articles of this APA nor in any way affect this APA.

        8.4     No Third-Party Beneficiaries. No party other than Seller and Buyer and their
successors and assigns, shall have any rights to enforce or rely upon this APA, which is binding
upon and made solely for the benefit of Seller and Buyer and their successors and assigns, and not
for the benefit of any other party.

         8.5    Notices. All notices provided for or permitted to be given pursuant to this APA
must be in writing. All notices to be sent hereunder shall be deemed to have been properly given
or served: if hand delivered by courier, in hand when received; if mailed, on the third business day
following the date upon which the same is deposited in the United States mail, addressed to the
recipient of the notice, certified with return receipt requested; if by telecopy, on the date sent (or
the next business day after the date of transmission if the transmission day is not a business day)
provided that the facsimile was properly addressed and disclosed the number of pages transmitted
on its front sheet and that the transmission report produced indicates that each of the pages of the
telecopy was received at the correct telecopy number; if by electronic mail, on the date sent (or the
next business day after the date of transmission if the transmission day is not a business day)
provided that the electronic mail was properly addressed and that a duplicate notice was forwarded
via nationally recognized overnight courier guarantying next day delivery; and, if by nationally
recognized overnight courier guarantying overnight delivery, on the business day following the
day such notice was deposited with such a courier, so long as the day of deposit was on a service
day of such courier and prior to the last pick up for such day.

       If to Seller:                           SKLAR KIRSH, LLP
                                               1880 Century Park East, Ste. 300
                                               Los Angeles, California 90067
                                               Facsimile: (310) 929-4469
                                               Attn: Lovee Sarenas, Esq.
                                               Email: lsarenas@sklarkirsh.com


       With a copy to:                         SKLAR KIRSH, LLP
                                               1880 Century Park East, Ste. 300
                                               Los Angeles, California 90067
                                               Facsimile: (310) 929-4469
                                               Attn: Robbin L. Itkin, as Trustee
                                               Email: ritkin@sklarkirsh.com




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     If to Buyer:                              ________________________________SHULMAN
BASTIAN FRIEDMAN & BUI LLP
                                               ________________________________100
Spectrum Center Drive, Suite 600
                                               ________________________________Irvine,
California 92618
                                               Facsimile: (949) 340-3000
                                               Attn: ____________________________Leonard M.
Shulman, Esq.
                                    Email:
___________________________lshulman@shulmanbastian.com

         8.6    Governing Law and Jurisdiction. This APA and the rights and obligations of the
parties hereunder shall be construed, interpreted and enforced in accordance with the laws of the
State of California. The parties consent to the exclusive jurisdiction of, and venue in, the Court,
for the purpose of resolving any claim, controversy or disagreement which may arise among the
parties with regard to this APA and waive any objection that they may now or hereafter have to
the laying of venue in such forum and agree not to plead or claim that any action in such forum
would be inconvenient; provided, however, that: (a) if the Court declines to exercise such
jurisdiction, then the courts of the State of California will have such jurisdiction; and (b) nothing
in this Section will constitute a waiver by any party of the right to appeal any decision or action of
the Court or any such state court. THE PARTIES HEREBY WAIVE TRIAL BY JURY IN ANY
ACTION, PROCEEDING, OR CLAIM BROUGHT IN CONNECTION WITH THIS APA.

        8.7    Counterparts and Electronic Delivery. This APA may be executed in any number
of counterparts, each of which, when taken together, shall be deemed to be one and the same
instrument. Executed copies of this APA may be delivered between the parties via telecopy or
electronic mail.

        8.8     Brokers. Buyer represents and warrants to Seller that it dealt with no broker in
connection with, nor has any broker had any part in bringing about, this transaction. Buyer shall
indemnify, defend, and hold harmless the Seller from and against any claim of any broker, or any
other person for any brokerage commissions, finder's fees, or other compensation in connection
with this transaction if such claim is based in whole or in part by, through or on account of, any
acts of Buyer or its agents, employees, or representatives and from all losses, liabilities, costs, and
expenses in connection with such claim, including without limitation, reasonable attorneys' fees,
court costs, and interest. The provisions of this Section shall survive the Closing, or the termination
of this APA prior to the Closing.

        8.9    Severability. If any term or provision of this APA is invalid, illegal, or
unenforceable in any jurisdiction, such invalidity, illegality, or unenforceability shall not affect,
invalidate, or render unenforceable any other term or provision of this APA. Upon such
determination that any term or other provision is invalid, illegal, or unenforceable, the parties
hereto shall negotiate in good faith to modify this APA so as to effect the original intent of the
parties as closely as possible in a mutually acceptable manner in order that the transactions



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contemplated by this APA be consummated as originally contemplated to the greatest extent
possible.

        8.10 Further Assurances. Each of the parties hereto shall execute and deliver such
additional documents, instruments, conveyances, and assurances and take such further actions as
may be reasonably required to carry out the provisions of this APA and give effect to the
transactions contemplated hereby, provided such documents are customarily delivered such
transactions in the State of California and do not impose any material cost or obligation upon any
party hereunder except as set forth in this APA.

       8.11 Time Is Of The Essence. Seller and Buyer acknowledge and agree that TIME IS
OF THE ESSENCE with respect to each and every term, condition, obligation, and provision
hereof and that failure to timely perform any of the terms, conditions, obligations, or provisions
hereof by either party shall constitute a material breach of the APA by the party so failing to
perform.

       8.12 Business Days. Wherever in this APA a time period shall end on a day which is a
Saturday, Sunday or legal holiday, said time period shall automatically extend to the next date
which is not a Saturday, Sunday or legal holiday.

        8.13 Advice of Counsel. Buyer and Seller represent and warrant that they each acted
pursuant to the advice of independent legal counsel of their own choosing in connection with the
negotiation, preparation and execution of this APA, or that they were advised to obtain the advice
of such legal counsel, had ample opportunity to obtain the advice of such legal counsel, and
willfully declined to obtain the advice of such legal counsel.




[SIGNATURES ON FOLLOWING PAGES]                                                                      Formatted: Justified




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 IN WITNESS WHEREOF, the parties hereto have executed this APA.


                           SELLER:




                           ___________________________________
                           ROBBIN L. ITKIN
                           Solely in her capacity as Chapter 7 Trustee for the Debtors’
                           Estates



                           BUYER:



                           _______________________________________
                           [INSERT NAME]DR. KALI P. CHAUDHURI




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Exhibit List

2.1(a)         Schedule of IP
2.1(b)(i)      Schedule of Adversary Actions
2.1(b)(ii)     Schedule of Excluded Adversary Actions
2.2            Buyer’s Allocation of Purchase Price
7.2            Form of Intellectual Property Bill of Sale and Assignment Agreement




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                                          EXHIBIT 2.1(a)

                                                  IP

  Trademarks:

Debtor                Trademark                 Application No. Registration           Registration    Formatted Table
                                                                No.                    Date
Bikram Choudhury      BIKRAM YOGA               79-401481       HI 4147206             27-Jul-2015
Yoga, Inc.            HAWAII
Bikram Choudhury      BIKRAM YOGA-              79-401482           HI 4147207         27-Jul-2015
Yoga, Inc.            EAST OAHU
Bikram Choudhury      BIKRAM YOGA-              79-401480           HI 4147205         27-Jul-2015
Yoga, Inc.            HAWAII KAI
International         BIKRAM                    85/406940           4236199            06-Nov-2012
Trading
Representative, LLC
International         BIKRAM YOGA               86/212110           4613771            30-Sep-2014
Trading
Representative, LLC
International         BIKRAM'S                  76/378922           2829135            06-Apr-2004
Trading               BEGINNING YOGA
Representative, LLC   CLASS
International         Design of Man             76/975275           2775407            21-Oct-2003
Trading
Representative, LLC


  Domain Names:

   Domain Name           Creation Date         Last Known             Registrant(s)                    Formatted Table
                                               Registrar
   bikraminc.com         4/15/2021             Epik, Inc.             Bikram, Inc.
   bikramyoga.com        5/21/1996             ZNet Technologies      Bikram Yoga 4
                         Updated on            Pvt Ltd.
                         12/19/2016
   purebikramyoga.net    4/15/2021             Epik, Inc.             Bikram’s Yoga College of
                                                                      India, LP



  4
    The non-debtor entity “Bikram Yoga” is the last known registrant of the domain name “Bikram
  Yoga” that is a trademark owned by the Debtor ITR. The TrusteeSeller is selling any right to,
  claim, title or interest in the domain name that the ITR Estate may have to the extent such right,
  claim, title and interest exist, including, without limitation, whatever rights ITR may have in a
  UDRP action to gain control over the domain.
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    Copyrights:

Debtor                      Copyright Description/                           Registration Date         Formatted Table
                            Registration No.
Bikram’s Yoga College of    Bikram Yoga dialogue which was originally
India, LP                   copyrighted in 1979 NUMBER EOR 599 and
                            supplemented in 2002 EOR 631-33 and EOR
                            212.1 5
International Trading       “Bikram’s Beginning Yoga Class”                  1979-01-17
Representative, LLC         (Registration No. TX179160)

                            Supplemented by Reg. No. TX5624003
International Trading       “Bikram’s Beginning Yoga Class”                  2000-09-01
Representative, LLC         (Registration No. TX5259325)
International Trading       “Bikram’s Yoga College of India Beginning        2002-03-04
Representative, LLC         Yoga Dialog”
                            (Registration No. TXu1022657)
International Trading       “Bikram’s Yoga College of India: Yoga            2002-03-25
Representative, LLC         Teacher Training Course: Curriculum Outline”
                            (Registration No. TXu934417)
International Trading       “Bikram’s Beginning Yoga Class”                  2002-04-18
Representative, LLC         (Registration No. TX5499662
International Trading       “Bikram’s Advanced Yoga Class”                   2006-10-25
Representative, LLC         (Registration No. TXu1323218)

International Trading       “Bikram’s Beginning Yoga Class”                  2002-10-24
Representative, LLC         (Registration No. TX5624003)

                            (supplements Reg. No. TX179160)
International Trading       “Bikram Yoga”                                    2007-04-07
Representative, LLC         (Registration No. TX6555860)




    5
     The copyright is listed in Debtor BYCOI’s Schedule B of its bankruptcy petition. The
    TrusteeSeller cannot independently verify the existence of the copyright with the U.S. Copyright
    Office. The TrusteeSeller is selling any right to, title or interest in such copyright that the
    BYCOI Estate may have to the extent such right, title and interest exist.


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                            EXHIBIT 2.1(b)(i)

                            Adversary Actions

             Robbin L. Itkin, Chapter 11 Trustee (Plaintiff)

          Lead Case: In re: Bikram Yoga College of India LP, et al.
                             (9:17-bk-12045-DS)

                    JUDGE: Hon. Deborah J. Saltzman

    AP No.               Defendants                                     Formatted Table
    9:19-ap-01066-DS     Organizacion Ideal dba PRINCESS MUNDO
                         IMPERIAL HOTEL
    9:19-ap-01067-DS     1) Smana Hotel Al Raffa

                         2) Rajesh Baheti (Hotel Director of Finance)

    9:19-ap-01068-DS     Zen Co., Ltd.

    9:19-ap-01069-DS     1) ELO, an individual

                         2) 3E Eight LLC

                         3) 3E One LLC

                         4) Miami SuperCar Rooms

                         5) Elo Trustees Ltd

    9:19-ap-01070-DS     1) Monica Shigenaga

                         2) CocoJor Hawaii, LLC

                         3) Jadoo, LLC

    9:19-ap-01071-DS     1) Sumanta Bhattachriya,
                               Director and CEO of BHY
                         2) Bikram HotYoga Co. Ltd.

    9:19-ap-01075-DS     Bikram Choudhury




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                               EXHIBIT 2.1(b)(ii)

                          Excluded Adversary Actions

                      Robbin L. Itkin, Chapter 11 Trustee
                                   (Plaintiff)

                                     Lead Case
                   In re: Bikram Yoga College of India LP, et al.
                                (9:17-bk-12045-DS)

                       JUDGE: Hon. Deborah J. Saltzman


9:19-ap-01072-DS    Lajwanti Choudhury
9:19-ap-01073-DS    Anurag Choudhury
9:19-ap-01074-DS    1) Rajashree Choudhury

                    2) The Rajashree Choudhury Family Trust Dated March 1, 2016




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                                 EXHIBIT 2.2

                BUYER’S ALLOCATION OF PURCHASE PRICE                       Formatted: Centered


 Debtor                     Asset Sold                 Buyer’s Allocated   Formatted Table
                                                       Purchase Price
 Bikram Choudhury Yoga,     Trademarks Identified in        $100,000.00
 Inc.                       APA
 International Trading      Trademarks, Copyrights          $100,000.00
 Representative, LLC        and Domain Name
                            Identified in APA
 Bikram, Inc.               Domain Name:                    $100,000.00
                            bikraminc.com

 Bikram’s Yoga College of   Domain Name:                     $50,000.00
 India, LP                  purebikramyoga.net
 Bikram’s Yoga College of   Copyright: Bikram Yoga           $50,000.00
 India, LP                  dialogue (originally
                            copyrighted in 1979
                            NUMBER EOR 599 and
                            supplemented in 2002
                            EOR 631-33 and EOR
                            212.1)
 Bikram’s Yoga College of   Adversary Actions               $300,000.00
 India, LP                  Identified in the APA
                                                                           Formatted: Centered




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                                           EXHIBIT 7.2

             FORM OF INTELLECTUAL PROPERTY BILL OF SALE AND
                         ASSIGNMENT AGREEMENT

THIS INTELLECTUAL PROPERTY BILL OF SALE AND ASSIGNMENT AGREEMENT
(this “Bill of Sale and Assignment”), dated as of [________________], 2022 (the “Effective
Date”), is entered into between Dr. Kali P. Chaudhuri, an individual, or his designee (“Assignee”)
and Robbin L. Itkin, Chapter 7 Trustee, solely in her capacity as Chapter 7 trustee (“Assignor” or
“Trustee”) for the jointly administered bankruptcy estates (“Estates”) of Bikram’s Yoga College
of India, LP, Bikram, Inc. International Trading Representative, LLC and Bikram Choudhury
Yoga, Inc.. Capitalized terms used but not otherwise defined herein shall have the respective
meanings set forth in that certain Asset Purchase Agreement dated as of [_______________], 2022
by and between Assignor and Assignee (“APA”). Hereinafter, Assignor and Assignee, may be
referred to individually as a “Party”, and collectively as the “Parties”.


                                            RECITALS
WHEREAS, pursuant to the APA Assignor has agreed to sell, assign, convey, transfer and deliver
to Assignee, and Assignee has agreed to purchase and acquire from Assignor, certain rights, title,
claims, and interests in and to the intellectual property rights (“IP”) owned by the Estates (as
defined in the APA) and as listed on Schedule A hereto.
WHEREAS, pursuant to the APA, Assignor has agreed to execute this Bill of Sale and
Assignment in order to effectively assign, transfer, and convey to Assignee such assets.
NOW THEREFORE, in consideration of the foregoing and the representations, warranties and
agreements herein set forth, and for other good and valuable consideration, the receipt and
sufficiency of which are hereby acknowledged, Assignor and Assignee, intending to be legally
bound, hereby agree as follows:


1.     Assignment of Intellectual Property Rights. Upon the terms set forth in the APA, Assignor
       hereby sells, conveys, assigns, transfers, delivers and sets over to Assignee and its
       successors and assigns all of the Estates’ right, title, claim, and interest in and to any and
       all of the IP, and including all goodwill associated therewith, to be held and enjoyed by
       Assignee for its own use and benefit and for the use and benefit of its subsidiaries, affiliates,
       successors, assigns, licensees and legal representatives, including all rights to sue for any
       past infringement or unauthorized use of any of the foregoing and to recover all damages
       therefrom for its own use and behalf and for the use and behalf of its successors and assigns
       or other legal representatives as such rights would have been held and enjoyed by Assignor
       had this Bill of Sale and Assignment not been made. In order to enable the use by Assignee
       of the website names and addresses set forth on Schedule A hereto (“Domain Names”),
       Assignor agrees to provide Assignee, on the Effective Date, with any account information
       with which the Domain Names are registered, including any user names and passwords
       relating thereto.
2.     Further Assurances. Assignor and Assignee agree to execute and deliver such other
       assignment agreements and other instruments of conveyance and assignment and will do
       such other acts and things, at the requesting Party’s expense, in each case as that Party may
       reasonably request, as shall be reasonably necessary to vest in Assignee such title to such


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      IP, and to fulfill and discharge each Party’s obligations of conveyance and discharge
      hereunder and under the APA.

3.    Governing Law. This Bill of Sale and Assignment shall be governed by and construed and
      enforced in accordance with the laws of the State of California without giving effect to
      conflict of law provisions thereof.

4.    Purchase Agreement. This Bill of Sale and Assignment is executed and delivered pursuant
      to Section 7.2 of the APA, and is subject to the terms of the APA, and nothing contained
      herein is intended to alter, modify, expand or diminish the terms set forth in the APA.
5.    Counterparts. This Bill of Sale and Assignment may be executed in two or more
      counterparts, each of which shall be deemed an original, but all of which together shall
      constitute one and the same instrument. Copies (including delivery by facsimile, electronic
      mail (PDF) or other electronic transmission or original) of signatures to this Bill of Sale
      and Assignment shall be deemed to be originals and shall be binding to the same extent as
      original signatures.


IN WITNESS WHEREOF, the Parties hereto have executed this Bill of Sale and Assignment as
of the date first written above.

                                            ASSIGNOR:


Dated: _____________, 2022                  ______________________________________
                                            Robbin L. Itkin, solely in her capacity as Chapter 7
                                            Trustee for the bankruptcy estates of Bikram’s
                                            Yoga College of India, LP, Bikram Choudhury
                                            Yoga, Inc., Bikram, Inc., Yuz, Inc. and International
                                            Trading Representative, LLC


                                            ASSIGNEE:


Dated: _____________, 2022                 ______________________________________
                                           Dr. Kali P. Chaudhuri




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                    1                          EXHIBIT D
                          SUMMARY OF ESTIMATED SALE COSTS INCURRED AS OF 2/14/2022
                    2

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SKLAR KIRSH, LLP
ATTORNEYS AT LAW
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 1                                                EXHIBIT D

 2                  SUMMARY OF ESTIMATED SALE COSTS INCURRED AS OF 2/14/2022
 3
                                   Total        Expenses       Expenses          Add'l          Add'l
 4                                 Expenses     Allocated to   Allocated to IP   Expenses       Expenses
                                                Adversary      for All Selling   Allocated to   Allocated to
 5                                              Actions Only   Debtors           ITR Only       BYCOI Only
       Professionals
 6     Hilco (10% IP)              $40,000.00                  $40,000.00
 7     Hilco (5% Adversary         $15,000.00   $15,000.00
       Actions)
 8     Hilco Expenses ($5k Cap)    $5,000.00    $2,481.56      $2,500.00                        $18.44
       SBG&B IP Counsel            $3,500.00                                     $3,500.00
 9     SBG&B UDRP Action           $555.00                                       $555.00
       Costs
10
       Other Sale Costs
11     Williams Data Services      $1,695.00    $847.50        $847.50
       (Data Room Document
12     Retrieval)

13     Domain Name Transfers       $17.00                                        $17.00
       Ct Reporter/Auction Zoom    $2,000.00    $1,000.00      $1,000.00
14     Operator (Estimated)

15     Sklar Kirsh, LLP (Postage   $3,152.00    $1,576.00      $1,576.00
       Costs for Service of Sale
16     Pleadings)
17     Summit Reprographics        $2,233.00    $1,116.50      $1,116.50
       (Copy Charges for Notice
18     of Sale)
       Petosevic IP Search         $300.00                     $300.00
19
       Pocketknife (Changes to     $1,050.00                                                    $1,050.00
20     BYCOI Teacher Sites)
       Spruson & Ferguson Pty      $1,378.00                   $1,378.00
21     Lmt. (Preserving IP)

22     TOTAL EXPENSES:             $75,880.00   $22,021.56     $48,718.00        $4,072.00      $1,068.44
       TOTAL Adversary                          $22,021.56
23     Action Expenses
       (BYCOI)
24     TOTAL IP Expenses                                       $12,179.50
       (Pro-Rata Per Selling
25     Debtor)
       Add'l IP Expense                                                          $4,072.00      $1,068.44
26
       Allocations (ITR &
27     BYCOI)

28



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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                     SKLAR KIRSH, LLP, 1880 Century Park East, Suite 300, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled: TRUSTEE’S MOTION FOR AN ORDER: (I)
APPROVING THE SALE OF CERTAIN ASSETS OUTSIDE THE ORDINARY COURSE OF
BUSINESS FREE AND CLEAR OF ALL LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES; (II)
DETERMINING THAT THE BUYER IS A GOOD FAITH PURCHASER UNDER 11 U.S.C. § 363(m);
AND (III) GRANTING RELATED RELIEF; MEMORANDUM OF POINTS AND AUTHORITIES;
DECLARATIONS OF ROBBIN L. ITKIN, RICHELLE KALNIT AND DR. KALI P. CHAUDHURII will
be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
February 14, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date)                                    I served the following persons and/or entities
at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in
a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) February 14, 2022, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 February 14, 2022                MAYRA DURAN                                                   /s/ Mayra Duran
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Jacob Beiswenger on behalf of Interested Party Evolution Capital Investments LLC
jbeiswenger@omm.com, jacob-beiswenger-5566@ecf.pacerpro.com;swarren@omm.com

Martin J Brill on behalf of Debtor Bikram Choudhury Yoga Inc., a California corporation
mjb@lnbrb.com

Larry Butler on behalf of Creditor American Express Bank, FSB
notices@becket-lee.com

Russell Clementson on behalf of U.S. Trustee United States Trustee (ND)
russell.clementson@usdoj.gov

Christopher Cramer on behalf of Creditor AMERICAN EXPRESS BANK, FSB
secured@becket-lee.com

Andrew L Ellis on behalf of Creditor Cheryl Baldinger
rgalvan@alelaw.com

Brian D Fittipaldi on behalf of U.S. Trustee United States Trustee (ND)
brian.fittipaldi@usdoj.gov

Maria L Garcia on behalf of Creditor Public Storage
Maria.L.Garcia@lewisbrisbois.com, Nancy.jasso@lewisbrisbois.com

Karen L Grant on behalf of Creditor Jill Lawler
kgrant@silcom.com

Robbin L Itkin (TR)
ritkin@sklarkirsh.com, cbullock@sklarkirsh.com

David S Kupetz on behalf of Interested Party Courtesy NEF
dkupetz@sulmeyerlaw.com,
dperez@sulmeyerlaw.com;dperez@ecf.courtdrive.com;dkupetz@ecf.courtdrive.com

Ian Landsberg on behalf of Attorney Ian S. Landsberg
ilandsberg@sklarkirsh.com,
lskaist@sklarkirsh.com;yalarcon@sklarkirsh.com;mmadden@sklarkirsh.com;ilandsberg@ecf.inf
oruptcy.com;kfrazier@sklarkirsh.com;cbullock@sklarkirsh.com

David W. Meadows on behalf of Attorney David W. Meadows
david@davidwmeadowslaw.com

Krikor J Meshefejian on behalf of Debtor Bikram Choudhury Yoga Inc., a California corporation
kjm@lnbyb.com


Carla V Minnard on behalf of Attorney Carla V Minnard
carlaminnard@minnardlaw.com, shifta@aol.com

David M Riley on behalf of Plaintiff Robbin L Itkin
david.riley@morganlewis.com, davidzriley@gmail.com

Victor A Sahn on behalf of Creditor Petra Starke Smeltzer vsahn@sulmeyerlaw.com,
pdillamar@sulmeyerlaw.com;pdillamar@ecf.inforuptcy.com;vsahn@ecf.inforuptcy.com;cblair
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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@sulmeyerlaw.com;cblair@ecf.inforuptcy.com

Lovee D Sarenas on behalf of Plaintiff Robbin L Itkin
lsarenas@sklarkirsh.com

Leonard M Shulman on behalf of Interested Party Latham Management & Consulting Services,
Inc.
lshulman@shulmanbastian.com

United States Trustee (ND)
ustpregion16.nd.ecf@usdoj.gov


3. SERVED BY EMAIL:

Nick Pujji on behalf of Bikram Yoga College of India LP
nick.pujji@dentons.com

Carol Yur on behalf of Bikram Yoga College of India LP
carol.yur@dentons.com

Crystal Jones Oswald on behalf of American Express
cjones@becket-lee.com

Minakshi Jafa-Bodden
mjbconsulting05@gmail.com

Daniel J. Weintraub on behalf of Minakshi Jafa-Bodden
dan@wsrlaw.net

Carla Minnard on behalf of Minakshi Jafa-Bodden
carlaminnard@minnardlaw.com

Gabe Fried on behalf of Hilco Streambank
gfried@hilcostreambank.com

Monica Shigenaga, on behalf of Jadoo LLC and CocoJor Hawaii, LLC
monicashigenaga@gmail.com

Steven Haver
Steven@teachfromlove.yoga

Petra Starke Smeltzer aka Petra Starke
PetraSmeltzer@gmail.com; petra@sweatnglow.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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3. OVERNIGHT MAIL:

Bikram Choudhury
3172 Toppington Dr.
Beverly Hills, CA 90210


Bikram HotYoga Co. Ltd
Unit C 4/F China Insurance Building
48 Cameron Rd.
Tsim Sha Tsui, Kowloon
HONG KONG
(Returned Mail)


Ms. Petra Starke Smeltzer aka Petra Starke
212 Cosmopolitan Court
Sarasota, Florida 34236




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
